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                                                                              QTfljT QP COLUMBIA CIRCUIT
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                                                                                                                                                        USCA Case #18-1032
    January 29, 2018

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    Clerk’s Office
    U.S. Court of Appeals for the District of Columbia Circuit
    333 Constitution Avenue, N.W.
    Washington, D.C. 20001




                                                                                                                                                        Document #1715763
    Re:     Petition for Review of Rover Ptpeline LLC, Federal Energy Regulatory Commission
            Docket Nos. CP 1 5-93-002, CP 15-94-001, CP 15-96-001

    Dear Sir/Madam:

    Rover Pipeline LLC respectfully submits the enclosed original and three copies of a Petition
    for Review of two orders of the Federal Energy Regulatory Commission (“FERC”). The
    requisite filing fee is also enclosed, along with a copy of the orders, the corporate disclosure
    statement, and a list of the parties to the underlying proceeding that will be served. Rover
    Pipeline LLC will also serve copies on the Secretary and Solicitor of the FERC.

    Also, please find enclosed two copies to be stamped as received and returned to us. Thank




                                                                                                                                                        Filed: 01/29/2018
    you for your assistance in this matter.

    Sincerely


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    William S. S            an
                                 /
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    Counselfor Rover Fieline LLC




  ORIGINAL


           Beijing Brussels . Century City Dallas• Denver Dubai . Frankfurt’ Hong Kong. Houston . London . Los Angeles. Munich
                    New York . Orange County Palo AltoS Paris . San Francisco São Paulo . Singapore . Washington, D.C.
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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA
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     ROVER PIPELllJE LLC

                                          Petitioner,
                                                                    Petition for Review




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                                                                    Case No.        —
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     FEDERAL ENERGY REGULATORY
     COMMISSION,

                                        Respondent.
           .-\


 \Q                      PETITION FOR REVIEW OF ROVER PIPELINE LLC




                                                                                                             Document #1715763
          Rover Pipeline LLC hereby petitions the United States Court of Appeals for the District

of Columbia Circuit for review of the following orders of the respondent Federal Energy

Regulatory Commission pursuant to Section 3 13(b) of the Federal Power Act, 16 U.S.C.

 §   8251(b), and Federal Rule of Appellate Procedure 15(a):

          (1)         Rover Fzeline LLC, 158 FERC       ¶ 61,109 (February 2, 2017);
          (2)         Rover Pipeline LLC, Docket Nos. CP15-93-002, CP15-94-001, CP15-96-001,




                                                                                                             Filed: 01/29/2018
                      Order on Clarification and Denying Rehearing, 161 FERC        ¶ 61,244 (November
                      30, 2017).

A copy of each order is attached hereto.


                                                                                                             Page 2 of 140



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January 29, 2018




                                                          USCA Case #18-1032
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        ROVER PIPELINE LLC

                                           Petitioner,
                                                                  Petition for Review




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                                                                  Case No.         —

        FEDERAL ENERGY REGULATORY
        COMMISSION,

                                         Respondent.


                                   CORPORATE DISCLOSURE STATEMENT

               Rover Pipeline LLC hereby provides the following Corporate Disclosure Statement in




                                                                                                                 Document #1715763
   support of its Petition for Review pursuant to federal Rule of Appellate Procedure 26.1 and

   Circuit Rule 26.1.

               Rover Pipeline LLC is a limited liability company formed for the purpose of constructing

   and operating the Rover Pipeline. ET Rover Pipeline LLC, a Delaware limited liability

   company, owns 65% of the membership interests and Traverse Midstream Partners, LLC owns




                                                                                                                 Filed: 01/29/2018
   35% of the membership interests in Rover Pipeline LLC. ET Rover Pipeline LLC is owned

   50.1% by Energy Transfer Interstate Holdings, LLC, a Delaware limited liability company and

   49.9% by BCP Renaissance L.L.C, a Delaware limited liability company. Energy Transfer

   Interstate Holdings, LLC is a subsidiary of Energy Transfer Partners, L.P., a Delaware master

   limited partnership, which is publically traded on the New York Stock Exchange.                               Page 4 of 140
                        William S. Scherma
                        Jason J. Fleischer
                        Ruth M. Porter




                                                          USCA Case #18-1032
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                       Attorneys for Rover Pipeline LLC




                                                          Document #1715763
January 29, 2018




                                                          Filed: 01/29/2018
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                   2
                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this day caused a copy of the foregoing Petition for Review

and Corporate Disclosure Statement to be served by first-class mail upon the Secretary and




                                                                                                  USCA Case #18-1032
Solicitor of the Federal Energy Regulatory Commission and upon each person designated on the

official service list to the underlying proceedings compiled by the Commission by electronic

mail. A list of those served by electronic mail is attached.


Dated at Washington, D.C., this 29th day of January, 20




                                                                                                  Document #1715763
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                                                                                                  Filed: 01/29/2018
                                                                                                  Page 6 of 140
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                                                                                            USCA Case #18-1032
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                                                                               Page 11 of 140
                              158 FERC 61,109
                         UNITED STATES OF AMERICA
                  FEDERAL ENERGY REGULATORY COMMISSION


Before Commissioners: Cheryl A. Lafleur, Acting Chairman;




                                                                                             USCA Case #18-1032
                      Norman C. Bay, and Colette D. Honorable.


Rover Pipeline LLC                                            Docket Nos. CP 15-93-000
                                                                          CP 15-93-001

Panhandle Eastern Pipe Line Company, LP                                  CP15-94-000

Trunkline Gas Company, LLC                                               CP15-96-000




                                                                                             Document #1715763
                            ORDER ISSUING CERTIFICATES

                                  (Issued February 2, 2017)

 1.     On February 20, 2015, Rover Pipeline LLC (Rover) filed an application in Docket
No. CP15-93-000, pursuant to section 7(c) of the Natural Gas Act (NGA)’ and Part 157
of the Commission’s regulations,2 for authorization to construct and operate
approximately 510.7 miles of new interstate pipeline and related facilities extending from




                                                                                             Filed: 01/29/2018
the Appalachian supply area to a proposed interconnection with Vector Pipeline, LP
(Vector) in Livingston County, Michigan (Rover Pipeline Project). The proposed
pipeline is designed to provide up to 3,250,000 dekatherms per day (Dth/d) of firm
transportation service. Rover also requests a blanket certificate under Part 284, Subpart
G of the Commission’s regulations to provide open-access transportation services, and a
blanket certificate under Part 157, Subpart F of the Commission’s regulations to perform
certain routine construction activities and operations.

                                                                                             Page 12 of 140
2.     On May 19, 2016, Rover filed an amendment to its application in Docket No.
CP1 5-93-001. The amendment updates Rover’s proposed cost-based recourse rates, pro



      115 U.S.C.    § 717f(c) (2012).
      2
          18 C.F.R. pt. 157 (2016).
Docket No. CP15-93-000, etaL                                                      -2-

forma tariff, and Exhibits K (Cost of Facilities), L (Financing), N (Revenues-Expenses
 Income), 0 (Depreciation and Depletion), and P (Tariff) of its application.

3.      On February 23, 2015, Panhandle Eastern Pipe Line Company, LP (Panhandle)
filed an application in Docket No. CP15-94-000, pursuant to section 7(c) of the NGA and
Part 157 of the Commission’s regulations, for authorization to construct and operate the




                                                                                               USCA Case #18-1032
system modifications necessary to enable Panhandle to provide 750,000 Dth/d of east-to-
west firm transportation service within the Market Zone of its pipeline system (Panhandle
Backhaul Project).

4.     On February 23, 2015, Trunkline Gas Company, LLC (Trunkline) filed an
application in Docket No. CP15-96-000, pursuant to section 7(c) of the NGA and Part
157 of the Commission’s regulations, for authorization to construct and operate the
system modifications necessary to enable Trunkline to provide 750,000 Dth/d of north-to-
south firm transportation service within Zones 1 B and 1A of its pipeline system
(Trunkline Backhaul Project).




                                                                                               Document #1715763
5.     Rover has signed precedent agreements for the full capacity of Panhandle’s and
Trunkline’s projects and will use the capacity to render service under its FERC tariff. In
addition, Rover states that it has signed a joint precedent agreement with Vector and its
interconnected affiliated Canadian pipeline, Vector Pipeline Limited Partnership, to
provide up to 950,000 Dth/d of firm transportation service on existing facilities for
delivery in Michigan and to the Union Gas Dawn Hub in Ontario, Canada.

6.      As explained herein, we find that the benefits that the Rover Pipeline Project,
Panhandle Backhaul Project, and Trunkline Baclthaul Project will provide to the market




                                                                                               Filed: 01/29/2018
outweigh any adverse effects on existing shippers, other pipelines and their captive
customers, and on landowners and surrounding communities. Further, as set forth in the
environmental discussion below, we agree with Commission staffs conclusion in the
Environmental Impact Statement (EIS) that, if constructed and operated in accordance
with applicable laws and regulations, the projects will result in some adverse and
significant environmental impacts, but that these impacts will be reduced to acceptable
levels with the implementation of the applicants’ proposed mitigation and staffs
recommendations, now adopted as conditions in the attached Appendix B of this order.
Therefore, for the reasons stated below, we grant the requested certificates of public         Page 13 of 140
convenience and necessity and Rover’s request for a blanket certificate under Part 284,
Subpart G of the Commission’s regulations, subject to conditions. However, because of
Rover’s intentional demolition of a house that was identified as eligible for listing in the
National Register of Historic Places and within the visual area of potential effects of the
project, as discussed more fully below, we deny Rover’s request for a blanket certificate
under Part 157, Subpart F of the Commission’s regulations to perform certain routine
construction activities and operations.
Docket No. CP15-93-000, etal.                                                   -3   -




I.     Background

7.      Rover, a limited liability company organized and existing under the laws of
Delaware, is jointly owned by El Rover Pipeline, LLC (ET Rover),3 Traverse Rover
LLC (formerly AE-Midco Rover, LLC), and Traverse Rover II LLC (formerly AE-Midco
Rover II, LLC). Rover does not currently own any pipeline facilities, nor is it engaged in




                                                                                             USCA Case #18-1032
any natural gas transportation operations. Upon commencement of operations proposed
in its application, Rover will become a natural gas company within the meaning of
section 2(6) of the NGA,4 and, as such, will be subject to the jurisdiction of the
Commission.

8.      Panhandle, a limited partnership organized and existing under the laws of
Delaware, is a natural gas company engaged in the transmission and storage of natural
gas in interstate commerce, subject to the jurisdiction of the Commission. Panhandle’s
transmission system extends from supply sources in Texas, Kansas, and Oklahoma
though Missouri, Illinois, Indiana, Ohio, and Michigan to the International Boundary




                                                                                             Document #1715763
between the United States and Canada.

9.      Trunkline, a limited liability company organized and existing under the laws of
Delaware, is a natural gas company engaged in the transmission and storage of natural
gas in interstate commerce, subject to the jurisdiction of the Commission. Trunkline’s
transmission system extends from its historical supply sources in Texas and Louisiana,
through Arkansas, Mississippi, Tennessee, Kentucky, and Illinois to a principal terminus
at the Indiana-Michigan border near Elkhart, Indiana.

II.    Proposals




                                                                                             Filed: 01/29/2018
       A.     Rover Pipeline Project

              1.     Facilities and Services

 10.   The Rover Pipeline Project consists of nine supply laterals and three mainlines
(Mainline A and B, and the Market Segment). Generally, the supply laterals will
transport gas from receipt points in the Marcellus and Utica shale supply areas in West
Virginia, Pennsylvania, and Ohio to delivery points along Mainlines A and B, which will      Page 14 of 140
mostly run parallel from Harrison County, Ohio, to the Midwest Hub in Defiance County,


        ET Rover, an affiliate of Energy Transfer Partners, L.P. (Energy Transfer), is the
majority interest owner, developer, and operator of the Rover Pipeline Project.

      “15 U.S.C.   § 717a(6) (2012).
Docket No. CP15-93-000, etal.                                                 -4-

Ohio. The Market Segment will run from the Midwest Hub north, to the interconnection
with Vector in Livingston County, Michigan. The Rover Pipeline Project will involve
the construction of the following facilities:

   •   approximately 54.1 miles of 36-inch-diameter pipeline commencing at the
       Sherwood Compressor Station in Doddridge County, West Virginia, extending to




                                                                                          USCA Case #18-1032
       the Sherwood Tie-In and the interconnection with the Seneca Lateral in Monroe
       County, Ohio (Sherwood Lateral);

   •   approximately 5.9 miles of 24-inch-diameter pipeline commencing at the
       Columbia Gas Transmission (CGT) Tie-In at the interconnection with the
       Sherwood Lateral in Doddridge County, West Virginia, extending to the CGT
       Delivery Meter Station and the interconnection with CGT (CGT Lateral);

   •   approximately 25.8 miles of 42-inch-diameter pipeline commencing at the Seneca
       Compressor Station in Noble County, Ohio, and extending to the Clarington




                                                                                          Document #1715763
       Compressor Station and the interconnection with the Clarington Lateral in Monroe
       County, Ohio (Seneca Lateral);

   •   approximately 4.3 miles of 24-inch-diameter pipeline commencing at the Beme
       Receipt Meter Station in Monroe County, Ohio, extending to the Seneca
       Compressor Station in Noble County, Ohio (Beme Lateral);

   •   approximately 33.0 miles of 42-inch-diameter commencing at the Clarington
       Compressor Station and the interconnection with the Seneca Lateral in Monroe
       County, Ohio, extending to the Cadiz Tie-In and the interconnection with the




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       Cadiz Lateral and Supply Connector Line A and B in Harrison County, Ohio
       (Clarington Lateral);

   •   approximately 23.6 miles of 24-inch-diameter pipeline commencing at the
       Majorsville Receipt Meter Station in Marshall County, West Virginia, extending
       to the Majorsville Tie-In at the interconnection with the Clarington Lateral in
       Belmont County, Ohio (Majorsville Lateral);

   •   approximately 3.5 miles of 30-inch-diameter pipeline commencing at the Cadiz       Page 15 of 140
       Compressor Station in Harrison County, Ohio, extending to the Cadiz Tie-In and
       the interconnections with the Clarington and Supply Connector Lines A and B
       (Cadiz Lateral);

   •   approximately 18.6 miles of dual 42-inch-diameter pipeline commencing at the
       Cadiz Tie-In in Harrison County, Ohio, extending to Mainline Compressor Station
       1 and the interconnection with Mainlines A and B in Carroll County, Ohio (Supply
       Connector Line A and B);
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   •   approximately 51.8 miles of 36-inch-diameter pipeline commencing at the
       Burgettstown Compressor Station in Washington County, Pennsylvania, extending
       to the Burgettstown Tie-In and the interconnection with Supply Connector Lines
       A and B in Carroll County, Ohio (Burgettstown Lateral);

   •   approximately 190.9 miles of dual 42-inch-diameter pipelines extending from
       Carroll County, Ohio, to the Midwest Hub in Defiance County, Ohio (Mainlines A
       and B);

   •   approximately 100.0 miles of 42-inch-diameter pipeline extending from the
       Midwest Hub to an interconnection with Vector in Livingston County, Michigan
       (Market Segment);

   •   the new 14,205 horsepower (hp) Sherwood Compressor Station located at
       milepost 0.0 on the Sherwood Lateral in Doddridge County, West Virginia,
       consisting of three natural gas-fired reciprocating compressor units;

   •   the new 18,940 hp Seneca Compressor Station located at milepost 0.0 on the
       Seneca Lateral in Nobel County, Ohio, consisting of four natural gas-fired
       reciprocating compressor units;

   •   the new 11,245 hp Clarington Compressor Station located at milepost 0.4 on the
       Clarington Lateral in Monroe County, Ohio, consisting of three natural gas-fired
       reciprocating compressor units;

   •   the new 7,100 hp Majorsville Compressor Station located at milepost 1.1 on the
       Majorsville Lateral in Marshall County, West Virginia, consisting of two natural
       gas-fired reciprocating compressor units;

   •   the new 15,980 hp Cadiz Compressor Station located at milepost 0.0 on the Cadiz
       Lateral in Harrison County, Ohio, consisting of four natural gas-fired reciprocating
       compressor units;

   •   the new 5,175 hp Burgettstown Compressor Station located at milepost 0.0 on the
       Burgcttstown Lateral in Washington, Pennsylvania, consisting of three natural
       gas-fired reciprocating compressor units;

   •   the new 42,190 hp Mainline Compressor Station 1 located at milepost 18.8 on
       Main Lines A and B in Carroll County, Ohio, consisting of six natural gas-fired
       reciprocating compressor units;
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   •   the new 38,745 hp Mainline Compressor Station 2 located at milepost 77.3 on
       Main Lines A and B in Wayne County, Ohio, consisting of six natural gas-fired
       reciprocating compressor units;

   •   the new 34,010 hp Mainline Compressor Station 3 located at milepost 127.9 on
       Main Lines A and B in Crawford County, Ohio, consisting of five natural gas-
       fired reciprocating compressor units;

   •   the new 25,830 hp Defiance Compressor Station located at milepost 0.0 on the
       Market Segment in Defiance County, Ohio consisting of four natural gas-fired
       reciprocating compressor units;

   •   seventeen new meter stations in West Virginia, Pennsylvania, Ohio, and
       Michigan; and

   •   various appurtenances.

Rover estimates that the proposed facilities will cost approximately $4.082 billion.

11.     Rover states that it met with potential shippers to explore interest in supporting
new natural gas pipeline infrastructure serving the Marcellus and Utica shale supply
areas. As a result, Rover initially executed eight precedent agreements that included pre
arranged conforming bids.5 Rover subsequently held a 30-day binding open season
commencing on June 26, 2014. After the end of the open season, Rover continued to
solicit interest for capacity on the Rover Pipeline Project and, on October 30, 2014,
Rover announced that it had secured an additional long-term binding precedent
agreement. Consequently, the Rover Pipeline Project is subscribed through 15- and 20-
year contracts to transport 3,100,000 Dth/d of natural gas. All of the shippers have
elected to pay negotiated rates.

12.     Rover also requests approval of its proposed pro forma tariff. Rover proposes
initial maximum and minimum recourse reservation and usage rates set forth under Rate
Schedules FTS (Firm Transportation Service), ITS (Interruptible Transportation Service),
and GPS (Gas Parking Service).




         Rover, in its application, requested that shipper names remain confidential
pursuant to 18 C.F.R. § 385.1112 (2016), and no party requested the information pursuant
to a protective order.
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                2.         Blanket Certificates

13.     Rover requests a blanket certificate of public convenience and necessity pursuant
to section 284.22 1 of the Commission’s regulations authorizing Rover to provide
transportation service to customers requesting and qualifying for transportation service
under its proposed FERC Gas Tariff, with pre-granted abandonment authorization.6

 14.    Rover requests a blanket certificate of public convenience and necessity pursuant
to section 157.204 of the Commission’s regulations authorizing future facility
construction, operation, and abandonment as set forth in Part 157, Subpart F of the
Commission’s regulations.7

       B.       Panhandle Backhaul Project

15.     Panhandle proposes to construct piping modifications (i.e., station piping, valves,
fittings, pressure regulation equipment, and other miscellaneous materials) at its existing
Edgerton Compressor Station in Allen County, Indiana, Zionsville Compressor Station in
Marion County, Indiana, Montezuma Compressor Station in Parke County, Indiana, and
Tuscola Compressor Station in Douglas County, Illinois, as well at the existing Edgerton
10 Gate Valve Setting in Lenawee County, Michigan, Zionsville 3 Gate Valve Setting in
Hamilton County, Indiana, and Tuscola 6 Gate Valve Setting in Vermillion County,
Indiana, and mainline scrubbing facilities near the Montezuma Compressor Station. The
proposed facilities allow bi-directional flow of natural gas within the Market Zone of
Panhandle’s system. Panhandle will also establish an interconnection with the Rover
Pipeline Project near Defiance, Ohio, to allow firm transportation from the proposed
Panhandle-Rover Interconnect to the existing Panhandle-Trunkline Interconnect near
Bourbon, Illinois. The proposed modifications do not require the installation of
additional compressor horsepower or mainline pipe. The Panhandle Backhaul Project
will increase east-to-west capacity on the Panhandle pipeline system to meet the demand
for additional transportation capacity to deliver natural gas to the Midwest and Gulf
Coast market areas. Panhandle estimates the cost of the Panhandle Backhaul Project to
be approximately $55 million.

16.    Panhandle proposes to charge its existing rates for service using the incremental
capacity created by the project. Panhandle has executed a precedent agreement with
Rover for the entire 750,000 Dth/d of firm service created by the project at Panhandle’s


       6
           18 C.F.R.   § 284.22 1   (2016).
       ‘
           18 C.F.R.   §   157.204 (2016).
Docket No. CP15-93-000, etal.                                                      -8-

existing maximum recourse rate. Panhandle requests a pre-determination of rolled-in rate
treatment for the costs associated with the project.

       C.     Trunkline Backhaul Project

 17.    Trunkline proposes to construct piping modifications (i.e., station piping, valves,




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fittings, pressure regulation equipment, and other miscellaneous materials) at its existing
Johnsonville Compressor Station in Wayne County, Illinois, Joppa Compressor Station in
Massac County, Illinois, Dyersburg Compressor Station in Dyer County, Tennessee, and
Independence Compressor Station in Tate County, Mississippi, in order to allow bi
directional flow of natural gas through these compressor stations, to modify the existing
Panhandle-Trunkline Interconnect located near Bourbon, Illinois, by installing valves and
fittings, making other ancillary modifications to piping within the existing Panhandle
Tuscola Compressor Station in Douglas County, Illinois, and constructing and operating
modifications to the existing Bourbon Meter Station in Douglas County, Illinois. The
proposed modifications do not require the installation of additional compressor




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horsepower or mainline pipe. The Trunkline Backhaul Project will increase north-to-
south capacity on the Trunkline pipeline system to meet the demand for additional
transportation capacity to deliver natural gas to the Midwest and Gulf Coast market areas.
Trunkline estimates the cost of the Trunkline Backhaul Project to be approximately $50.8
million.

 1$.    Trunkline proposes to charge its existing rates for service using the incremental
capacity. Trunkline has executed a precedent agreement with Rover for the entire
750,000 Dth/d of firm service created by the project at Trunkline’s existing maximum
recourse rate, a rate Trunkline states will fully recover the cost of service associated with




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the project. Trunkline requests a pre-determination of rolled-in rate treatment for the
costs associated with the project.

III.   Procedural Issues

       A.     Notice, Interventions, Protests, and Comments

19.    Notice of the applications in Docket Nos. CP15-93-000, CP15-94-000, and CP15-
96-000 was published in the Federal Register on March 16, 2015 (80 Fed. Reg. 13,527).           Page 19 of 140
In each docket, a number of timely and late motions to intervene were filed.8 Timely,

       8
         The Commission’s regulations provide that interventions are timely if filed
during the comment period on the notice of the application or if filed on environmental
grounds during the comment period of the drafi ElS. 18 C.F.R. § 157.10, 3 80.10(a),
385.2 14(c) (2016). Thus, if interventions are filed in between these periods, the
intervention is late. See Florida Southeast Connection, LLC, 154 FERC ¶ 61,080, at n. 13

                                                                               (continued...)
Docket No. CP15-93-000, etal.                                                   -9-

unopposed motions to intervene are granted automatically pursuant to Rule 214 of the
Commission’s Rules of Practice and Procedure.9

20.    Notice of the amendment to Rover’s application in Docket No. CP15-93-001 was
published in the Federal Register on May 31, 2016 (81 fed. Reg. 34,334). No motions to
intervene, protests, or comments were filed in response to the application amendment.




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21.   A number of individuals filed late, unopposed motions to intervene in each
proceeding. We grant these motions.10 Additionally, Sierra Club filed a late, opposed
motion to intervene. As discussed below, we grant Sierra Club’s motion.

22.    Last, the timely motions to intervene by a group of Ohio landowners represented
by Goldman & Braunstein, LLP (G&B Landowners) and the Ohio farm Bureau
federation, Inc. (farm Bureau) were opposed. As discussed below, the Commission
grants these timely motions to intervene. All parties to each proceeding are listed in
Appendix A of this order.




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23.    G&B Landowners, E&W Landowners, STC Holdings, LLC, Consumers Energy
Company, and several individuals and landowners filed protests and adverse comments
raising the following issues: (1) the need for an evidentiary hearing regarding Rover’s
proposed construction schedule and its impact on eminent domain proceedings; (2) a
request to use the Commission’s alternative dispute resolution service to resolve certain
landowner issues; (3) the need for the proposed project; (4) the use of eminent domain
and “quick take” authority; (5) the project’s impact on existing pipelines; (6) Rover’s
budget for land acquisition and its effect on landowners; (7) the Commission’s
regulations regarding affiliate shippers; and (8) Rover’s inability to negotiate an




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interconnection and operating agreement with Consumers Energy Company. On
April 26, 2016, Rover filed an answer to protests filed by G&B Landowners and E&W




                                                                                            Page 20 of 140
(2016). As we note below, however, the Commission has a liberal policy of accepting
late interventions in natural gas certificate proceedings.

            1$ C.f.R.   § 385.2 14(c) (2016).
       ‘°
            18 C.f.R.   § 385.2 14(d) (2016).
Docket No. CP15-93-000, et al.                                                   -   10   -




24.    Landowners. G&B Landowners and E&W Landowners filed answers to Rover’s
answer.’1

25.    In addition, we received numerous comments in support of the Rover Pipeline
Project, asserting it would, among other things, bring jobs to the area, increase economic
growth, and provide affordable natural gas supplies to consumers. On the other hand, a




                                                                                                USCA Case #18-1032
large number of comments were filed raising concerns over the environmental impacts of
the proposed projects. These concerns are addressed in the EIS, as well as the
environmental section of this order.

                1.       G&B Landowners Intervention

26.    On March 3, 2015, G&B Landowners filed a timely motion to intervene in Docket
No. CP15-93-000. The motion to intervene did not publicly identify the names of the
individual landowners. Rather, a list of the landowners was filed as privileged and
confidential material. The motion to intervene specifically requested that G&B




                                                                                                Document #1715763
Landowners be allowed to intervene as a consolidated group in the proceeding.12

27.     On March 18, 2015, Rover filed an answer opposing G&B Landowners’ timely
motion to intervene. Specifically, Rover requested that we deny the motion because by
withholding the names of the landowners, the motion failed to provide sufficient factual
information to justify intervention under the Commission’s Rules of Practice and
Procedure.13 Additionally, Rover asserted that G&B Landowners failed to adequately
justify its reason for filing the list of landowners as privileged information as required by
section 388.1 1214 of the Commission’s regulations.15




                                                                                                Filed: 01/29/2018
         Although the Commission’s Rules of Practice and Procedure generally do not
permit answers to answers, 18 C.F.R. § 385.2 13(a)(2) (2016), we will accept G&B
Landowners’ and E&W Landowners’ responses because they clarify the concerns raised
and provide information that has assisted in our decision making.

                                                                                                Page 21 of 140
       12
            G&B Landowners March 3, 2015 Motion to Intervene at 6.
       13
       Rover March 18, 2015 Answer in Opposition to Motion to Intervene of
Goldman & Braunstein, LLP at 2-5 (Answer in Opposition).
       14
            18 C.F.R.   § 388.112 (2016).
            Rover Answer in Opposition at 5.
Docket No. CP15-93-000, etal.                                                -   11   -




28.     On March 27, 2015, G&B Landowners filed a response to Rover’s Answer in
Opposition,16 clarifying that it represents more than 100 landowners in 15 Ohio counties,
whose land will be adversely affected by Rover’s project as evidenced by the alignment
sheets submitted by Rover to the Commission on February 20, 2015. G&B Landowners
further explained that it has provided Rover a list of landowners, which is frequently
updated by email notifications to both Rover’s legal counsel and Rover’s lead right-of-




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way representative.17 Because the identities of the landowners are known to both the
Commission and Rover, G&B Landowners request that the Commission grant its motion
to intervene.

29.      On August, 7, 2015, G&B Landowners filed a motion to supplement its landowner
list (first Motion to Supplement). The First Motion to Supplement was filed over four
months after the established deadline for timely motions to intervene and requested that
the list of additional landowners be added to those landowners previously named in the
March 3, 2015 Motion to Intervene. On March 9, 2016, seven months after the First




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Motion to Supplement, G&B Landowners filed an additional Motion to Supplement its
landowner list (Second• Motion to Supplement).18

30.     Rover has asserted that G&B Landowners’ failure to publicly disclose the
identities of the individual landowners frustrates Rover’s efforts to work with these
individuals to resolve landowner concerns. However, both Rover and Commission staff
are privy to the identities of the G&B Landowners.19 Based on G&B Landowners’

       16
          Although the Commission’s Rules of Practice and Procedure generally do not
permit answers to answers, 18 C.f.R. § 3$5.213(a)(2) (2016), we will accept G&B
Landowners’ response because it clarifies the concerns raised and provides information




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that has assisted in our decision making.
       17
         G&B Landowners indicated that it had sent Rover 37 emails between December
11, 2014, and March 27, 2015, to update the list of its landowner clients.
      18
          The Second Motion to Supplement also included a request that the Commission
provide to G&B Landowners a revised version of Appendix I-i “Status of Route
Deviations Reported by Stakeholders,” which appeared in the draft Environmental
Impact Statement issued by the Commission on February 19, 2016, that includes the            Page 22 of 140
identities of any stakeholder that is part of the G&B Landowner group and whose land is
referenced in Appendix I-i. G&B Landowners March 9, 2016 Motion for Production of
Landowner-Client Information and to Supplement Client List at 2.
      19
         As noted earlier, G&B Landowners provided Rover with a list of all
landowners, which was frequently updated via email correspondence with Rover’s legal
counsel and its lead right-of-way representative. Following a comparison of G&B

                                                                            (continued...)
Docket No. CP15-93-000, etal.                                                     -   12-

representations that it includes numerous Ohio landowners affected by Rover’s proposed
pipeline and Commission staff’s evaluation of its landowner list, we are satisfied that
G&B Landowners have sufficiently demonstrated that it represents interests that may be
affected by the outcome of the proceeding as required by Rule 214 of the Commission’s
Rules of Practice and Procedure.2° Therefore, we grant G&B Landowners’ timely motion
to intervene. With respect to the Motions to Supplement, however, we note that G&B




                                                                                                 USCA Case #18-1032
Landowners requested party status for the landowner group as a whole, and not for each
individual landowner. Therefore, each individual landowner does not have individual
intervenor status through the consolidated group, since G&B Landowners did not request
such status and, in any event, did not publicly identify the names of the individual
landowners.2’

                2.     Ohio Farm Bureau Intervention

31.     On March 30, 2015, the Ohio Farm Bureau Federation, Inc. (Farm Bureau), which
describes itself as a grassroots organization representing agricultural interests at the state




                                                                                                 Document #1715763
and local level, filed a timely motion to intervene in Docket No. CP15-93-000. On April
 14, 2015, the Freshwater Accountability Project (Freshwater) filed an answer opposing
the Farm Bureau’s motion to intervene. While first asserting that the Farm Bureau failed
to articulate a position, Freshwater continues on to argue that the Farm Bureau’s support
for the project is a position that is already being adequately advanced by Rover. For
these reasons, Freshwater asks the Commission to deny the Farm Bureau’s motion to
intervene in this proceeding. On April 23, 2015, the Farm Bureau filed a response to
Freshwater’s answer in opposition,22 detailing its energy development policy positions

Landowners’ list to Rover’s landowner list, Commission staff is satisfied that the




                                                                                                 Filed: 01/29/2018
landowners may be affected by the proposed pipeline. We further note that Rover’s
updated landowner mailing lists, filed on June 11, 2015, specifically list Goldman &
Braunstein, LLP as the contact organization for a significant number of individual
landowners. Rover’s June 11, 2015 Supplement to the Environmental Report, Volume
IV Resource Report 1, Attachment 1A Landowner Mailing Lists in Docket No. CP15-
   —
                                             —




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                                                                                                 Page 23 of 140
       20
            See 18 C.F.R.   § 385.2 14(b) (2016).
       21
            See, e.g., Southern Natural Gas Co., 79 FERC   ¶ 61,280 (1997).
       22Although the Commission’s Rules of Practice and Procedure generally do not
permit answers to answers, 18 C.F.R. § 385.213(a)(2) (2016), we will accept the Farm
Bureau’s response because it clarifies the concerns raised and provides information that
has assisted in our decision making.
Docket No. CP15-93-000, etal.                                                     -   13-

and emphasizing that no other existing party can adequately represent the energy
development needs of farms, small businesses, and rural landowners in Ohio.

32.     Under Rule 2 14(b)(2), a movant seeking to intervene in a proceeding must state its
interest in sufficient factual detail to demonstrate that its right to participate is expressly
conferred by statute, Commission rule, order, or other action; that it has or represents an




                                                                                                  USCA Case #18-1032
interest that may be directly affected by the outcome of the proceeding; or its
participation is in the public interest.23 As noted above, the F arm Bureau states that it
represents the energy development needs of farms, small business, and rural landowners
in Ohio. We find that the Farm Bureau’s participation is in the public interest and that it
has sufficiently demonstrated that it “has or represents an interest which may be directly
affected by the outcome of the proceeding.”24 Accordingly, we grant the Farm Bureau’s
motion to intervene.

       3.       Sierra Club Late Intervention




                                                                                                  Document #1715763
33.     On September 1, 2016, Sierra Club filed an untimely motion to intervene. Rover
filed an answer opposing Sierra Club’s late motion to intervene. While we will grant this
late-filed motion to intervene, we note that Sierra Club filed it motion to intervene over
seventeen months after issuance of the notice of application, over six months after
issuance of the draft EIS, and over one month after issuance of the final EIS.

       B.       Request for Evidentiary Hearing

34.     G&B Landowners request an evidentiary hearing concerning Rover’s schedule
and its impact on eminent domain proceedings. An evidentiary, trial-type hearing is




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necessary only where there are material is sues of fact in dispute that cannot be resolved
on the basis of the written record.25 No party has raised a material is sue of fact that the
Commission cannot resolve on the basis of the written record. As demonstrated by the
discussion below, the existing written record provides a sufficient basis to resolve the
issues relevant to this proceeding. The Commission has satisfied the hearing requirement



                                                                                                  Page 24 of 140
       23
            $ C.F.R.   § 385.2 14(b)(2) (2016).
      24
            See 18 C.F.R.   § 385.2 14(b)(2)(ii) (2016).
      25
        See, e.g., Southern Union Gas Co. v. FERC, 840 F.2d 964, 970 (D.C. Cir.
1988); Dominion Transmission, Inc., 141 FERC ¶ 61,183, at P 15 (2012).
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by giving interested parties an opportunity to participate through evidentiary submission
in written form.26 Therefore, we will deny the request for a trial-type evidentiary hearing.

35.     On July 27, 2016, G&B Landowners filed a discovery request instructing Rover to
produce certain documents pursuant to section 3 85.406 of the Commission’s Rules of
Practice and Procedure.27 The Commission’s discovery regulations, set out in Part 385,




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subpart D of the Commission’s Regulations, apply in proceedings that have been set for
hearing.28 As discussed above, because we find that a trial-type hearing is not necessary
in this proceeding, we deny G&B Landowner’s request for discovery.

       C.       Request for Alternative Dispute Resolution

36.     On October 2, 2015, G&B Landowners filed a motion requesting the Commission
to assign a matter in Docket No. CP15-93-000 to the Commission’s Alternative Dispute
Resolution process.29 G&B Landowners requested the use of alternative means of
dispute resolution to resolve an ongoing dispute between Rover and G&B Landowners




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related to the maintenance and restoration of agricultural drainage tile systems prior to
and during project construction and subsequent land restoration. Specifically, G&B
Landowners stated that project construction would impact drainage systems, but that
Rover could mitigate these impacts by performing pre-construction drain tile work on the
G&B Landowners’ properties. However, the motion further alleges that Rover
conditioned performance of such mitigation measures on Rover’s receipt of a permanent
easement from each landowner, a condition G&B Landowners found unacceptable.

37.     The Commission has an Alternative Dispute Resolution process, which is covered
under Rule 604 of the Commission’s Rules of Practice and Procedure.3° Our regulations




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require that all participants to a pending matter concur in the use of alternative dispute
resolution. Here, Rover agreed to participate in the Commission’s Alternative Dispute
Resolution process in an attempt to resolve the drainage tile issue. While the Dispute
Resolution Division of the Office of Administrative Law Judges initiated alternative

       26
            Moreau v. FERC, 982 F.2d 556, 568 (D.C. Cir. 1993).

                                                                                               Page 25 of 140
       27
            18 C.F.R.   § 385.406 (2016).
       28
            See 18 C.f.R.   § 385.401 (2016).
      29
         G&B Landowners October 2, 2015 Motion to Assign Matter for Dispute
Resolution in Docket No. CP15-93-000.
      30
            18 C.F.R.   § 385.604(d) (2016).
Docket No. CP15-93-000, etal.                                                    -   15   -




dispute resolution procedures with the parties to address the issues raised, to date, no
agreement has been reached.

IV.    Discussion

38.     Since the proposed facilities will be used to transport natural gas in interstate




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commerce, subject to the jurisdiction of the Commission, the construction and operation
of the facilities are subject to the requirements of subsections (c) and (e) of section 7 of
the NGA.

       A.     Application of Certificate Policy Statement

39.     The Certificate Policy Statement provides guidance for evaluating proposals to
certificate new pipeline construction.3’ The Certificate Policy Statement establishes
criteria for determining whether there is a need for a proposed project and whether the
proposed project will serve the public interest. The Certificate Policy Statement explains




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that in deciding whether to authorize the construction of major new facilities, the
Commission balances the public benefits against the potential adverse consequences.
The Commission’s goal is to give appropriate consideration to the enhancement of
competitive transportation alternatives, the possibility of overbuilding, subsidization by
existing customers, the applicant’s responsibility for unsubscribed capacity, the avoidance
of unnecessary disruptions of the environment, and the unneeded exercise of eminent
domain in evaluating new pipeline construction.

40.      Under this policy, the threshold requirement for pipelines proposing new projects
is that the pipeline must be prepared to financially support the project without relying on




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subsidization from its existing customers. The next step is to determine whether the
applicant has made efforts to eliminate or minimize any adverse effects the project might
have on the applicant’s existing customers, existing pipelines in the market and their
captive customers, or landowners and communities affected by the route of the new
pipeline. If residual adverse effects on these interest groups are identified after efforts
have been made to minimize them, the Commission will evaluate the project by
balancing the evidence of public benefits to be achieved against the residual adverse
effects. This is essentially an economic test. Only when the benefits outweigh the
adverse effects on economic interests will the Commission proceed to complete the              Page 26 of 140
environmental analysis where other interests are considered.


       ‘
          Certflcation ofNew Interstate Natural Gas Pzpeline Facilities, 88 FERC
¶ 61,227 (1999), clarfied, 90 fERC ¶ 61,128,further clarWed, 92 FERC ¶ 61,094 (2000)
(Certificate Policy Statement).
Docket No. CP15-93-000, etaL                                                  -   16-

                 1.   Rover Pipeline Prolect

                      (a)    Subsidization and Impacts on Existing Customers

41.    As discussed above, the threshold requirement for pipelines proposing new
projects is that the pipeline must be prepared to financially support the project without




                                                                                             USCA Case #18-1032
subsidization from existing customers. Rover is a new pipeline entrant with no existing
customers. Thus, there is no potential for subsidization on Rover’s system or degradation
of service to existing customers.

                      (b)    Need for the Project

42.    Several parties and commenters challenged the need for the proposed Rover
Pipeline Project. They raise a variety of arguments including: (1) the creditworthiness of
Rover’s shippers; (2) insufficient demand for natural gas both domestically and for
export; (3) insufficient production growth in the Marcellus and Utica shales; (4) the




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availability of alternatives renewable energy and under-utilized pipeline capacity to
                            —                                                           —




meet future demand; and (5) the fact that a portion of the gas transported on Rover will
be exported to Canada and not consumed within the United States.

43.     The Certificate Policy Statement established a new policy under which the
Commission would allow an applicant to rely on a variety of relevant factors to
demonstrate need, rather than continuing to require that a percentage of the proposed
capacity be subscribed under long-term precedent or service agreements.32 These factors
might include, but are not limited to, precedent agreements, demand projections, potential
cost savings to consumers, or a comparison of projected demand with the amount of




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capacity currently serving the market.33 The Commission stated that it will consider all
such evidence submitted by the applicant regarding project need. Nonetheless, the
Certificate Policy Statement made clear that, although precedent agreements are no
longer required to be submitted, they are still significant evidence of project need or
demand.34

44.    We find that Rover has sufficiently demonstrated that there is market demand for
the project. Rover has entered into long-term, firm precedent agreements with nine
                                                                                             Page 27 of 140

      32
           Certificate Policy Statement, $8 FERC at 61,747.

           Ia.
      34
           ia.
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producers for 3,100,000 Dth/d of firm transportation service, approximately 95 percent of
the system’s capacity.35

45.     Mr. Frank Zaski avers that Rover’s binding precedent agreements do not
demonstrate need for the project because some shippers have experienced a reduction in
credit rating. Mr. Zaski argues that the reduction in credit rating indicates that these




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shippers may not utilize their contracted volumes in the future. Several commenters
further state that producers of natural gas throughout the industry are not financially
stable. This concern is speculative. There is no record evidence indicating that any of
Rover’s shippers intend to cancel their contracts or will not be able to utilize their future
contractual demand. In fact, many of Rover’s shippers have filed comments requesting
the Commission approve Rover’s application as quickly as possible.36 Moreover,
Rover’s foundation shippers have a higher creditworthiness standard than the
creditworthiness requirements found in Rover’s tariff.37 Rover must execute finii
contracts for the capacity levels and terms of service represented in the signed precedent




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agreements before commencing construction. Should a foundation shipper be unable to
meet the creditworthiness standard in the agreement, Rover would not be able to execute
the precedent agreement, and thus, could not begin construction. Therefore, we conclude
that Rover’s signed precedent agreements demonstrate need for the proposed project.




          It is current Commission policy to not look beyond precedent or service
agreements to make judgments about the needs of individual shippers. Certificate Policy
Statement, 88 FERC at 61,744 (citing Transcontinental Gas Pze Line Corp., 82 FERC




                                                                                                Filed: 01/29/2018
¶ 61,084, at 61,316 (1998)). The United States Court of Appeals for the District of
Columbia Circuit affirmed this policy in Minisink Residents for Environmental
Preservation & Safety v. fERC, finding that the petitioners identify nothing in the policy
statement or in any precedent construing it to suggest that it requires, rather than permits,
the Commission to assess a project’s benefits by looking beyond the market need
reflected by the applicant’s existing contracts with shippers. Minisink Residents for Envtl.
Pres. & Safelyv. FERC, 762 F.3d97, 110 n.10(D.C. Cir. 2014).
       36
        See Antero Resources Corp. January 24, 2017 Letter; EdgeMarc Energy                     Page 28 of 140
December 7, 2015 Letter; Antero Resources Corp. November 25, 2015 Letter; Range
Resources-Appalachia, LLC November 20, 2015 Letter; Rice Energy Marketing LLC
November 18, 2015 Letter; SWN Energy Services Company, LLC November 17, 2015
Letter.
       ‘
            See infra Section IV.D.5.
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46.     Commenters next argue that there is insufficient demand for natural gas in
Michigan and Canada. Commenters note that Rover is a producer-driven project and
contend that projects should be driven by market demand for natural gas. The
Commission does not distinguish between classes of pipeline shippers. In ETC Tiger
Pipeline, issuing a certificate of public convenience and necessity for a producer-driven
pipeline project, the Commission reasoned that the new pipeline would develop gas




                                                                                               USCA Case #18-1032
infrastructure that will serve to ensure future domestic energy supplies and enhance the
pipeline grid by connecting sources of natural gas to markets in the Midwest and Atlantic
Seaboard.38 Similarly, the Rover Pipeline Project will connect supplies in the Marcellus
and Utica supply areas to markets in the Midwest and Gulf Coast, and to the Dawn Hub
in Ontario Province, Canada.39

47.   Mr. Zaski’s assertion that there is insufficient supply is also unpersuasive.
Relying on projections regarding Marcellus shale production, Mr. Zaski argues that the
supply from the Marcellus is decreasing and that the pipeline will be under-utilized.




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Rover has contracted with specific producers for capacity on its pipeline. These long-
term agreements accurately reflect the need for the proposed project.4°

48.    With respect to project alternatives, our environmental review considered the
potential for energy conservation and renewable energy sources, and the availability of
capacity on other pipelines, to serve as alternatives to the Rover Pipeline Project and
concluded that they do not presently serve as practical alternatives to the project.4’ Thus,




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       38
            ETC Tiger F;peline, LLC, 131 fERC   ¶ 61,010, at P20 (2010).
           At the Dawn Hub, shippers’ may (1) utilize one of the natural gas storage
facilities; (2) sell to Canadian markets; or (3) transport gas back to United States markets
in the Northeast and Midwest through interconnecting pipelines.
       40
          See Algonquin Gas Transmission, LLC, 154 FERC ¶ 61,048, at P40 (2016)
                                                                                               Page 29 of 140
(finding that assessment of regional demand for natural gas was not necessary because
the applicant demonstrated need for the project through executed precedent agreements).
       41
          See Final EIS at 3-7 to 3-8 (concluding that existing pipelines do not have the
capacity to transport the required volumes of gas) and 3-6 (concluding that generation of
electricity from renewable energy sources or the gains realized from increased energy
efficiency and conservation are not transportation alternatives and cannot function as a
substitute for the Rover Pipeline Project).
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contrary to commenters’ assertions, we are not persuaded that authorization of the Rover
Pipeline Project would lead to the overbuilding of pipeline infrastructure.42

49.     Lastly, allegations that the project is not needed because gas will be exported,
either to Canada or through an LNG terminal, are not persuasive. The Commission does
not have jurisdiction over the exportation or importation of natural gas. Such jurisdiction




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resides with the U.S. Department of Energy (DOE), which must act on any applications
for natural gas export or import authority.43 We note that there is no proposal before us
to increase the export capacity of Vector’s facilities and that the Rover shippers utilize
existing export capacity should DOE approve the export of the commodity.

50.    In conclusion, we find that the Rover Pipeline Project will provide benefits to all
sectors of the natural gas market by providing producers access to multiple markets


       42
          Similarly, we find that the general quotes of Energy Transfer’s CEO, Mr. Kelcy




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Warren, cited by commenters regarding the pipeline industry overbuilding to be
unpersuasive. As the quote made clear, Mr. Warren was not commenting on this specific
project, which, as discussed, has demonstrated clear need.
       ‘
          Section 3(a) of the NGA provides, in part, that “no person shall export any
natural gas from the United States to a foreign country or import any natural gas from a
foreign country without first having secured an order of the Commission authorizing it to
do so.” 15 U.S.C. § 717b(a) (2012). In 1977, the Department of Energy Organization
Act transferred the regulatory functions of section 3 of the NGA to the Secretary of
Energy. 42 U.S.C. § 715 1(b) (2012). Subsequently, the Secretary of Energy delegated to




                                                                                                 Filed: 01/29/2018
the Commission authority to “[aJpprove or disapprove the construction and operation of
particular facilities, the site at which such facilities shall be located, and with respect to
natural gas that involves the construction of new domestic facilities, the place of entry for
imports or exit for exports.” DOE Delegation Order No. 00-004.OOA (effective May 16,
2006). The proposed facilities are not located at a potential site of exit for natural gas
exports. Moreover, the Secretary of Energy has not delegated to the Commission any
authority to approve or disapprove the import or export of the commodity itself, or to
consider whether the exportation or importation of natural gas is consistent with the
public interest. See Corpus ChristiLiquefaction, LLC, 149 FERC ¶ 61,223, at P 20                 Page 30 of 140
(2014) (Corpus Christi). See also National Steel Corp., 45 FERC ¶ 61,100, at 61,332-33
(1982) (observing that DOE, “pursuant to its exclusive jurisdiction, has approved the
importation with respect to every aspect of it except the point of importation” and that the
“Commission’s authority in this matter is limited to consideration of the place of
importation, which necessarily includes the technical and environmental aspects of any
related facilities”).
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throughout the United States and Canada and increasing the diversity of supply to
consumers in those markets. Precedent agreements signed by Rover for approximately
95 percent of the projects’ capacity adequately demonstrate that the project is needed.

                     (c)    Existing Pipelines and their Customers




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51.     The Rover Pipeline Project is designed to transport domestically sourced gas from
the Marcellus and Utica supply areas to markets in Ohio and Michigan. Mr. Frank Zaski
asserts that the project will negatively impact existing pipelines because any natural gas
transported by Rover would not be available for transport on an existing pipeline. The
EIS analyzed the availability of capacity on other pipelines to serve as alternatives to the
Rover Pipeline Project, and concluded that they do not presently serve as practical
alternatives to the project.44 Further, no transportation service provider or captive
customer in the same market has protested this project. Therefore, we find that the Rover
Pipeline Project will have no adverse impact on existing pipelines or their captive
customers.




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                     (d)    Landowners and Communities

52.    Regarding impacts on landowners and communities along the project route, Rover
proposes to locate its pipeline within or parallel to existing utility corridors where
feasible. Approximately 24 percent of Rover’s pipeline rights-of-way will be collocated
or adjacent to existing pipeline, roadway, railway, or utility rights of way.45 Rover also
proposes to use available capacity on other pipelines wherever possible to avoid new,
undisturbed lands. For example, Rover has acquired capacity on the Vector system from
Livingston County, Michigan to the Dawn Hub, thereby avoiding approximately 110




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miles of pipeline construction impacts in Michigan and approximately 14 miles in
Ontario, Canada.

53.    While we are mindful that Rover has been unable to reach easement agreements
with some landowners, for purposes of our consideration under the Certificate Policy
Statement, we find that Rover has generally taken sufficient steps to minimize adverse
impacts on landowners and surrounding communities. Rover participated in the
Commission’s pre-fihing process and has been working to address landowner and
community concerns and input. Specifically, Rover incorporated over 150 route                  Page 31 of 140




      ‘“Final EIS at 3-7 to 3-8.

      45FinalEIS at 2-11.
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variations into its proposed route for various reasons, including landowner requests,
avoidance of sensitive resources, or engineering considerations.46

54.    E&W Landowners argue that because Rover “under-budgeted” the costs for land
acquisition and right-of-way damage, the proposed project will be “subsidized” by
landowners receiving less compensation for an easement.47 However, the compensation




                                                                                               USCA Case #18-1032
landowners receive for easements are a matter of negotiation between the pipeline
company and landowner, or will be determined in an eminent domain proceeding. In the
context of its certificate proceeding, Rover’s estimated costs for land acquisition are used
to establish its initial recourse rates. Those estimates should have no bearing on the
compensation that individual landowners receive via negotiation or eminent domain
proceedings. Further, the initial recourse rates established herein will be examined in a
cost-and-revenue study or section 4 rate case after three years of operation.

55.     G&B Landowners and E&W Landowners argue that the impacts of Rover’s
project outweigh the potential benefits. The landowner groups state that Rover has failed




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to negotiate easements for its proposed pipeline and is inappropriately relying on the use
of eminent domain to acquire the necessary land rights. The landowner groups contend
that the Certificate Policy Statement requires project sponsors to acquire right-of-way
through negotiation and that eminent domain should only be used against the “last few
holdout landowners.” In its April 11, 2016 filing, E&W Landowners allege that Rover
has acquired less than 30 percent of the right-of-way in Ohio. The landowner groups
argue that because Rover will be required to use eminent domain to an extent beyond
what was contemplated in the Certificate Policy Statement, the project should be
denied.48




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56.    The landowner groups are incorrect in their interpretation of the Certificate Policy
Statement as having established a bright-line or quota regarding the amount of property
that may be acquired through eminent domain. The Certificate Policy Statement
specifically warns that “[b]right line tests are unlikely to be flexible enough to resolve
specific cases and to allow the Commission to take into account the different interests

      46
           Final ElS at 3-3 7.

         E&W Landowners state that Rover’s estimated costs are less than three other           Page 32 of 140
pipelines located in Ohio: the Nexus Pipeline project, the Leach XPress project, and the
Texas Eastern OPEN project.
      48
         In the alternative, E&W Landowners request that the Commission condition
Rover’s certificate on Rover acquiring 90 percent of the right-of-way through negotiation
with landowners.
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that must be considered.”49 In this vein, the Certificate Policy Statement specifically
noted that where a pipeline has acquired property rights for a proposed project the
benefits needed to be shown would be less than in a case where no land rights had been
previously acquired by negotiation.50 Thus, the Certificate Policy Statement specifically
contemplated a scenario where a company might not be able to acquire a perhaps
significant amount of property rights through negotiation.51




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57.     Here, Rover has demonstrated public benefits for the proposed project.
Approximately 95 percent of the Rover Pipeline Project is subscribed under long-term
firm transportation precedent agreements, indicating a strong need for the project.52 Once
constructed, the project will transport natural gas from supply areas in the Marcellus and
Utica shales to markets throughout North America, including the Southeast, Midwest,
and Northeast53 United States, and to the Dawn Hub in Canada. All sectors of the natural
gas market benefit by providing gas supply access to multiple markets throughout the
United States and increasing the diversity of supply to consumers in those markets.




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                       (e)    Conclusion

58.    We find that the benefits that the Rover Pipeline Project will provide to the market
outweigh any adverse effects on existing shippers, other pipelines and their captive
customers, and on landowners and surrounding communities. Consistent with the criteria
discussed in the Certificate Policy Statement and subject to the environmental discussion
below, we find that the public convenience and necessity requires approval of Rover’s
proposal, as conditioned in this order.




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       ‘
            Certificate Policy Statement, 88 FERC at 61,749.
       50


          While the Commission expects companies under its jurisdiction to respect the
rights of property owners along the paths of their proj ects and to negotiate in good faith
for any necessary property rights, we do not play a direct role in such negotiations.
                                                                                              Page 33 of 140
Chestnut Ridge Storage LLC, 128 FERC ¶ 61,210, at P 20 (2009).
       52
         Certificate Policy Statement, 88 FERC at 61,749 (“if an applicant had precedent
agreements with multiple parties for most of the new capacity, that would be strong
evidence of market demand and potential public benefits”).

         Gas from the Rover project may be transported into the Northeast United States’
markets through third-party pipelines at the Dawn Hub.
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              2.     Panhandle Backliani Project

59.     The Panhandle Backhaul Project is fully subscribed under a long-term precedent
agreement with Rover. As is discussed below, Rover has agreed to a maximum rate that
will recover, at minimum, the costs associated with the project. As such, the proposed
project will not result in any subsidization by Panhandle’s existing shippers.




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60.    The Panhandle Backhaul Project will not adversely affect the interests of any
competing existing pipelines or their captive customers. The proposed infrastructure
modifications are anticipated to serve new demand and not to replace any existing service
provided by another pipeline. further, no pipelines or their captive customers have filed
objections to the project.

61.     We also find that Panhandle’s proposed project will have minimal adverse impacts
on landowners and communities. The modifications proposed by Panhandle would all
occur on lands owned by Panhandle and within its existing meter and compressor




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stations. Further, Panhandle will be providing service using existing, available capacity
in part and using new capacity created by the construction of the proposed facilities to
enable bi-directional flow on a portion of its system. By using existing capacity,
Panhandle has reduced the amount of facilities needed to be constructed.

62.     We find that the benefits that the Panhandle Backhaul Project will provide to the
market outweigh any adverse effects on existing shippers, other pipelines and their
captive customers, and on landowners and surrounding communities. Consistent with the
criteria discussed in the Certificate Policy Statement and subject to the environmental
discussion below, we find that the public convenience and necessity requires approval of




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Panhandle’s proposal, as conditioned in this order.

              3.    Trunidine Backhaul Project

63.     The Trunkline Backhaul Project is fully subscribed under a long-term precedent
agreement with Rover. As is discussed below, Rover has agreed to a maximum rate that
will recover, at minimum, the costs associated with the project. As such, the proposed
project will not result in any subsidization by Trunkline’s existing shippers.
                                                                                            Page 34 of 140
64.    The Trunkline Backhaul Project will not adversely affect the interests of any
competing existing pipelines or their captive customers. The proposed infrastructure
modifications are anticipated to serve new demand and not to replace any existing service
provided by another pipeline, further, no pipelines or their captive customers have filed
objections to the project.

65.    We also find that Trunkline’s proposed project will have minimal adverse impacts
on landowners and communities. The modifications proposed by Trunkline would all
occur on lands owned by Trunkline and within its existing meter and compressor stations.
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66.     We find that the benefits that the Trunkline Backhaul Project will provide to the
market outweigh any adverse effects on existing shippers, other pipelines and their
captive customers, and on landowners and surrounding communities. Consistent with the
criteria discussed in the Certificate Policy Statement and subject to the environmental
discussion below, we find that the public convenience and necessity requires approval of
Trunkline’s proposal, as conditioned in this order.




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                4.       Eminent Domain Authority

67.     Several commenters request that the Commission not grant Rover eminent domain
authority. The Commission itself, however, does not confer eminent domain powers.
Under NGA section 7, the Commission has jurisdiction to determine if the construction
and operation of proposed interstate pipeline facilities are in the public convenience and
necessity. Once the Commission makes that determination, NGA section 7(h) provides
that a certificate holder is authorized to acquire the necessary land or property to
construct the approved facilities by exercising the right of eminent domain if it cannot




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acquire the easement by an agreement with the landowner.54

6$.     G&B Landowners and STC Holdings, LLC object to the use of “quick-take”
authority in eminent domain proceedings. The NGA does not specifically provide that a
natural gas company may take possession of property pending the trial to determine just
compensation.55 However, courts have held that a natural gas company may be granted
possession pending a trial for just compensation under a preliminary injunction
procedure.56 Once the Commission has authorized pipeline construction, the
Commission does not oversee the acquisition of necessary property rights. Issues related
to the acquisition of property rights by a pipeline under the eminent domain provisions of




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section 7(h) of the NGA, including issues regarding the timing of acquisition, are matters
for the applicable state or federal court.



       “
            15 U.S.C.   § 717f(h) (2012).

                                                                                             Page 35 of 140
         East Tennessee Natural Gas Co. v. Sage, 361 f.3d $0$, $22 (4th Cir. 2004) (the
NGA, “like most statutes giving condemnation authority to government officials or
private concerns, contains no provision for quick-take or immediate possession”).
       56
         Id. at $2$ (“we hold that once a district court determines that a gas company
has the substantive right to condemn property under the NGA, the court may exercise
equitable power to grant the remedy of immediate possession through the issuance of a
preliminary injunction”).
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69.    G&B Landowners further argue that the Commission’s required in-service date
provides support to allow project sponsors to obtain a preliminary injunction in eminent
domain proceedings and obtain property rights prior to the completion of a trial to
determine just compensation. G&B Landowners request the Commission establish a
construction schedule that would allow for regular eminent domain proceedings prior to
the acquisition of land.




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70.    The Commission does not oversee the acquisition of property rights through
eminent domain proceedings, and therefore makes no judgment on the value of the
Commission’s required in-service date in a preliminary injunction proceeding. The
Commission requires all pipeline projects to be completed by a specific date because the
information supporting our public convenience and necessity determination goes stale
with the passage of time.57 Based on our assessment of circumstances relevant to the
Rover Pipeline Project, we find that two years is a reasonable period of time for Rover to
conclude any necessary marketing efforts, complete construction, and make the project




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available for service.58 As stated above, issues related to the effect of the in-service
requirement on eminent domain proceedings are matters to be addressed by the
applicable state or federal court.

               5.     Affiliated Shipper

71.    E&W Landowners request the Commission investigate and determine whether
Rover is in violation of the Commission’s policies concerning affiliate preference. E&W
Landowners provide no specific allegation of a violation, and only note that a shipper on
the Rover Pipeline Project may be affiliated with Rover. The Commission has previously
approved projects where a shipper on a proposed project is affiliated with the project




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sponsor.59 The fact that two companies are affiliated does not, in and of itself, raise
issues of affiliate preference. To ensure against such preference, as the Commission has
previously explained, affiliated marketers are potentially subject to greater regulatory

         When we act on an application, we rely on information available at that time.
However, the data that underpin our conclusions on the need for a project, its commercial
prospects, and its environmental impacts are subject to change. Thus, the validity of our
                                                                                             Page 36 of 140
conclusions and environmental mitigation conditions cannot be sustained indefinitely.
Accordingly, when we issue a certificate authorizing a project, the certificate comes with
an expiration date. Chestnut Ridge Storage LLC, 139 ¶ FERC 61,149 (2012).
      58
          The Commission has granted extensions of the in-service deadline based on the
specific circumstances associated with the request.

           Millennium Pipeline Co., L.F., 100 FERC   ¶ 61,277, at P 57 (2002).
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oversight than non-affiliates.60 However, no one, including Rover’s non-affiliated
shippers or any potential shippers on the Rover project, has raised a specific allegation
that Rover is in violation of the Commission’s regulations. In light of these
circumstances, there is no evidence to indicate that Rover is in violation of any
Commission policy or regulation regarding affiliate shippers.




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               6.     Interconnection with Consumers Energy Company

72.     On December 1, 2015, Consumers Energy Company (Consumers Energy) filed
comments requesting the Commission condition Rover’s certificate authorizations on its
building an interconnection with Consumers Energy. Consumers Energy argues that the
benefits of the project cannot be realized without the interconnection. Consumers Energy
states that despite identifying the interconnection in its application and representing to
Consumers Energy that the interconnection will be provided at no cost, Rover has been
unwilling to finalize the interconnection and operating agreement.




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73.     We will not condition Rover’s certificate authorizations on its building an
interconnection with Consumers Energy. As discussed above, the Rover pipeline will
provide benefits to all sectors of the natural gas market by providing producers access to
multiple markets throughout the United States and Canada. These benefits are not
dependent on any single interconnection. However, under the Commission’s
interconnection policy stated in Panhandle Eastern Pipe Line Company, a pipeline may
not deny a request for an interconnection, where the party requesting the interconnection
satisfies five conditions.6’ We encourage Consumers Energy and Rover to continue to
work together to provide the interconnection facilities. However, if a mutual agreement
cannot be reached, and Consumers Energy believes it has met the Panhandle conditions,




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       60jd
       61
          A party desiring access to a pipeline may obtain an interconnection if: (1) the
party seeking the interconnection will bear the cost of construction of the interconnection;
(2) the proposed interconnection will not adversely affect the pipeline’s operations; (3)

                                                                                               Page 37 of 140
the proposed interconnection and resulting transportation will not result in diminished
service to the pipeline’s existing customers; (4) the proposed interconnection will not
cause the pipeline to be in violation of any applicable environmental or safety laws or
regulations with respect to the facilities required to establish an interconnection with the
pipeline’s facilities; and (5) the proposed interconnection must not cause the pipeline to
be in violation of its right-of-way agreements or any contractual obligations with respect
to the interconnection facilities. Panhandle Eastern Pipe Line Company, 91 FERC
¶ 61,037, at 61,141 (2000).
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it may file a complaint with the Commission under Rule 206 of the of the Commission’s
Rules of Practice and Procedure.62

       B.        Blanket Certificates

74.     Rover requests a Part 284, Subpart G blanket certificate in order to provide open-
access transportation services. Under a Part 284 blanket certificate, Rover will not
require individual authorizations to provide transportation services to particular
customers. Rover filed aproforma Part 284 tariff to provide open-access transportation
services. Since a Part 284 blanket certificate is required for Rover to offer these services,
we will grant Rover a Part 284 blanket certificate, subject to the conditions imposed
herein.

75.     Rover has also applied for a Part 157, Subpart F blanket certificate. The Part 157
blanket certificate gives an interstate pipeline NGA section 7 authority to automatically,
or after prior notice, perform certain activities related to the construction, acquisition,
abandonment, and replacement and operation of pipeline facilities. However, because of
Rover’s intentional demolition of a house that was identified as eligible for listing in the
National Register of Historic Places and within the visual area of potential effects of the
project, as discussed more fully in the Environmental Analysis below,63 we will deny
Rover’s request for a Part 157, Subpart F blanket certificate.

       C.       Rates

                 1.      Rover

                         (a)     Rover’s Initial Rates Proposal

76.    Rover estimates the total cost of the proposed facilities to be $4.082 billion. Rover
developed its proposed cost of service utilizing a capital structure of 50 percent debt and
50 percent equity, with a debt cost of 6.50 percent, a return on equity of 13 percent,64 and
a depreciation rate of 2.50 percent. Rover estimates its cost of service, after IT revenue



       62
            18 C.f.R.   § 385.206 (2016).
       63
            See infra section IV.G.2.p.
       64
          We note that in prior cases the Commission has allowed a 14 percent return on
equity for greenfield pipelines based on a capital structure that contains no more than 50
percent equity. Florida Southeast Connection, 156 fERC ¶ 61,160, at P 25 (2016).
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credits, to be $137,252,804 for the Early In-Service Supply Zone,65 $271,848,623 for the
Supply Zone, $470,273,497 for the Mainline Zone, $177,458,840 for the Market-North
Zone, and $89,358,874 for the Market-South Zone.66

77.    Rover states that it designed its initial recourse rates consistent with the Straight
fixed-Variable cost classification method of rate design. Rover proposes initial
maximum and minimum recourse reservation and usage charges for firm service under
Rate Schedule FTS, interruptible service under Rate Schedule ITS, and park and loan
service under Rate Schedule GPS. Rover proposes rate zones. The Supply Zone
originates in Doddridge County, West Virginia, and terminates where the Mainline Zone
commences at the Leesville Plant in Carrol County, Ohio.67 The Mainline Zone
originates at the Leesville Plant68 and continues westward to the Defiance, Ohio delivery
point. Market Zone South originates at the Defiance, Ohio delivery point and continues
southward to Panola County, Mississippi. The Market Zone North originates at the
Defiance, Ohio delivery point and continues northward to the International Boundary
with Canada in St. Clair and Wayne Counties, Michigan. Rover states that it used design
capacity as the billing determinants for calculating the initial rates.

78.     Rover proposes an additive zone matrix design, which recovers fixed, variable,
and fuel costs on the basis of the contract transportation path. The rates are distance
sensitive, as shippers are assessed rates depending on the number of zones the contract
transportation path crosses. Intra-zone transportation will only be subject to the costs of
that zone. Rover proposes a tracking and true-up mechanism to recover fuel gas, and lost
and unaccounted for gas (LAUF). This mechanism will include a deferred account with a
biannual recalculation of the applicable percentages for fuel gas and LAUF. LAUF will
be assessed on a system-wide basis. The initial LAUF charge is 0.20 percent.

        65
           Rover proposes to offer service in its Supply Zone prior to the completion of the
facilities necessary to provide the remaining services.
        66
             Rover’s Amended Application, Exhibit P.
        67
         The Commission notes that Rover’s proposed tariff definition of the Supply
Zone does not match its proposed map of the Supply Zone or its Supply Zone rate base
work papers. The Supply Zone has several laterals which originate in locations other
than Doddridge County, West Virginia, including locations in Pennsylvania and Ohio.
Rover is directed to correct the Supply Zone definition when it files its actual tariff
records.
        68
             The Leesville Plant is a natural gas processing plant located in Carroll County,
Ohio.
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79.    With regard to park and loan service, Rate Schedule GPS, gas may be either
parked or loaned for receipt and delivery at only a single point but in any zone.69 No
physical transportation is involved. Rover proposes to use the equivalent of the Rate
Schedule ITS charges for Rate Schedule GPS service.

80.     The Commission has reviewed Rover’s Amended Application’s proposed initial
rates, cost of service, use of the Straight Fixed-Variable method of cost classification,
billing determinants, and treatment of interruptible services and interruptible rate
calculations, and finds they reasonably reflect current Commission policy.

81.     Rover’s proposedproforma rate summary tariff record includes the initial rates
for the Early In-Service Supply Zone, Supply Zone, Mainline Zone, Market-North Zone,
and Market-South Zone, including a proposed effective date for the Supply Zone,
Mainline Zone, Market-North Zone, and Market-South Zone rates. However, as the in-
service dates for the Supply Zone, Mainline Zone, Market-North Zone, and Market-South
Zone are not known, the Commission requires that Rover not include these rates in its
initial compliance filing. Rather, the Commission requires Rover to file tariff records
between 30 to 60 days prior to the in-service date of these facilities as a separate
compliance filing.

                       (b)    Three-Year Filing Requirement

82.    Consistent with Commission precedent, Rover is required to file a cost and
revenue study at the end of its first three years of actual operation to justify its existing
cost-based firm and interruptible recourse rates.70 In its filing, the projected units of
service should be no lower than those upon which Rover’s approved initial rates are
based. The filing must include a cost and revenue study in the form specified in section
154.313 of the Commission’s regulations to update cost of service data.71 Rover’s cost
and revenue study should be filed through the eTariff portal using a Type of Filing Code
580. In addition, Rover is advised to include as part of the eFiling description, a
reference to Docket No. CP15-93-001 and the cost and revenue study.72 After reviewing

       69
            Rate Schedule GPS, at Section 2.2.
       70
         Bison P;eline, LLC, 131 FERC ¶ 61,013, at P 29 (2010); Ruby Pipeline, LLc,
128 FERC ¶ 61,224, at P 57 (2009); MarkWest Pioneer, L.L.C., 125 FERC ¶ 61,165, at
P 34 (2008).

       7118 C.F.R.    § 154.3 13 (2016).
       72
            Electronic Tarifffilings, 130 FERC   ¶ 61,047, at P 17 (2010).
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the data, the Commission will determine whether to exercise its authority under NGA
section 5 to investigate whether the rates remain just and reasonable. In the alternative,
in lieu of this filing, Rover may make a NGA section 4 general rate filing to propose
alternative rates to be effective no later than three years after the in-service date for its
proposed facilities.

              2.      Panhandle and Trunkline

83.     Panhandle states that it has entered into a precedent agreement to provide Rover
with 750,000 Dth/d of firm transportation service under its open access transportation
Rate Schedule FT. Panhandle states that the transportation service will initiate at an
interconnection with Rover near Defiance, Ohio, and terminate at a point of
interconnection with Trunkline near Bourbon, Illinois. To provide this transportation
service, Panhandle proposes to construct and modify certain compressor station piping,
meter facilities, and an interconnection with Rover at eight locations along its system.
Panhandle states that these facilities will permit it to backhaul gas along the Defiance to
Bourbon segment of its system. Panhandle estimates the costs of these facilities to be
approximately $58 million. Panhandle proposes to recover the incremental cost of this
service through the use of its existing system rates. Panhandle states that Rover has
agreed to pay the maximum system rate under Rate Schedule FT. Panhandle does not
identify any non-conforming terms to the service agreement.

84.     Trunkline states that it has entered into a precedent agreement to provide Rover
with 750,000 Dth/d of firm transportation service under its open access transportation
Rate Schedule FT. Trunkline states that the transportation service will initiate at an
interconnection with Rover on Panhandle’s system near Bourbon, Illinois, for delivery to
Trunkline’s Zone 1A in Mississippi. To provide this transportation service, Trunkline
proposes to reconfigure four compressor stations and modify its point of interconnection
with Panhandle at Bourbon, Illinois, to accommodate the Rover volumes. Trunkline
states that with these facilities, it will be capable of providing bi-directional flow within
its Zones lB and 1A. Trunkline estimates the costs of these facilities to be approximately
$50.8 million. Trunkline proposes to recover the incremental cost of this service through
the use of its system rates. Trunkline states that Rover has agreed to pay the maximum
system rate under Rate Schedule FT that will provide full cost recovery. Trunkline does
not identify any non-conforming terms to the service agreement.

85.    Panhandle and Trunkline propose to use their currently effective system rates,
including fuel rates, as initial recourse rates for the proposed new capacity and both seek
a determination of rolled-in rate treatment. In support of their proposals, they
demonstrate that the projected revenues from the incremental service calculated at the
contract rate agreed to by Rover with each pipeline would significantly exceed the
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estimated cost of service for the respective projects. Specifically, Panhandle and
Trunkline each estimate that revenue will exceed the cost of service by approximately
$32 million in the first year of proposed service.73 The Commission approves the use of
Panhandle’s and Trunkline’s system rates for both firm and interruptible transportation
services as the initial recourse rates for their respective projects. We also grant
Panhandle and Trunkline a pre-determination of rolled-in rate treatment for the cost of
the respective facilities in their next NGA section 4 rate cases, barring a significant
change in circumstances.74

 86.     If either Panhandle or Trunkline enter into a negotiated rate agreement, they must
 file the agreement or tariff record describing the negotiated rate agreement associated

with their respective project in accordance with the Alternative Rate Policy Statement75
and the Commission’s negotiated rate policies.76 Consistent with Commission policy,
Panhandle and Trunkline must either file the shipper’s negotiated rate agreements or a




         for year one, Panhandle’s projected revenues of $43,526,250 exceed the
projected costs of $11,514,926, and Trunkline’s projected revenues of $43,991,625
exceed the projected costs of $11,667,892. Exhibit N, p. 9, of Panhandle’s and
Trunkline’ s Applications.

          To receive authorization for rolled-in rate treatment, a pipeline must
demonstrate that rolling in the costs associated with the construction and operation of
new facilities will not result in existing customers subsidizing the expansion. In general,
this means that a pipeline must show that the revenues to be generated by an expansion
project will exceed the costs of the project. For purposes of making a determination in a
certificate proceeding as to whether it would be appropriate to roll the costs of a project
into the pipeline’s system rates in a future section 4 proceeding, we compare the cost of
the project to the revenues generated utilizing actual contract volumes and the maximum
recourse rate (or the actual negotiated rate if the negotiated rate is lower than the recourse
rate). See Tennessee Gas Pipeline, Co., L.L.C., 144 fERC ¶ 61,219, at P 22 (2013).

       75Alternatives to Traditional Cost-of-Service Ratemakingfor Natural Gas
Pipelines; Regulation ofNegotiated Transportation Services ofNatural Gas Pipelines, 74
FERC ¶ 61,076, order granting clarification, 74 FERC ¶ 61,194 (1996).

      76Natural Gas Pipelines Negotiated Rate Policies and Practices; Modification of
Negotiated Rate Policy, 104 FERC ¶ 61,134 (2003), order on reh ‘g and clarWcation, 114
FERC ¶ 61,042, dismissing reh ‘g and denying clarfIcation, 114 F ERC ¶ 61,304 (2006).
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tariff record setting forth the essential terms of these agreements at Yeast 30 days, but not
more than 60 days, before the proposed effective date for such rates.77

       D.     Non-Conforming Contract Provisions

87.    Rover entered into precedent agreements with four categories of shippers:




                                                                                                USCA Case #18-1032
       •      Cornerstone Shippers, which agreed to acquire firm service of at least
              500,000 Dth/d for a term of at least 15 years;

       •      Foundation Shippers, which agreed to acquire     finn   service of at least
              150,000 Dth/d for a term of at least 20 years;

       •      Anchor Shippers, which agreed to acquire firm service of at least 100,000
              Dth/d for a term of at least 15 years; and




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       •      Negotiated Rate Shippers, which contracted for firm service but do not
              meet the criteria for the other types of shippers.

Each category of shipper was granted certain rate and rate-related contractual rights.

88.    Cornerstone Shippers were offered the most beneficial negotiated rates and given
the option to increase the maximum daily quantity (MDQ) up to a specified amount by a
certain date. Cornerstone Shippers were also provided a right of first refusal beyond the
primary term or any subsequent extensions. Last, Rover provided Cornerstone Shippers
Most Favored Nations status and fuel caps, as discussed below.




                                                                                                Filed: 01/29/2018
89.     Foundation Shippers, Anchor Shippers, and Negotiated Rate Shippers were
offered negotiated rates based on the shipper category, a fuel cap, and right of first
refusal. Foundation Shippers were also given the opportunity to participate in the design
and sizing of metering facilities.

90.    Therefore, as described above, the precedent agreements contain material non
conforming provisions that are intended to survive execution of the transportation
agreements. Rover states that absent these provisions it could not go forward with the
project, and thus, these project shippers cannot be viewed as similarly situated as shippers    Page 43 of 140
that contract for capacity after the in-service date. Rover also claims that none of the
provisions affect the terms or quality of service on Rover, and do not create a risk of

       “
         Pipelines are required to file any service agreement containing non-conforming
provisions and to disclose and identify any transportation term or agreement in a
precedent agreement that survives the execution of the service agreement.
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undue discrimination. Rover requests the Commission pre-approve these non
conforming provisions

91.    In particular, Rover identifies seven provisions as non-conforming: (1) fuel caps;
(2) reduction rights; (3) Most Favored Nations (MfN) rights; (4) extension rights;
(5) credit provisions; (6) maximum pressure; and (7) capacity release.78




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92.    In Columbia Gas Transmission Corp.,79 the Commission clarified that a material
deviation is any provision in a service agreement that (1) goes beyond filling in the blank
spaces with the appropriate information allowed by the tariff and (2) affects the
substantive rights of the parties.8° However, not all material deviations are
impermissible. As explained in Columbia, provisions that materially deviate from the
corresponding pro forma service agreement fall into two general categories: (1)
provisions the Commission must prohibit because they present a significant potential for
undue discrimination among shippers and (2) provisions the Commission can permit
without a substantial risk of undue discrimination.81 In other proceedings, we have also




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found that non-conforming provisions may be necessary to reflect the unique
circumstances involved with constructing new infrastructure and to provide the needed
security to ensure the viability of a project.82 Below, we apply these standards of review
to Rover’s proposed non-conforming provisions.

93.     We find that, with the exception of the fuel caps and the rate portion of the MFN
rights, the provisions identified by Rover are non-conforming terms of service that
constitute material deviations from Rover’s proposed proforma service agreements.




                                                                                               Filed: 01/29/2018
         78
          Rover provided the non-conforming language verbatim in a public document
filed with the Commission on October 14, 2015.

              97 FERC   ¶ 61,221   (2001) (Columbia).
         80                                                                                    Page 44 of 140
              Id. at 62,002. See also ANR F;peline Co., 97 FERC   ¶ 61,224, at 62,022 (2001)
(ANR).
         81
              Columbia, 97 FERC at 62,003. See also ANR, 97 FERC at 62,024.
         82
         Midcontinent Express Pipeline LLC, 124 FERC ¶ 61,089, at P 82 (2008);
Rockies Express Pipeline LLC, 116 FERC ¶ 61,272, at P 78 (2006).
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              1.     Fuel Caps

94.     Rover has negotiated fuel caps with Cornerstone, Foundation, Anchor, and
Negotiated Rate Shippers. The negotiated fuel charge establishes a cap on fuel and lost
and unaccounted for gas costs between certain defined points or zones, provided certain
minimum throughput levels are achieved. Rover states that it will calculate fuel and lost




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and unaccounted for gas percentages assuming that the full recovery is achieved from all
shippers. Rover therefore concludes that no subsidization from other shippers will occur.
The Commission finds Rover’s proposed fuel caps are not non-conforming provisions.
Rather, these provisions are negotiated rates that are subject to the Alternative Rate
Policy Statement.83 Absent changed circumstances, and with Rover’s compliance with
proper filing and reporting requirements for negotiated rate contracts, Rover’s proposed
fuel rate caps are consistent with the Alternative Rate Policy Statement.

              2.     Reduction Rights




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95.     Rover states that certain shippers have the unilateral right to reduce their MDQ if
Rover is unable to provide transportation service to the Dawn Hub by a specified
effective date. The Commission has approved non-conforming provisions that reflect the
unique circumstance involved with the construction of new infrastructure and provide the
needed security to ensure that the project gets built.84 Here, Rover states that these
provisions were necessary to ensure contractual commitments without which the project
could not go forward. In addition, we find these non-conforming provisions are
permissible because they do not present a risk of undue discrimination, do not affect the
operational conditions of providing service, and do not result in any customer receiving a




                                                                                              Filed: 01/29/2018
       83Alternatives to Traditional Cost-of-Service Ratemakingfor Natural Gas
Pipelines; Regulation ofNegotiated Transportation Services ofNatural Gas Pipelines, 74
FERC ¶ 61,076, order granting clarWcation, 74 FERC ¶ 61,194 (1996) (Alternative Rate
                                                                                              Page 45 of 140
Policy Statement). Natural Gas Pipeline Negotiated Rate Policies and Practices;
Modification ofNegotiated Rate Policy, 104 FERC ¶ 61,134 (2003), order on reh ‘g and

clarfIcation, 114 FERC   ¶ 61,042, dismissing reh ‘g and denying clarflcation, 114 FERC
¶ 61,304 (2006).
      84
         See, e.g., Tennessee Gas Pzpeline Co., 144 FERC ¶ 61,219, at PP 26-33 (2013);
Rockies Express Pipeline, LLC, 116 fERC ¶ 61,272, at PP 74-78 (2006).
Docket No. CP15-93-000, etal.                                                   -35    -




different quality of service.85 Therefore, we find the proposed reduction rights are
permissible.86

                  3.   Most Favored Nation (MFN) Rights

96.     Cornerstone Shippers have included in their precedent agreement a MFN right.




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Rover states that the MFN provision provides that if, at any time prior to the fifth
anniversary of the in-service date, Rover enters into an agreement with more favorable
conditions precedent, termination provisions, minimum pressure requirements, or with a
negotiated rate, discounted rate, or recourse rate that is lower than the negotiated rate in
the shipper’s negotiated rate agreement for any current or future receipt or delivery point
on the same transportation path and for the same or shorter term, Rover shall offer more
favorable terms and conditions to the Cornerstone Shipper, and shall offer to reduce the
shipper’s negotiated rate for service under the FTS agreement to a rate equal to the lower
rate.87 Rover also states that the MFN clause is limited to only negotiated rates.88




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97.    Two shippers have an MFN clause in their precedent agreement: Shipper A and
Shipper B.89 However, the MFN clauses for Shippers A and B are different. Both MfN
clauses include provisions related to rates, but Shipper A’s MFN clause also includes
additional provisions that go beyond rates. Specifically, Shipper A’s MFN clause
includes provisions related to conditions precedent, termination provisions, and minimum
pressure requirements.

98.     Commission policy requires that MFN clauses relate only to rates and not result in
the customer receiving a different quality of service from other shippers or adversely
affect other shippers.9° In this case, the rate provisions of Shipper A and Shipper B’s




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       85
            Id.
       86
         Rover would be responsible for any lost revenue as a result of a shipper
exercising its reduction rights.
       87
            Rover February 20, 2015 Application at 22.

                                                                                               Page 46 of 140
       88
            Rover October 14, 2015 Data Response, at n.
       89
          Rover, in its application, requested that shipper names remain confidential
pursuant to 18 C .F .R. § 385.1112 (2016). Rover substituted letters for shippers’ names in
its public documents. As noted previously, no party requested the confidential
information pursuant to a protective order.
       90   Northern Natural Gas Co., 110 FERC   ¶ 61,321, at P 29 (2005).
Docket No. CP15-93-000, etal.                                                     -36-

MFN clause satisfies this requirement, and the Commission finds that this clause is a
negotiated rate provision, not a non-conforming provision. As discussed above with
regard to negotiated rate contracts, Rover is required to comply with the reporting and
filing requirements for negotiated rate contracts should this provision remain in the final
agreement.




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 99.    With respect to the non-rate provisions in Shipper A’s MFN clause, we find that
 the provisions  concerning conditions precedent and termination provisions of the MFN
 clause are not permissible.9’ With these provisions, Rover is negotiating terms and
 conditions of service with some shippers that are different from those offered to other
 shippers. In Order No. 637, the Commission determined to not allow pipelines to
 negotiate terms and conditions of service that it does not offer to all shippers.92
 Therefore, if Rover wishes to offer specific terms and conditions not found in its pro
forma service agreement or tariff to any shipper, it must propose a tariff provision that is
 generally applicable and offer such rights to all shippers on a nondiscriminatory basis.93




                                                                                               Document #1715763
 Rover’s tariff includes the right to negotiate a mutually agreeable minimum pressure, but
 does not include provisions concerning conditions precedent and termination provisions.
Accordingly, Rover must either remove the conditions precedent and termination
provisions from the contract with Shipper A or modify its tariff to provide mutually
 agreeable conditions precedent and termination provisions.

                4.    Extension Rights

100. Rover proposes to permit Shippers A and C a unilateral right to extend the terms
of their firm transportation agreements for some portion or all of the MDQ. This right
allows up to four consecutive five-year extensions if the shipper requests an extension at




                                                                                               Filed: 01/29/2018
least six months prior to the expiration of the primary or extension term. Shipper B also
is provided with a similar extension right, but it must do so for the full MDQ.


       91
            Texas Eastern Transmission, LP, 107 FERC    ¶ 61,099,   at P 13 (2004).
       92
          Regulation ofShort-Term Natural Gas Transportation Services and Regulation
                                                                                               Page 47 of 140
ofInterstate Natural Gas Transportation Services, Order No. 637, FERC Stats. & Regs.
¶ 31,091, clarifled, Order No. 637-A, FERC Stats. & Regs. ¶ 31,099, reh ‘g denied, Order
No. 637-B, 92 FERC ¶ 61,062 (2000), aff’d in part and remanded in part sub nom.
Interstate Natural Gas Ass ‘n ofAmerica v. FERC, 285 f.3d 18 (D.C. Cir. 2002), order on
remand, 101 fERC ¶ 61,127 (2002), order on reh ‘g, 106 FERC ¶ 61,088 (2004), aff’d
sub nom. American Gas Ass ‘n v. fERC, 428 F.3d 255 (D.C. Cir. 2005).
       ‘
            Northern Natural Gas Company, 110 FERC     ¶ 61,321, at P 29 (2005).
Docket No. CPY5-93-000, etaL                                                     -37-

101. The Commission has approved non-conforming provisions that reflect the unique
circumstance involved with the construction of new infrastructure and provide the needed
security to ensure that the project gets built.94 Here, Rover states that these provisions
were necessary to ensure contractual commitments without which the project could not
go forward. We find these non-conforming provisions are permissible because they do
not present a risk of undue discrimination, do not affect the operational conditions of




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providing service, and do not result in any customer receiving a different quality of
service.95

 102. Rover also identified as possibly non-conforming, the six-month notice timeline.
Below, the Commission finds that GT&C section 11.2 was unclear as to the minimum
ROfR notification dates. As the proposed tariff is unclear as to the ROFR notification
tirnelines, it is not possible to evaluate the negotiated six-month notice period. When
Rover clarifies its tariff ROFR tirneline, it should also clarify whether or not the notice
timeline in the non-conforming contracts are non-conforming.




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                  5.   Credit Provisions

103. Rover negotiated separate credit and creditworthiness provisions with its anchor
shippers. Rover states that absent these provisions it could not go forward with the
project. The Commission recognizes the need for greater collateral for initial shippers on
new construction projects and accepts these non-conforming provisions as not unduly
discriminatory.96

                  6.   Maximum Pressure




                                                                                              Filed: 01/29/2018
104. Neither Rover’s GT&C nor pro forma service agreements provide for a maximum
pressure. Rover identified seven contracts with non-conforming provisions that state that
shippers will not deliver gas to Rover in excess of stated maximum pressures.

105. The Commission has found that while pipelines may provide incentives to induce
sponsoring shippers to commit to a project, we have held that these incentives may not


         See, e.g., Tennessee Gas Pzpeline Co., 144 FERC ¶ 61,219, at PP 26-33 (2013);        Page 48 of 140
Rockies Express Pipeline, LLC, 116 FERC ¶ 61,272, at PP 74-78 (2006).

            Id.
       96
         Policy Statement on Creditworthiness for Interstate Natural Gas Pipelines and
Order Withdrawing Rulemaking Proceeding, FERC Stats. & Regs. ¶ 31,191, at P 7
(2005) (Creditworthiness Policy Statement).
Docket No. CP15-93-000, etal.                                                    -38-

include minimum or maximum pressure provisions.97 Minimum or maximum pressures
relate to the operational conditions of transportation service on the pipeline and affect the
quality of service to be received by the shipper. Thus, such provisions may not be
negotiated absent a provision in the tariff authorizing such negotiation.98 Accordingly,
Rover must either remove this provision from the contracts or modify its tariff to provide
for maximum or mutually agreeable pressures.




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                7.     Capacity Release

106. Rover states that its contract with Shipper G provides that, subject to Rover’s
tariff, Rover will release to Shipper G for periods of one month or less up to 200,000
Dth/d of Rover’s capacity on Panhandle and Trunkline for deliveries to Shipper G at the
maximum rates provided in Panhandle’s and Trunkline’s tariff.99 The provision further
provides that the capacity release will be subject to the limitations of section 284.8(h)(2)
of the Commission’s regulations.’°°




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107. In response to Commission staffs October 25, 2016 data request, Rover clarified
that any capacity release by Rover to Shipper G will be governed by, as applicable,
Panhandle’s or Trunkline’s capacity release tariff provisions.101 The Commission finds
the proposed non-conforming capacity release provision is consistent with the
Commission’s regulations as it does not impose any restrictions upon Shipper G’s


       ‘
        Tennessee Gas Pipeline Co., 136 FERC       ¶ 61,125, at P 29 (2011); Bison Fipeline
LLC, 131 FERC ¶ 61,013, at P 59 (2010).




                                                                                                Filed: 01/29/2018
       98
         Dominion Transmission, Inc., 113 FERC       ¶ 61,152   (2005); Columbia, 97 FERC
at 62,004.

         Texas Eastern Transmission Coip., 93 FERC ¶ 61,273 (2000), reh ‘g denied,
94 FERC ¶ 61,139, at 61,530 (2001) (Texas Eastern) (stating that when a pipeline that
acquired off-system capacity releases the capacity, it is similarly situated to other
shippers on the off-system pipeline and subject to the same rules).
       100                                                                                      Page 49 of 140
            Section 284.8 allows firm shippers to release capacity to replacement shippers
outside of the Commission’s bidding requirements if the capacity release is for 31 days or
fewer. 18 C.F.R. § 284.8(h)(1)(iv) (2016). However, the shipper may not roll over,
extend, or in any way continue the capacity release to the same shipper until 28 days after
the first release period has ended. 18 C.F.R. § 284.8(h)(2) (2016).
       101
             Rover October 25, 2016 Data Response.
Docket No. CP15-93-000, etal.                                                     -39-

replacement shipper rights, including the rights to request secondary points, to segment
capacity, or to re-release capacity.

10$. Rover is required to file its non-conforming service agreements associated with
this project with the Commission at least 30 days, but not more than 60 days, before the
proposed effective date for such agreements. A Commission ruling on non-conforming




                                                                                               USCA Case #18-1032
provisions in a certificate proceeding does not waive any future review of such provisions
when the executed copy of the non-conforming agreements and a tariff record identifying
the agreements as non-conforming are filed with the Commission consistent with section
154.112 of the Commission’s regulations.102

       E.       Rover Tariff Issues

109. Rover requests blanket transportation certificate authority pursuant to Part 284,
Subpart G of the Commission’s regulations. As part of its request, it filed aproforma
open-access tariff for the Commission’s approval. Rover’s proposed tariff generally




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conforms to the Commission’s requirements. We will approve the tariff, as conditioned
below.

                1.     Map

 110. Rover’s proposal to reflect maps of its system and zones in its pro forma tariff
does not comply with the Commission’s regulations. Rover is required to revise its tariff
to provide uniform resource locators (URLs) designating a location on the Internet for
publication of its system maps and zone maps.103




                                                                                               Filed: 01/29/2018
                2.     General Terms and Conditions (GT&C) Section 1         —   Definitions

111. GT&C section 1 provides “[a] Pool Point may not be located at a point where Gas
physically enters or leaves Rover’s system.” Order No. 636 created pools for the purpose
of facilitating the creation of market centers.104 Section 284.1(c) of the Commission’s
regulations provides that a market center may occur at “the intersection of different


       102
                                                                                               Page 50 of 140
         See, e.g., Tennessee Gas F;peline Co., L.L.C., 150 FERC       ¶ 61,160, at P 44 and
n.33 (2015).
      103
             See 1$ C.F.R.   §   154.106 (2016).
      104
        Order No. 636, FERC Stats. & Regs.         ¶ 30,939, at 3 0,427-29, Order No. 636-B,
61 FERC at 62,012.
Docket No. CP15-93-000, etal.                                                     -40-

pipelines.”05 Rover’s proposed definition would inhibit the creation of market centers at
points of interconnection with other pipelines. The Commission rejects the prohibition
on the creation of poois at points of interconnection with pipelines as contrary to the
Commission’s regulations.

 112. Rover’s pooling point definition further provides that a pooling point “shall mean




                                                                                             USCA Case #18-1032
a point on Rover’s system located near the Leesville Plant in the Supply Zone...    The
                                                                                     .“

Commission’s regulations require open access pipelines to provide at least one pool.106
Rover has satisfied this regulatory requirement. However, pooling points may occur
elsewhere on Rover’s system. Rover’s pooling point definition should not restrict the
location of pools (other than its own) to just one point. The Commission requires Rover
to modify the definition of a pooling point consistent with this discussion.

                3.       GT&C Section 3       —   Nomination and Scheduling of Services

113. GT&C section 3. 1(A)(1) requires shippers, as part of their nomination data, to




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identify the last seller of the gas to be received. This data element appears to be in
addition to the nomination data elements required by Version 3.0 of Business Practices
Standard 1.3.27 of the North American Energy Standards Board (NAESB) Wholesale
Gas Quadrant (WGQ). Rover does not explain why this data is required for the purpose
of performing its scheduling obligations. The Commission rejects this requirement.

 114. The Commission requires open access pipeline tariffs to include NAESB WGQ
Business Practices Standard 1.3.2(i) through (v) verbatim.107 Rover did not do so, and
proposes at GT&C section 3.1(B) and (C) to omit certain Standard 1.3.2 material required
for each nomination cycle and to insert additional language applicable to specific




                                                                                             Filed: 01/29/2018
nomination cycles. Rover is required to include NAESB WGQ Standard 1.3.2 verbatim
in its tariff.108 further, the Commission rejects all of Rover’s proposed nomination cycle

       105
             18 C.F.R.   § 284.1(c) (2016).
       106
           18 C.f.R. § 2$4.12(a)(1)(i) (2016) (incorporating by reference NAESB WGQ
Standard 1.3.17: “If requested by a shipper or supplier on a transportation service

                                                                                             Page 51 of 140
provider’s system, the transportation service provider should offer at least one pool.”).
       107
         See Standards for Business Practices ofInterstate Natural Gas Pipelines,
Order No. 587-S, fERC Stats. & Regs. ¶ 31,179 (2005).

         Order No. 809 revised the gas transportation nomination tirneline provided for
by NAESB WGQ Standard 1.3.2, effective April 1, 2016. Coordination ofthe
Scheduling Processes ofInterstate Natural Gas Pzpelines and Public Utilities, Order No.
209, FERC Stats. & Regs. ¶ 31,368, order on reh ‘g, 152 FERC ¶ 61,212 (2015).
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specific provisions not provided for by the NAESB Standards. If Rover wishes to
propose changes to the NAESB Standards (which are applicable industry-wide), the
instant proceeding is not the appropriate forum.

115. GT&C section 3.2(E) provides that scheduled interruptible volumes may not be
bumped in the Intraday 2 cycle. In Order No. 809, the Commission revised NAESB




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WGQ Standard 1.32 by creating the new Intraday 3 cycle as the last nomination cycle
and upheld its policy that scheduled interruptible volumes may not be bumped in the last
nomination cycle (“No-Bump Rule”).’°9 Therefore, when Rover files actual tariff
records, it must incorporate revisions to conform to the latest NAESB standards adopted
by the Commission at the time of filing, including the creation of the Intraday 3 cycle and
allowing scheduled interruptible volumes to be bumped in the Intraday 2 cycle.

 116. GT&C section 3.2 appears to have multiple misplaced sections. There are two
GT&C sections 3.2(B) and (C). The first three paragraphs of GT&C section 3.2(C)(4)




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appear to address interruptible service scheduling priorities at constrained receipt and
delivery points. The fourth paragraph provides how to accommodate multiple priorities
under a single transportation contract and establish usage billing rates. This provision
appears to be applicable to both firm and interruptible services, as multiple scheduling
priorities are possible for both firm and interruptible contracts under Rover’s proposed
tariff. In its compliance filing, Rover is required to either remove or clarify the
applicability of this paragraph. Finally, the fifth and sixth paragraphs of GT&C section
3 .2(C)(4) appear to address segmentation rights. Segmentation rights are related to firm
services and are not related to constrained interruptible receipt and delivery points. The
right of firm shippers to segment their firm capacity is a regulatory right provided for by
the Commission’s regulations.”° Rover is required to create a separate section in its




                                                                                               Filed: 01/29/2018
GT&C that provides for segmentation.

117. The second GT&C section 3.2(B) provides that a daily scheduling penalty will
apply “[hf the actual Quantities of Gas received or delivered vary from nominated
Quantities on any particular Gas Day.”11’ The purpose of a scheduling penalty is to
penalize a shipper for flowing a different amount than was scheduled rather than
nominated as proposed by Rover. As written, this proposal may penalize shippers for
                                                                                               Page 52 of 140
delivering or receiving gas consistent with their scheduled quantities, but where Rover

       109
        Order No. 809, FERC Stats. & Regs.         ¶ 31,368 at PP 103, 106, order on reh ‘g,
152 FERC ¶ 61,212 at PP 27-29.
       ‘°
             12 C.F.R.   § 284.7(d) and 284.22 1(g) and (h) (2016).
             Emphasis added.
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did not schedule volumes exactly as shippers nominated. Moreover, scheduling penalties
are usually applied either at the receipt or delivery point, not both. The purpose of a
scheduling penalty is not to penalize taking a different amount from the pipeline at the
delivery point than the shipper put on the pipeline at the receipt point. In this context,
imposing a penalty for scheduling variances at both the receipt and delivery point would
penalize the same misconduct twice.112 Therefore, Rover is required to revise its tariff so




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that its scheduling penalty complies with Commission policy.

11$. finally, Rover states in its application that authorized overrun service will be
scheduled as interruptible transportation as provided in GT&C section 3.2.” The
Commission agrees with this scheduling priority for authorized overrun services.
However, GT&C section 3.2 does not mention authorized overrun service. Rover is
required to revise its tariff to include authorized overrun service as an interruptible
service for the purpose of scheduling.




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                4.     GT&C Section 4    —   Curtailment and Interruption


119.   Rover proposes at GT&C section 4:

                Rover shall have the right to curtail, interrupt or discontinue
                Transportation service in whole or in part, on all or a portion
                of its system at any time for reasons of force majeure or
                when, in Rovers sole judgment, capacity, supply, or
                operating conditions so require or it is desirable or necessary
                to make mod’fications, repairs or operating changes to its




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                system.114

120. Curtailment can only occur for transportation service that has been scheduled.
Scheduling is a daily event.115 Rover proposes that, in its sole judgement, it may curtail
scheduled transportation when “capacity, supply, or operating conditions so require or it

       112
             Williams Gas Pipelines Central, Inc., 100 fERC   ¶ 61,232, at P 22 (2002).
       113
                                                                                              Page 53 of 140
             Rover february 20, 2015 Application at 28.
       114
             Emphasis added.
       115
          CenterPoint Energy Gas Transmission Co., LLC, 144 fERC ¶ 61,195, at P 75
(2013); Ryckman Creek Res., LLC, 136 fERC ¶ 61,061, at P 68 (2011); Portland Natural
Gas Transmission Sys., 76 fERC ¶ 61,123, at 61,663 (1996).
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is desirable or necessary to make modifications, repairs or operating changes to its
system.” This language appears to permit Rover to curtail scheduled volumes for normal
operating requirements such as modifications, repairs, and operating changes that should
be known to Rover prior to scheduling a gas day. Such limitations of available capacity
should be known before the gas day, and Rover should not schedule transportation for
which it does not have the ability to provide. Rover is required to remove the




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emphasized phrase from its proposed GT&C section 4.

121. Rover’s July 1, 2015 Data Response revised GT&C section 4.1, Curtailment, to
provide that Rover would curtail in the reverse order in which the volumes were
scheduled. Pursuant to Rover’s proposed GT&C sections 3.2(A) through 3.2(C), firm
capacity is scheduled in the following order: (i) primary points; (ii) primary receipt
points to secondary delivery point; (iii) within the path secondary receipt points to
primary delivery points on the basis of Maximum Rate paid; and (iv) secondary receipt
points outside the path on the basis of Maximum Rate Paid.




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122. The Commission rejects Rover’s proposal as it relates to scheduled firm services.
The Commission policy is that once finn service is scheduled, all scheduled firm
transactions, whether primary or secondary, must be curtailed on apro rata basis.116
Rover’s proposed tariff would curtail certain types of scheduled firm transportation
before other scheduled firm transportation, which is inconsistent with Commission
policy. Rover is required, in its tariff compliance filing, to revise GT&C section 4.1 to
provide that scheduled firm volumes may only be curtailed on apro rata basis.

                5.    GT&C Section 5    —   Transportation Balancing




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123. In GT&C section 5.3, Rover proposes to implement an Unauthorized Overrun
Penalty for deliveries in excess of the shipper’s contract MDQ and scheduled quantity.
Rover proposes a penalty of twice the highest daily published price of gas at certain
markets, plus overrun charges, for each dekatherm taken in excess of the greater of the
MDQ or scheduled quantity. Rover proposes to assess an unauthorized overrun penalty
in all circumstances, regardless of the operational condition of the pipeline.

124.   Section 2$4.12(b)(2)(v) of the Commission’s regulations provides:
                                                                                            Page 54 of 140
               Penalties. A pipeline may include in its tariff transportation
               penalties only to the extent necessary to prevent the
               impairment of reliable service.    A pipeline with penalty
                                                 ...




       116
            Order No. 636-B, 61 FERC at 62,013; Algonquin Gas Transmission Co., 104
FERC   ¶   61,118, at P34(2003).
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                provisions in its tariff must provide to shippers, on a timely
                basis, as much information as possible about the imbalance
                and overrun status of each shipper and the imbalance of the
                pipeline’s system. 117

125. For unauthorized overrun penalties, pipelines can only charge a nominal penalty




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not to exceed twice their IT rates during non-critical times, or they can charge a
substantial penalty, but waive the penalty if the unauthorized overrun does not cause
operational problems.118 The nominal charge is permitted to provide shippers an
incentive to nominate overrun volumes.119

126. Rover’s proposed unauthorized overrun penalty is greater than the nominal penalty
of twice its IT rates and applies during non-critical times. Therefore, Rover must revise
its tariff to either provide for a nominal penalty during non-critical periods or state that
the penalty must be waived if the unauthorized overrun does not cause operational
problems. Rover must also revise its tariff to ensure that all services are subject to the




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same charge.

                6.       GT&C Section 6- OFOs

127. GT&C section 6.1 provides that Rover may issue an OFO “to ensure compliance
with the provisions of this tariff...  .“ In Rover’s July 1, 2015 Data Response to a
question as to whether the quoted language was limited to conditions which threaten
system integrity, safety, or reliability, Rover stated that it would issue an OFO consistent
with NAESB WGQ Definition 1.2.6. NAESB WGQ Definition 1.2.6 does not provide
for the issuance of OFOs for the purpose of enforcing the terms of the tariff. OFOs are




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limited to situations which “threaten or could threaten the safe operations or system
integrity, of the transportation service provider’s system or to maintain operations
required to provide efficient and reliable firm service.”20 The proposed tariff language is
not consistent with NAESB WGQ Definition 1.2.6 or Rover’s response. The
Commission requires Rover to remove this language from section 6.1.



       117
                                                                                               Page 55 of 140
             18 C.F.R.   § 284.12(b)(2)(v) (2016).
       118
             Canyon Creek Compression Co., 96 FERC     ¶ 61,006, at 61,021 (2001).
       119
             See Natural Gas Pipeline Co. ofAmerica, 101 FERC    ¶ 61,200, at P 86 (2002).
       ‘20NAESB, WGQ Definition 1.2.6, v.3.0.
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128. GT&C section 6.2 provides that Rover will impose daily OFO “scheduling
charges” (a penalty) on Points of Receipt upon twenty-four hours’ notice of a need for
corrective action “in accordance with Section 5.1(E) herein.” Section 5.1(E) is missing
from the tariff. The Commission requires Rover to remove the reference to section
5.1(E) or provide the appropriate language.




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 129. Additionally, GT&C section 6.3(B) states “[wJhen an Of 0 is issued, daily
scheduling penalties applicable to the affected Shipper or OBA Party and affected
Quantities will be replaced by the penalty provisions of the OFO.” We find that this
language may lead to penalizing the same infraction twice, both as an Of 0 penalty and
as an Unauthorized Overrun penalty. Commission policy prohibits multiple penalties for
the same infraction.’21 Therefore, Rover is directed to revise its tariff to be consistent
with Commission policy.’22

              7.      GT&C Section 7     —   Operational Balancing Agreements (OBAs)




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130. At GT&C section 7.3, Rover states that it shall have no obligation to negotiate and
execute an OBA with any party. Rover is required to revise its tariff to conform with the
NAESB WGQ Standard 2.3.29, which provides “[alt a minimum, Transportation Service
Providers should enter into Operational Balancing Agreements at all pipeline-to-pipeline
(interstate and intrastate) interconnects.”

              8.      GT&C Section 8    —    Miscellaneous Purchases and Sales

131. GT&C section 8 provides that Rover may engage in buying or selling gas
necessary to maintain line pack, system pressure, or other functions related to




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transportation pursuant to its blanket sales certificate.123



       121
          Crossroads Fipeline Co., 71 FERC ¶ 61,076, at 61,265 (1995); East Tennessee
Gas Co., 98 FERC ¶ 61,060, at 61,157 (2002); Crossroads Fzpeline Co., 100 FERC
¶ 61,025, at P 51(2002); Columbia Gas Transmission Corp., 100 fERC ¶ 61,084, at
                                                                                             Page 56 of 140
P 201 (2002).
       122
           E.g., MoGas Fipeline LLC, 151 fERC ¶ 61,201, at PP 22-23 (2015) (approving
tariff language that permitted the imposition of the greater penalty).
       123
          All open access pipelines with 18 C.f.R. Part 284, subpart B, blanket
transportation certificate authority are granted blanket certificates for unbundled sales
services. 18 C.f.R. § 284.284(a) (2016).
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 132. The Commission requires pipelines to include in their tariffs specific provisions
addressing operational sales and purchases of gas.’24 These provisions include: (a) the
specific circumstances in which the pipeline will perform an operational purchase or sale;
(b) a statement that operational purchases or sales have a lower transportation priority
than firm transportation and there will be no transportation service associated with its
operational purchases or sales of gas; (c) a statement that operational sales service is




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unbundled from transportation service; (d) posting and bidding procedures for the sale of
gas for operational purposes; and (e) a commitment to filing an annual report of sales and
purchases and revenues derived from the sale of gas.’25 The report must indicate the
source of gas, date of the purchase or sale volumes, purchase or sale price, costs and
revenues from purchase or sale, and the disposition of the costs and revenues. Section 2
conforms with the first required provision. Rover is required to file revised tariff
language that incorporates the remaining provisions required for operational sales and
purchases of gas.




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                9.       GT&C Section 9.1(B)        —   Capacity Eligible for Release

133. Section 9(3) provides that Rover will sell unsubscribed firm capacity either by
posting on “the Website or by using any other marketing services at its disposal.”
Section 224.13(d) of the Commission’s regulations requires pipelines to post available
capacity on its public website.126 Rover may market unsubscribed capacity using other
marketing services. However, posting available capacity on its publically available
website is a requirement; it is not optional. Rover is required to revise its compliance
tariff accordingly.

                10.      GT&C Section 11           Contract Extension and Reduction




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                                               —




134. GT&C section 11.2 provides the procedures for shippers to initiate the regulatory
Right of First Refusal (ROFR) process.127 Section 11.2(A) provides the “Shipper must
give timely notice that it wants to continue service beyond the term of the Long-Term
Agreement.” Further, with that notice, section 11.2(B) provides that the “Shipper shall

        124ANR Fipeline Co., 110 fERC ¶ 61,069, at P 57 (2005) (ANR); Colorado
Interstate Gas Co., 107 FERC ¶ 61,312, at P 15 (2004), order on reh ‘g, 111 FERC ¶             Page 57 of 140
61,216 (2005); and Dominion Transmission, Inc., 106 FERC ¶ 61,029, at P 17 (2004).

       ‘25ANR, 110 FERC atP 57.
       126
             18 C.F.R.   § 284.13(d) (2016).
      127
             18 C.F.R.   § 284.221(d)(2)(ii) (2016).
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be permitted to designate a Quantity of Gas less than its existing [maximum daily
quantity (MDQ)J which Shipper wishes to retain under the Right of First Refusal     ...



These provisions imply that the shipper must decide to extend its long-term service
agreement and the quantity it wishes to retain with its first notice to Rover. However,
under the Commission’s required ROFR process, shippers with long-term contracts are
not required to make a decision as to whether to commit to a contract extension and at
what quantities until further in the ROFR process. The Commission’s long-standing
policy is that such election is not required until the service provider has notified the
existing shipper of the best bid(s) received from third parties for all or a portion of the
expiring capacity.128 The Commission requires Rover to clarify in section 11.2(A) that a
shipper must give timely notice that it wishes to initiate the ROFR process, and move
section 11.2(B) to section 11.2(E), which describes shippers’ rights and obligations after
Rover has posted the capacity and received an acceptable bid. Moving section 11.2(B) to
section 11.2(E) will also correct the fact that section 11.2(E) is deficient, as it does not
provide for the ROFR right of contract reduction.

 135. Section 11.2(A) provides that, for contracts two years or longer, notice must be
provided “not later than” 12 months prior to contract expiration, and for contracts less
than two years, “not later than” six months. The phrase “not later than” implies that
Rover and a shipper may negotiate a deadline by which the shipper must provide the
ROFR notice under section 11.2(A). The Commission has permitted the negotiation of
the ROfR notice deadline.’29 However, the Commission also requires a stated outer limit
on how far in advance of the end of the contract the ROFR process may begin. This
permits the ROFR process to take place relatively close to the time the contract
terminates so that existing shippers, as well as prospective shippers, are provided a timely
opportunity to assess the value of capacity.13° It is unclear whether the phrase “not later
than” is intended to authorize negotiation of the ROFR notice deadline, which must be
implemented on a not unduly discriminatory basis, and whether it is intended to function
as a “not earlier than” outer limit on the ROFR prior notice.131 Rover is required to

       128
         See Sierrita Gas Ptpeline, LLC, 147 FERC ¶ 61,192, at P 78 (2014);
Transcontinental Gas Pipe Line Corp., 101 FERC ¶ 61,267, at P 26 (2002).
       129
             Gi4f South Fipeline Company, LF, 115 FERC    ¶ 61,301, at PP 11-13 (2006).
       ‘301d
       131
          E.g., Panhandle Eastern Pipe Line Company, LP, FERC NGA Gas Tariff,
Fourth Revised Vol. No. 1, GT&C Section 7, Contracting for Service Rights, 1.0.0
provides that, for contracts two years or longer, notice must be provided “[nJot earlier
than 18 Months and not later than 12 Months.”
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clarify and support its proposed notice date consistent with this discussion and
Commission precedent.

136. Finally, Rover proposes sections 11.2 and 11.4, but no section 11.3. In its
compliance filing, Rover is required to correct the section numbers.

                11.      GT&C Section 13— Quality

137. On July 1, 2015, Rover filed corrections to its minimum heating value in response
to a data request issued by the Commission on June 11, 2015. The correction sets the
minimum heating value of the gas Rover will accept at 967 Btu per cubic foot. This
value is approved.

                12.      GT&C Section 15      —   Electronic Communication System

138. Section 15 identifies specific information Rover will provide on its website and
states that this information will be accessible by “any party.” Rover’s list of specific
information that it will make available on its website is incomplete. For example, section
284.13 of the Commission’s regulations requires the posting on a pipeline’s website of
information on firm and interruptible transportation, capacity release, index of customers,
and notice of bypass.132 None of these items are mentioned on Rover’s specific list of
information it will post. The Commission requires Rover to revise section 15 to ensure
the information that is posted on its website is consistent with Commission regulations.133

139. The Commission distinguishes between information that must be available to the
public on a natural gas pipeline’s website without a password, 134 and communications
between the pipeline and its shippers for which a password is permitted. At section 1 of
Rate Schedules FTS, ITS, and GPS, “party” is defined as Shipper. GT&C section 15.2
redefines “party” as “User.” A User must have a password to access Rover’s website.
Users are also Shippers. Thus, Rover’s proposed tariff does not provide the public access
to documents the Commission requires to be accessible to the public without a password.
The Commission requires Rover to revise section 15 to provide that the public has access


       132
             18 C.F.R.   §   284.13 (2016).
       133
             See Corpus ChristiLiquefaction, LLC, 149 FERC       ¶ 61,283, at P   85 (2014).
       134
          18 C.F.R. § 2$4.12(b)(3)(ii)(A) (2016) (“[DJocurnents must be accessible to the
public over the public Internet..., without imposition of a password or other access
requirement.”).
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to documents without the use of a password as identified in section 224.13, Commission
order, or by agreement.

               13.    GT&C Section 21     —   Fuel Reimbursement Adlustment

140. Section 21.1(B) provides that the fuel reimbursement adjustment will be




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performed each April 1 and November 1 through the following:

               Rover shall file with the Commission and post, as defined by
               Section 154.2(d) of the Commission’s Regulations, a schedule
               of effective fuel Reimbursement percentages. With respect
               to the adjustment described herein, such filing shall be in lieu
               of any other rate change filing required by the Commission
               Regulations under the Natural Gas Act.135

The language quoted above could be interpreted as permitting Rover to change its fuel




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retention charge only through simply posting and filing such changes, rather than making
a limited NGA section 4 filing that proposes and supports such changes with the
opportunity for shippers to review and challenge the basis for the changes. fuel retention
charges are rates under the NGA. Posting of changed rates cannot be in lieu of any other
rate change filing required by NGA section 4136 Section 21.5 provides that:

               In the event this Section 21 shall be changed in any manner
               that adversely affects Rover’s recovery of the full amount of
               fuel amounts reflected in its deferred fuel accounts, each
               Shipper that received transportation service during the period




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            Emphasis added.
      136
        See ANR Fipeline Co., 139 FERC ¶J 61,232, at P 157 (2012), wherein, rejecting
IC Offshore LLC’s proposed posting-only fuel rate proposal, we stated:

               If we were to approve this [fuel tracker] mechanism as
                                                                                             Page 60 of 140
               proposed, shippers will not have an opportunity to review or
               challenge the first or any subsequent Transporter’s Use
               retention percentages or the monthly estimates or calculation
               of subsequent retention percentages. There would be no
               opportunity for shippers to request suspension or the
               protection of a subject to refund condition. The burden of
               proof would be shifted away from IC Offshore and any NGA
               section 5 finding could only apply prospectively.
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                affected by such fuel adjustment deferred account shall be
                responsible to Rover for its proportionate share of the amount
                of Rover’s unrecovered deferred fuel amounts for the
                transportation services which they were provided.137

This emphasized provision is overly broad because it provides for recovery of costs




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regardless of the manner in which changes to section 21 may occur. There may be
situations where deferred accounts may not be recovered. This provision also
compromises shippers’ right to protest meaningfully and undermines the effect of a
Commission finding to suspend and order refunds. We will reject this proposed tariff
language.’38

                14.      GT&C Section 22— Flow Through of Cash Out Revenues and
                         Penalties

141. The Commission’s regulations require that pipelines may not retain net penalty




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revenues.’39 In accord with this requirement, Rover, at GT&C sections 22.2(A) and (C),
identifies the penalty revenues subject to the penalty revenue flow through mechanism.
Section 22.2(C) specifically provides that it will reduce penalty revenues for out-of-
pocket costs related to those penalties. Among other penalties subject to this provision,
Rover identifies the penalty revenue collected as the result of Unauthorized Gas
Deliveries, but not the penalty for revenue that results from Unauthorized Receipts. For
Unauthorized Receipts, GT&C section 12.1 provides that Rover will purchase the gas at
50 percent of the spot market price.

 142. Under Rover’s proposal, Unauthorized Receipts purchased at 50 percent of spot




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market prices and subsequently sold by Rover at market prices will result in a net penalty
revenue. Rover does not propose to flow through this revenue. This proposal is contrary
to the Commission’s regulations. The Commission requires Rover to credit all net
penalty revenues, including those derived from Unauthorized Receipts.

                15.      GT&C Section 23    —   Business Practice Standards

143. Part 284 of the Commission’s regulations incorporates certain NAESB standards
on nominations, allocations, balancing, measurement, invoicing, capacity release, and        Page 61 of 140

       137
             Emphasis added.
       138
             Corpus Christi Liquefaction, LLC, 149 FERC     ¶ 61,283, at P 45   (2014).
       ‘
             12 C.F.R.   § 284.12(b)(2)(v) (2016).
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electronic communications. Rover states that its pro forma tariff complies generally with
the NAESB standards, Version 2.0, the latest version of the standards adopted by the
Commission at the time Rover filed its certificate application. When Rover files actual
tariff records, it must incorporate revisions to conform to the latest NAESB standards
adopted by the Commission at the time of filing)40 The compliance tariff record must

also contain all the information required for this record.141 The filing must include a
cross-reference showing each NAESB standard number, the tariff section containing the
standard, and whether Rover incorporated the standard through tariff text or by reference.
Rover should file any additional information it believes relevant to its cOmpliance with
the NAESB Standards.

                16.   GT&C Section 25         —    Reservation Charge Credit

144. Partial reservation charge credits due to force majeure may be provided pursuant
to: (1) the No-Profit method under which the pipeline gives credits equal to its return on
equity and income taxes starting on Day 1; (2) the Safe Harbor method under which the
pipeline provides full credits after a short grace period when no credit is due (i.e., 10 days
or less);142 or (3) some other method that achieves equitable sharing “in the same ball
park” as the first two methods.143 Rover chose the Safe Harbor method at GT&C section
25.2.

145. Section 25.2(B) provides that the quantities of gas eligible for a reservation charge
credit will be based on the average of scheduled quantities. However, the Commission




       140
         We note that Version 3.0 of the Business Practices Standards of the North
American Energy Standards Board Wholesale Gas Quadrant was adopted on October 15,
2015.
       141
          For example, Order No. 587-V added the requirement that the tariff record, for
those standards not incorporated by reference, must identify the tariff provision that does
comply with the standard. Standards for Business Practices ofInterstate Natural Gas
Pipelines, Order No. 587-V, FERC Stats. & Regs. 31,332, at P 36 (2012).
       142
        See Natural Gas Supply Ass ‘n, 135 FERC            ¶ 61,055, at P   17, order on reh’g,
 137 FERC61,051 (2011).
       143
             Id., 135 FERC   ¶ 61,055   at P 18.
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requires pipelines to provide reservation credits based on the amount of primary firm
service the shipper nominated that the pipeline was unable to schedule or deliver.144
Moreover, Rover does not provide how many days will be averaged or how the days to
be averaged will be chosen. Rover is required to identify the number and selection
method of days to be averaged.145




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                17.   GT&C Section 27— Off-system Capacity

146.   Rover’s proposed section 27 provides as follows:

               Rover has entered into agreements with other pipeline
               systems and may, from time to time, enter into additional
               agreements with other interstate or intrastate pipeline
               companies for off-system capacity. When Rover acquires
               off-system capacity, Rover will provide service to Shippers
               with the off-system capacity pursuant to Rover’s open access




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               tariff and subject to Rover’s Commission approved rates, as
               such tariff and rates may change from time to time. For
               purposes of transactions entered into subject to this Section
               27, the “shipper must have title” requirement is waived.

147. We find that this language is consistent with the Commission’s Texas Eastern
policy concerning the acquisition of upstream capacity by interstate pipelines.’46 Under
that policy a pipeline can acquire off-system capacity without preapproval if it makes a
tariff filing that includes a statement that it will only transport gas for others on the
acquired capacity pursuant to its open access tariff and subject to its Commission-




                                                                                               Filed: 01/29/2018
approved rates. Upon the pipeline’s filing an appropriate tariff provision, we will grant a

       144
        SG Res. Mississippi, L.L.C., 153 FERC ¶ 61,364, at P 13 (2015); CenterPoint
Energy Gas Transmission Co., 144 FERC ¶ 61,195, at P 46 (2013).
       145
           The Commission has found the use of the seven-day historical average on a day
when the pipeline provided notice of the outage is acceptable. Enable Gas Transmission,
                                                                                               Page 63 of 140
LLC, 152 FERC ¶ 61,052, at P 126 (2015). However, in Iroquois Gas Transmission Sys.,
L.F., 145 FERC ¶ 61,233, at P 52 (2013), the Commission recognized there is no perfect
method for estimating the amount of service a shipper would have used during the
outage. Therefore, the Commission has accepted proposals to use various periods of
historical usage on which to base the credits.
       146
            Texas Eastern Transmission Corp., 93 FERC    ¶ 61,273   (2000), reh ‘g denied 94
FERC   ¶   61,139 (2001) (Texas Eastern).
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generic waiver of the “shipper must hold title” policy for any such transportation that the
pipeline subsequently provides.

14$. However, section 27 concludes by stating that “[iJn addition, no segmentation will
be permitted with any off-system capacity.”147 The Commission rejects this proposed
tariff language as contrary to Texas Eastern and the Commission’s regulations. Texas




                                                                                               USCA Case #18-1032
Eastern allows pipelines to hold capacity on other pipelines without prior approval so
long as they comply with open access regulations.148 The Commission’s open access
regulations require pipelines to permit firm shippers to segment their capacity,149 request
secondary point rights,’50 and release capacity.’51 Proposed section 27 improperly
attempts to limit the right to segment capacity guaranteed to all open access shippers.

149. Segmentation cannot occur without access to secondary points. Rover’s proposed
Rate Schedule fTS section 2.2 provides that “Secondary Points of Delivery on off-
system capacity are not available unless otherwise agreed to by Shipper and Rover.”




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Rover does not explain or support why off-system capacity is specifically addressed,
whereas requests for secondary points on its own facilities do not have a similar section
in the proposed tariff. Rover, under its firm transportation contracts with Panhandle,
Trunkline, and Vector, has full access to all secondary points on those systems. Rover
cannot offer less flexibility on the capacity it holds on those systems to its own shippers.
As the Commission has discussed above, all of Rover’s capacity is subject to the

       147
             Emphasis added.

             Texas Eastern, 93 FERC at 61,$$6.




                                                                                               Filed: 01/29/2018
       “
             18 C.F.R.   § 284.7(d) (2016).   The regulation provides:

                Segmentation.        An interstate pipeline that offers
                transportation service under subpart B or G of this part must
                permit a shipper to make use of the firm capacity for which it
                has contracted by segmenting that capacity into separate parts
                for its own use or for the purpose of releasing that capacity to
                replacement shippers to the extent such segmentation is                        Page 64 of 140
         V      operationally feasible.

(emphasis added).
       150
             1$ C.F.R.   § 284.221(g) (2016).
       ‘‘
             1$ C.f.R.   § 284.8 (2016).
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Commission’s open access requirements. Rover’s proposed language at Rate Schedule
FTS section 2.2 implies that it would treat requests for secondary points on off-system
capacity differently than requests for secondary points on its own facilities. If Rover did
evaluate requests for off-system secondary point rights differently from requests for
secondary point rights on its own facilities, it would be in violation of the Commission’s
regulations and its open access transportation certificate authority. The Commission




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rejects this language at Rate Schedule fTS section 2.2 as unnecessary and potentially
contrary to the Commission’s regulations.

         F.       Accounting

 150. Rover, a newly created company, proposes to calculate its Allowance for Funds
Used During Construction (AFUDC) based on its proposed debt and equity capital
structure. This approach is consistent with the accounting guidance we have given other
newly created companies.152 Consistent with Commission precedent, Rover is required




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to capitalize the actual costs of borrowed and other funds used for construction purposes,
not to exceed the amount of debt and equity AFUDC that would be capitalized based on
the overall rate of return approved. This will ensure that the amounts included in
AFUDC are properly capitalized in this project, consistent with the Commission’s
requirements for newly created companies approved in other cases.

         G.       Environmental Analysis

                   1.    Pre-fihing and Application Review

151. Commission staff began its environmental review of the Rover Pipeline Project




                                                                                               Filed: 01/29/2018
following staffs approval on June 27, 2014, for Rover to use the pre-filing process in
Docket No. PF14-14-000. As part of the pre-filing review, staff issued a Notice ofIntent
to Prepare an Environmental Impact Statement for the Planned Rover Pipeline Project,
Requestfor Comments on Environmental Issues, and Notice ofPublic Scoping Meetings
(NOl) on November 4, 2014. This notice was published in the Federal Register on
November 18, 20 14,153 and sent to more than 15,600 interested entities on the staffs
environmental mailing list, including federal, state, and local agencies; elected officials;
environmental and public interest groups; Native American tribes; potentially affected
landowners as defined in the Commission’s regulations (i.e., landowners crossed or             Page 65 of 140
adjacent to pipeline facilities or within 0.5 mile of a compressor station); local libraries

         152
            See, e.g., ETC Tiger, 131 FERC at P 80; Creole Trail LNG, L.P., 115 FERC
J   61,331, at P43 (2006), PortArthurLNG, L.P., 115 FERC ¶ 61,344, at P 57 (2006).
        153
               79 Fed. Reg. 68,676 (Nov. 18, 2014).
Docket No. CP15-93-000, etal.                                                  -   55   -




and newspapers; and other stakeholders who had indicated an interest in the project. The
notice briefly described the project and the environmental impact statement (EI$)
process, provided a preliminary list of issues identified by Commission staff, invited
written comments on the environmental issues that should be addressed in the draft EIS,
listed the date and location often public scoping meetings’54 to be held in the area of the
project, and established a closing date for receipt of comments of December 18, 2014.




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152. A total of 113 speakers provided comments on the Rover Pipeline Project at the
scoping meetings. In addition, more than 2,000 written scoping comments regarding the
project were filed by federal, state, and local agencies; elected officials; environmental
and public interest groups; potentially affected landowners; and other interested
stakeholders.’55

153. As stated above, on February 20, 2015, Rover filed its application with the
Commission under section 7(c) of the NGA seeking authorization to construct and
operate the project’s facilities. On February 23, 2015, Panhandle and Trunkline filed




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applications with the Commission, related to Rover’s application, to conduct upgrades
and modifications at existing facilities.

 154. On May 1, 2015, the Commission issued a supplemental Notice ofIntent to
Prepare an Environmental Impact Statementfor the Proposed Panhandle Backhaul
Project and Trunkline Backhaul Project, and Requestfor Comments on Environmental
Issues. The notice was published in the Federal Register on May 7, 2015,156 and mailed
to more than 400 interested parties, including federal, state, and local government
representatives and agencies; elected officials; environmental and public interest groups;
Native American Tribes affected property owners as defined in the Commission’s




                                                                                              Filed: 01/29/2018
regulations (i.e., landowners within 0.5 mile of the compressor transfer station); local
libraries and newspapers; and other stakeholders who had indicated an interest in the
projects. Commission staff evaluated the potential environmental impacts of the
proposed projects in the draft and final EIS, in accordance with the requirements of the
National Environmental Policy Act of 1969 (NEPA).157 The U.S. Environmental

       154
          Between November 17, 2014, and December 11, 2014, scoping meetings were

                                                                                              Page 66 of 140
held in Cadiz, Defiance, Navarre, New Washington, and Toronto, Ohio; Paden City,
West Virginia; and Adrian, Flint, Chelsea, and Richmond, Michigan.

       ‘
          Table 1.3-1 of the final ElS provides a detailed and comprehensive list of issues
raised during scoping.
       156
             80 Fed. Reg. 26,236 (May 7, 2015).

       ‘57   42 U.S.C. §4321 etseq. (2012).
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Protection Agency (EPA), the U.S. Army Corps of Engineers, the U.S. Fish and Wildlife
Service (FWS), the West Virginia Department of Environmental Protection, and the Ohio
Environmental Protection Agency participated as cooperating agencies in the preparation
of the EIS.

155. Commission staff issued the draft EIS for the Rover Pipeline, Panhandle




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Backhaul, and Trunkline Backhaul Projects on February 19, 2016, which addressed the
issues raised during the scoping period. Notice of the draft ETS was published in the
federal Register on February 26, 2016, establishing a 45-day public comment period.158
The draft EIS was mailed to the environmental mailing list including additional interested
entities that were added since issuance of the November 4, 2014 NOT. Seven public
meetings were held between March 21 and April 7, 2016, to receive comments on the
draft EIS.’59 A total of 121 speakers provided comments at the meetings, and
stakeholders submitted a total of212 written comments in response to the draft ElS.




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156. The David Daniel/Jeanne Littlefield Daniel Trust (Daniel Trust) requested that the
Commission delay issuance of the final ElS and extend the comment period to allow
stakeholders sufficient time to review and comment on all information, including filings
submitted after the close of the comment period. Ms. Sherry Miller also asserted that the
comment period for the draft ElS was too short and did not allow stakeholders enough
time to review the document.’6° Commission staff continued to accept and review
comments for an additional two months after the close of the comment period on the draft
EIS. All filings remained (and remain) available on the docket for public review and
inspection. For these reasons, an extended comment period was not needed.

157. On July 29, 2016, Commission staff issued the final EIS for the Rover Pipeline,




                                                                                              Filed: 01/29/2018
Panhandle Backhaul, and Trunkline Backhaul Projects, and a public notice of the
availability of the final EIS was published in the Federal Register)61 The final EIS

             $1 Fed. Reg. 9839 (Feb. 26, 2016).

        The draft EIS comment meetings were held in Cadiz, Fayette, Hamler, Navarre,
and New Washington Ohio; Paden City, West Virginia; and Chelsea, Michigan.
       160
           Ms. Miller also asserted that the Conotton Valley High School was not notified     Page 67 of 140
of the compressor station that will be built within a mile of the school. However, the
school is on the Commission’s distribution list (listed as Conotton Valley) in appendix A
of the final EIS, indicating that the school is on the project mailing list. Therefore, the
school would have received all notices and mailings from the Commission, including a
copy of the draft and final EIS.
       161
             81 Fed. Reg. 51,433 (Aug. 4, 2016).
Docket No. CP15-93-000, etal.                                                   -57-

addressed comments received on the draft EIS, and evaluated the projects’ impacts on.
geology; soils; water resources; wetlands; vegetation; wildlife and fisheries; special status
species; land use, recreation, and visual resources; socioeconornics; cultural resources; air
quality and noise; reliability and safety; and cumulative impacts.’62 It also evaluated a
range of alternatives to the proposed actions. The final EIS was mailed to the same
parties as the draft EIS, as well as to additional parties that commented on the draft




                                                                                                USCA Case #18-1032
EIS.’63

158. The final EIS concluded that if the projects are constructed and operated in
accordance with applicable laws and regulations, the projects will result in some adverse
and significant environmental impacts; specifically, on forested lands.’64 However, the
impacts described in the EIS can be reduced to acceptable levels with the implementation
of Rover’s, Panhandle’s, and Trunkline’s proposed mitigation; as well as staffs
recommendations (now adopted as conditions in Appendix B attached to this order).
Major issues of concern addressed in the final EIS include: construction in areas of karst




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geology; waterbodies and wetlands; interior forests and migratory birds; federally listed
bat species; agricultural land; homeowners’ insurance and property values; air and noise;
cumulative impacts; and alternatives.

 159. We received several comments on the draft EIS filed well after the official close of
the comment period, while the final EIS was in final production and beyond the time
when it could be reasonably updated. Additionally, numerous comments were filed on
the final EIS. The major environmental issues raised during this proceeding and
comments from stakeholders not addressed in the final EIS are discussed below.

                2.     Major Environmental Issues and Comments on the Final EIS




                                                                                                Filed: 01/29/2018
                       a.     Selection of Third-Party Contractor

160. Cardno ENTRIX served as the Commission’s third-party contractor during the
preparation of the EI$ for the Rover Pipeline Project. G&B Landowners request



                                                                                                Page 68 of 140
      162
          Appendix T of the final EI$ includes responses to comments on the draft EIS
through June 10, demonstrating that Commission staff continued to accept and consider
comments received for nearly two months after the April 11, 2016 close of the official
draft EIS comment period.
      163
            The distribution list is provided in Appendix A of the final EIS.
      164
            Final EIS at ES-12.
Docket No. CP15-93-000, etal.                                                    -58-

documents and communications between Rover and Cardno Limited’65 or its corporate
affiliates to determine if there was a conflict of interest between Rover and the
Commission’s third-party contractor. G&B Landowners state that, as Cardno ENTRIX
had previously been investigated for a conflict of interest related to the EIS for the
Keystone XL Pipeline, they should be investigated as associated with the Rover Pipeline
Project. In regards to the EIS for the Keystone XL Pipeline, we note that the U.S.




                                                                                                USCA Case #18-1032
Department of State Office of the Inspector General found in February 2012 that there
was no evidence that the applicant improperly influenced the Department of State’s
selection of Cardno ENTRIX as the third-party contractor and that there were no
contractual or financial relationships between Cardno ENTRIX and the applicant that
would result in a conflict of interest or that would impair the ability of Cardno ENTRIX
to be objective in performing the work assigned.’66

161. The Commission uses a standard process for assessing and selecting third-party
contractors, including a review for potential conflicts of interest. Prior to our staffs




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selection of Cardno ENTRIX, the Commission’s Division of General and Administrative
Law completed a comprehensive conflict of interest investigation and found no
organizational conflict. Commission staff makes the selection of the third-party
contractor based upon the experience and credentials of the contractor personnel; the
applicant does not make this selection. Third-party contractors work under the sole
direction and control of Commission staff, not the applicant. Ultimately, Commission
staff is responsible for both the work of any contractor assisting staff and for the analysis
contained in NEPA documents published by the Commission.

                       b.    Alternatives and Route Variations




                                                                                                Filed: 01/29/2018
 162. During scoping, numerous commenters expressed concern with the Rover Pipeline
Project’s route and stressed the need for additional analysis of alternatives. The final EIS
evaluates a range of alternatives for the Rover Pipeline Project, including the No-Action
Alternative, system alternatives, collocation with existing or other proposed pipeline
systems, route alternatives, and minor route variations. The final EIS evaluates these
alternatives to the proposed Rover Pipeline Project to determine whether they are
technically and economically feasible and environmentally preferable.
                                                                                                Page 69 of 140

       165
             Cardno ENTRIX is a subsidiary of Cardno Limited.

       ‘66U5 DEPARTMENT Of STATE AND THE BRoADcAsTING BoARD Of GOVERNORS,
OFFICE OF INSPECTOR GENERAL, AUD-SI-12-28, SPECIAL REVIEW OF THE KEYSTONE XL
PIPELINE PERMIT PROCESS (Feb. 2012).
Docket No. CP15-93-000, et cii.                                               -   59   -




 163. Section 3.4.1 of the final EIS identifies major route alternatives which were
evaluated for those project segments where Commission staff received comments from
the public, identified potential collocation benefits, or where Rover’s originally
considered route appeared to have certain environmental advantages over the route Rover
eventually proposed in its formal application or supplements. This evaluation included
the Berne Supply Lateral, Sherwood Supply Lateral, Mainlines A and B, and the Market




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Segment alternatives.167 In the final EIS, Commission staff recommended that Rover
adopt the 3-mile-long Market Segment Alternative 2 to collocate with the International
Transmission Company (TIC) corridor. The Market Segment Alternative 2 was initially
proposed by Rover in its application; however, Rover proposed a revised route in
June 2015. In response to the final EIS’s recommendation, on September 9, 2016, Rover
filed additional information regarding the Market Segment Alternative 2, citing specific
issues that would make this recommended route infeasible. Rover’s primary objections
to the Market Segment Alternative 2 route were that it would require crossing the TIC
corridor at an angle of 13 degrees, which is less than the ITC’s required 45 degree angle




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for crossings of its corridor, and that the Market Segment Alternative 2 route would
require crossing an area that contains contaminated soils. We find that the new
information submitted by Rover demonstrates that the Market Segment Alternative 2
variation, while originally presented by Rover as a feasible alternative, has a number of
constraints that persuade us not to adopt it, given the acceptability of the currently
proposed route. Therefore, we will not certificate construction of the Market Segment
Alternative 2 as part of this project.

 164. Minor route variations are much smaller in scale than the major route alternatives
referenced above, and involve minor shifts in the pipeline alignment to avoid a site-




                                                                                            Filed: 01/29/2018
specific resource issue or concern. Rover assessed numerous minor route variations over
the course of project development. Prior to the draft EIS, Rover had adopted 59
variations into its proposed route for various reasons, including landowner requests,
avoidance of sensitive resources, or engineering considerations.

165. The draft EIS identified 13 minor route variations for further evaluation.168 Rover
has indicated it had reached easement agreements with three of the landowners, and thus
the underlying landowner concerns are presumed to have been resolved. Rover also
                                                                                            Page 70 of 140
indicated that concerns of four other landowners were addressed through reroutes or
adjustments to the project’s workspace. With respect to the remaining six route
variations, Rover has indicated that reroutes were not feasible and easement negotiations
were still ongoing; thus, they were examined further. The final EIS presented

       167 Final EIS   § 3.4.1.
       168
             Draft ETS at 3-38.
Docket No. CP15-93-000, etal.                                                    -60-

Commission staffs independent assessment of these six variations and concludes that the
route variations would not offer a significant environmental advantage for four of the
variations, but would offer an advantage for the other two and recommended to the
Commission that Rover should adopt staffs minor route variation.’69 Rover has since
made a filing adopting the remaining two route variations into the proposed route and we
find that the variations address the landowners concerns.




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 166. Between issuance of the draft EIS and final EIS, Rover adopted 69 additional
minor route variations. In addition, the final EIS examined 29 new minor route variations
requested by various stakeholders)7° In the final EIS, Commission staff recommended
that Rover adopt additional minor route variations or mitigation measures for 15 parcels
where landowner concerns remain.171 In September 2016 (after issuance of the final
EIS), Rover filed supplemental information on its project, including 43 newly-adopted
route variations as well as updates on landowner negotiations.172 Some of these partly
addressed the minor route variations and mitigation measures recommended by




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Commission staff in the final EIS and others were adopted as part of Rover’s ongoing
project development. Commission staff reviewed the requested route variations and
concluded that they were generally acceptable; however, Rover is still required to comply
with Environmental Condition 5 in Appendix B to this order for the variations. Although
the route variations and mitigation measures are generally acceptable, we discuss below
ongoing issues that require further resolution.

 167. Environmental Recommendation 15 of the final ElS required, among other route
variations and modifications, a workspace modification for the residence at milepost 22.7
on the Seneca Lateral. Rover has amended the workspace and the workspace is now 51.3
feet from the residence. Although Rover states that it has updated the residential plan for




                                                                                                 Filed: 01/29/2018
this parcel, it did not provide the plan in its supplemental filing and thus, we are unable to
confirm and verify the workspace modification. Therefore, Environmental Condition 13
requires Rover to adopt a workspace modification at milepost 22.7 on the Seneca
Lateral)73


       169
             Final EIS at 3-38.
       170
                                                                                                 Page 71 of 140
             Final EIS at 3-45.
       171
             Final EIS at 3-46.
       172
         One of the proposed route variations would result in impacts on a new
landowner that was not previously crossed by the Rover Pipeline Project.
       173
             Environmental Condition 15 is also updated to remove the reference to six

                                                                                (continued...)
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16$. Environmental Recommendation 16 in the final EIS recommends a route variation
across property owned by the Daniel Trust at milepost 65.0 on the Market Segment. In
its September 2016 filing, Rover states that it has adopted staffs recommended variation
for this parcel. However, the Daniel Trust asserts that the variation proposed by Rover
does not adhere to the Commission staffs recommended variation. Given that Rover has
not provided any justification for its deviation from the staff recommended route,




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Environmental Condition 14 in Appendix B to this order specifically requires Rover to
adopt Commission staffs recommended route for this parcel.

 169. For the parcel at milepost 13.5 on the Majorsville Lateral, Rover stated that it was
unable to adopt Commission staffs recommended route variation given the severe
(21 to 24 percent) side slopes. The length of the recommended route variation is about
0.25 miles. Commission staff has reviewed various other projects that are in areas of
steep side slopes. There are several examples of other pipeline companies constructing or
proposing to construct in areas of severe slide slopes including the Kern River Apex




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Expansion, which constructed its project in areas with steep side slopes of over
15 percent, the Ruby Pipeline Project, which constructed its project in areas of side slope
between 15 and 40 percent, the Northwest Parachute Project, which was constructed in
areas with steep side slopes much greater than 15 percent, the Constitution Pipelinc
Proj ect, which would construct its project in areas with steep side slopes of 15 percent to
greater than 30 percent, and the Mountain Valley Pipeline Project, which is proposing to
construct in several areas of side slope greater than 30 percent. Therefore, we continue to
require that Rover adopt the recommended route variation.

 170. After issuance of the draft EIS, Rover identified a planned commercial
development at milepost $7.0 of the Market Segment. As part of the final ElS, staff




                                                                                               Filed: 01/29/2018
recommended that Rover consult with the landowner and provide the Commission with
documentation of its consultation and evidence of how the planned commercial
development would be impacted. Since the submittal of the final EIS, Rover has reduced
the workspace and adjusted the centerline within the parcel at the request of the
landowner. With the proposed route changes, Rover has purchased the easement.
Because the landowner has, on his own accord, reached an agreement with Rover for an
easement, we believe that his concerns have been effectively mitigated. Therefore,. we
                                                                                               Page 72 of 140
are no longer requiring any further coordination regarding this parcel and are not
adopting Environmental Recommendation 35 from the final EIS. However, Rover is still
required to comply with Environmental Condition 5 for the agreed-to variation.



parcels in Environmental Recommendation 15 where Rover has subsequently purchased
an easement.
Docket No. CP15-93-000, etal.                                                  -62-

171. Rover’s March 2016 proposed route crossed a wetland mitigation area owned by
the CONSOL Mining Company (CONSOL) and restored for impacts associated with
CONSOL’s prior development activities. In the final EIS, Commission staff
recommended that Rover adopt an alternate route around the area or provide
documentation from federal and state agencies that the proposed crossing would be
compatible with any permit conditions associated with CONSOL’s existing wetland




                                                                                              USCA Case #18-1032
mitigation area.174 In September 2016, Rover filed a route variation that would avoid the
wetland mitigation area. The variation was developed in coordination with CONSOL
and would avoid impacts on the wetland mitigation area and associated streams. We
have reviewed the proposed route variation and find it acceptable. Therefore,
Environmental Recommendation 24 from the final ElS had been removed; however,
Rover is still required to comply with Environmental Condition 5 for this variation.

 172. Mr. Terrance Lahr objects to the proposed route variation on his property.
Mr. Lahr is concerned that even with the adoption of staffs recommended route




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variation, his driveway, which represents the only access to the western portion of his
property, will be on top of Rover’s permanent easement. Mr. Lahr claims that if the
permanent right-of-way becomes his defacto driveway, he could lose unfettered access
to a majority of his parcel. He also asserts that county ordinances do not allow two-party
shared driveways and that this could result in deed restrictions rendering it impossible to
sell the property or obtain future bank financing. Mr. Lahr, in his October 5, 2016 filing,
suggested a solution that involves moving the right-of-way about 20 feet to the south and
re-routing his driveway slightly to the north. According to Mr. Lahr’ s aerial photo and
schematic, this appears to be a workable solution that would not affect other
landowners. Because the possibility of impairing Mr. Lahr’s ability to access the western




                                                                                              Filed: 01/29/2018
portion of his property exists, we believe that a re-route is warranted. Therefore, we have
added Environmental Condition 45, which requires Rover to develop, in coordination
with Mr. Lahr, a site-specific plan that allows Mr. Lahr to access his property without use
of Rover’s permanent easement.

 173. The Daniel Trust generally objects to Rover’s selection process of adopting
variations based on landowner requests and believes that Rover inconsistently applies the
rationale that it would not adopt a variation if it merely transferred impacts from one
                                                                                              Page 73 of 140
landowner to another, stating that Rover had done just that in several cases without
acknowledging the specific rationale behind the revision. The final EIS includes a
thorough evaluation of requested variations and alternatives, including an evaluation of
variations for the Daniel Trust’s parcel discussed above, and identifies route variations
recommended by Commission staff. Any route variation proposed by Rover must


       174 Final EIS at 3-49.
Docket No. CP15-93-000, etal.                                                    -63-

demonstrate that, on balance, it offers a beneficial resolution of landowner concerns or
environmental issues when compared to a route that would no longer become part of the
project. We note that in some instances, route variations were proposed by Rover for
which the reason for the change was unclear. In these instances, staff requested further
justification either in information requests or in the draft EIS, and evaluated this
information prior to making any conclusions on project routing.




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 174. The Daniel Trust also objected to Rover’s response to staffs June 7, 2016 data
request, requesting that Rover assess alternatives for all aboveground facilities, in
particular mainline valve MLV-05, for which Rover had not yet reached landowner
agreements. The Daniel Trust stated that Rover again inconsistently applied its approach
to relocating facilities with respect to considering alternatives that may affect additional
landowners. The final EIS indicated that Rover had not reached agreements for all
aboveground facilities such as mainline valves and meter stations.175 Although Rover’s
response indicated that certain alternatives could not be analyzed or were impractical,
Commission staff reviewed the proposed locations of aboveground facilities, including




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the location of mainline valve MLV-05, and determined that the locations were
acceptable. Therefore, the final EIS did not recommend alternative sites, despite the
landowner’s objections.176 In reaching this conclusion it is important to note that the
footprint of a mainline valve is much less in comparison to other aboveground facilities
such as a compressor station, and will have fewer operational trips, visits, and work
activities, lessening the impact of its operation. Further, mainline valves would be
situated within the permanent, operational pipeline right-of-way.

                        c.      Karst Geolo%y




                                                                                                Filed: 01/29/2018
175. Potential impacts resulting from construction and operation of the Rover Pipeline
Project on karst features, including groundwater impacts, were identified during both the
scoping and draft EIS comment periods. Karst features, such as sinkholes, caves, and
caverns, can form as a result of the long-term action of groundwater on soluble carbonate
rocks. The Rover Pipeline Project crosses karst terrain in Ohio along Mainlines A and B.

176. Rover developed a Karst Mitigation Plan to mitigate potential impacts and
hazards from karst features. During construction in areas of karst terrain, Rover will use
best management practices including, but not limited to: preventing stormwater runoff           Page 74 of 140
from the construction area into karst features (i.e., open voids, cave entrances, etc.) using
special controls; monitoring all sediment and erosion control measures; adhering to

       175
             Final EIS at 4-17 1.
       176
             Final EIS Table 3.4.3-3.
Docket No. CP15-93-000, etal.                                                -64-

Rover’s Spill Prevention and Response Procedures; monitoring existing and any
previously unidentified wells and springs within karst areas; and monitoring well yield
and water quality for all wells within 150 feet of construction workspace. To ensure that
impacts associated with construction in karst areas are minimized, Environmental
Condition 15 in Appendix B to this order requires Rover to hire professional geologists to
monitor construction in those areas identified in its January 2016 Field Reconnaissance of




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Karst Prone Areas Report.177 We find that implementation of these measures will
adequately protect karst features and related resources such as groundwater.178

                        d.        Waterbodies and Surface Water Resources

177. The Rover Pipeline Project will cross a total of $64 surface waterbodies and 140
drainage features. Rover has proposed to cross 45 waterbodies using the horizontal
directional drilling (HDD) method, including all eight major waterbodies. Additionally,
Rover has proposed dry-ditch crossing methods that avoid in-stream construction impacts
at 30 waterbodies. The remaining waterbodies and drainage features would be crossed




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using a traditional (wet) open-cut crossing method. No waterbodies would be impacted
by the Panhandle or Trunkline projects.

178. EPA filed several comments related to water resources. First, EPA requests that
all hydrostatic test water be sampled and tested before discharge into upland areas to
ensure that pre-cleaning sufficiently removed all petroleum products from the pipeline.
Next, EPA recommends the construction of rain gardens at each compressor station as
mitigation for the increase in impervious surfaces and runoff. EPA also recommends the
use of water table observation wells to forecast the need for dewatering practices,
particularly in areas of a high water table. Last, EPA recommends that the Commission




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require that Rover contact the water suppliers in the areas where the Rover Pipeline
Project crosses Welihead Protection Areas or crosses streams upstream of potable water
supply surface water intakes.



       177
          In EPA’s September 2, 2016 comments, EPA concurred with Commission
                                                                                             Page 75 of 140
staffs recommendations requiring Rover to hire a professional geologist to monitor
specified areas during construction and adopt the mitigation measures in its Geohazard
Evaluation Report. However, EPA did note that our discussion in the final EIS of the
Kaul Clay site was incorrect because it incorrectly states that the site is located in
Pennsylvania. We acknowledge the error, and note that the site is in Toronto, Jefferson
County, Ohio.
      178
             Final ElS at ES-4.
Docket No. CP15-93-000, etal.                                                  -65-

179. We disagree with EPA’s request that hydrostatic test water be sampled and tested.
Prior to hydrostatic testing, the pipelines would be unused and would not contain
petroleum products. The purpose of pre-cleaning prior to hydrostatic testing is to remove
any debris that may have entered the pipe during welding and construction. The process
of pre-cleaning and hydrostatic testing would not introduce petroleum products into the
water. Additionally, Rover has stated that it will not use any chemicals during the testing




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process. Therefore, testing of the water is not necessary.

 180. We also disagree with EPA’s recommendation to require rain gardens at each
compressor station. As stated in section 4.8.1.3 of the final EIS, Rover would be required
to develop stormwater management plans for each of its aboveground facilities.’79 These
plans will be required to meet all applicable federal and state requirements. The use of
rain gardens, or other similar mitigation measures, would be developed as part of the
stormwater management plans. Therefore, given that the applicant is required to meet all
necessary permit requirements regarding stormwater management, it is not necessary for




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the Commission to dictate which mitigation measures that Rover would need to use to
meet those requirements.

181. Regarding the use of water table observation wells, the final EIS explains that
Rover will be required to follow the requirements in its Construction Mitigation Plans
regarding dewatering, including the discharge of trench water into stable, vegetated,
upland areas or through a filter bag or siltation barrjer.’8° We disagree that the use of
water table observation wells would increase the potential effectiveness of dewatering
practices as it would be a superfluous measure. Based on staff experience of inspecting
projects under construction, we note that dewatering activities are routine and occur in
many locations along a construction right-of-way. In preparation, crews generally have




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ample supplies and equipment on-hand to conduct dewatering safely and in compliance
with our standard environmental requirements. Trench dewatering frequently occurs in
common and predictable locations during pipeline construction such as near waterbodies
and wetlands and topographical concavities after localized rainfall events. Water table
observation wells would provide Rover’s construction contractor additional information
regarding localized depths of surrounding water tables. However, we do not believe
having this information available would significantly improve the effectiveness of the
                                                                                              Page 76 of 140
dewatering activities. Furthermore, drilling, operating, and maintaining water monitoring
wells would require additional use of construction workspace potentially impacting
additional resources.


      179
            Final EIS at 4-166.
      180
            Final EIS at 2-28.
Docket No. CP15-93-000, etal.                                                   -66-

182. With respect to EPA’s recommendation that Rover contact water suppliers,
Environmental Condition 17 requires that Rover consult with appropriate resource
agencies for all public water supplies within 150 feet of the project.

 183. Additionally, Ms. Sherry Miller expressed concerns about construction through
the Huff Run Watershed in Tuscarawas and Carroll Counties, Ohio, given that funding




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had been provided to the area over several years for restoration of the watershed from the
impacts of acid mine drainage. As listed in Appendix L of the final EIS, Huff Run will
be crossed using the open cut method.18’ As discussed in the final ElS and in Rover’s
Wetland and Waterbody Construction and Mitigation Procedures, appropriate mitigation
measures would be used during construction through all waterbodies.’82 Therefore, there
would be no significant impacts on Huff Run due to construction or operation of the
Rover Pipeline Project.

184. We find that use of the HDD crossing method to cross designated waterbodies and
implementation of the mitigation measures outlined in Rover’s Construction Mitigation




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Plans and other project-specific plans will avoid or adequately minimize impacts on
surface water resources to the extent practicable.

                        e.        Wetlands

185. Construction of the Rover Pipeline Project will impact a total of 160.0 acres of
wetlands, including 33.4 acres of forested wetlands, 97.4 acres of emergent wetlands, and
29.3 acres of scrub-shrub wetlands.’83 The wetland impacts associated with temporary
workspaces will total 88.5 acres, and following construction these areas will eventually
return to pre-construction conditions, although as indicated in the final ElS, this may take




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many years (areas that were composed of open lands or emergent wetlands would revert
over a shorter period).’84 For the operation of the pipeline, Rover will permanently
maintain 14.2 acres of the 33.4 acres of previously forested wetlands in a scrub-shrub or
herbaceous state. Rover has avoided wetland impacts at 18 locations by using the HDD
construction method. Rover’s Defiance Compressor Station will impact 0.3 acre of
emergent wetland during construction, with 0.2 acre permanently impacted during


       ‘
                                                                                               Page 77 of 140
             Final ElS, Appendix L.
       182
             Final EIS at ES-4.
       183
             Final ElS at 4-96.
       184
             Final EIS at 4-97.
Docket No. CP15-93-000, etal.                                                  -67-

operation. No wetlands will be impacted by construction of the Panhandle and Trunkline
proj ects.

186. In order to further minimize impacts on wetlands from construction of the Rover
Pipeline Project, Environmental Condition 21 prohibits Rover from clearing trees
between the entry and exit locations of HDD crossings except for minor brush clearing




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less than 3 feet wide using hand tools. This condition, along with a reduced right-of-way
width in wetlands, as described below, will minimize the overall acreage of wetlands that
will be impacted during construction.

 187. In the final EIS, Commission staff recommended that Rover limit its construction
right-of-way width in all 548 wetlands crossed by the project to 75 feet for single
pipelines and 95 feet for dual pipelines.’85 In Rover’s September 2016 filing, it agreed to
limit its construction right-of-way width as recommended by staff for all wetlands, with
one exception. Rover has requested that the originally proposed 100-foot-wide
construction right-of-way through the wetland at milepost 86.7 on the Market Segment be




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maintained in order to accommodate spoil storage. Rover stated that given the size of the
wetland and the site-specific constraints, the additional right-of-way would be needed to
safely construct the pipeline through the wetland. We have reviewed the information
provided by Rover and conclude that the additional right-of-way width is acceptable for
this wetland and therefore, Environmental Condition 22 in Appendix B to this order
requires Rover limit its construction right-of-way width in 547 of the 548 wetlands
crossed by the project to 75 feet for single pipelines and 95 feet for dual pipelines. While
the Commission’s Wetland and Waterbody Construction and Mitigation Procedures
specify that extra workspace should not be within 50 feet of wetlands, Rover has
requested additional temporary workspace within 50 feet at three other wetlands. We




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have reviewed the requested additional temporary workspace locations and approve the
requests finding Rover has provided sufficient justification demonstrating that the siting
of these workspaces is needed in order to facilitate safe construction.

 188. EPA states that due to a lack of a wetland mitigation plan and the number of
wetlands that will be crossed, the Rover Pipeline Project should be permitted via an
individual U.S. Army Corps of Engineers section 404 permit. As stated in section 4.4 of
the final ElS, section 404 permitting falls under the jurisdiction of the U.S. Army Corps
of Engineers and associated state agencies.186 Therefore, the decision whether the Rover       Page 78 of 140
Pipeline Project should be permitted under an individual or nationwide permit will be
made by the U.S. Army Corps of Engineers. Additionally, as stated in section 4.4.5 of

       185
             Final EIS at 4-100.
       186
             Final ElS at 4-93.
Docket No. CP15-93-000, etaL                                                    -68-

the final ElS, Rover continues to coordinate with the U.S. Army Corps of Engineers and
state agencies in the development of its wetland mitigation plan.’87

1 89. Based on the avoidance and minimization measures developed by Rover, as well
as our conditions, impacts on wetland resources will be effectively minimized or
mitigated to the extent practicable.




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                       f.     Interior Forests and Migratory Birds

190. Throughout scoping and NEPA review, commenters expressed concerns about
general impacts on upland forest, with particular concern for interior forest. Commenters
indicated that the disturbance of large areas of unfragmented forest required for the
pipeline will cause permanent effects on forested habitats as well as forest-dwelling
species such as some migratory birds.

191. Rover will cross 79 miles of interior forest habitat, which includes both upland and




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wetland communities. Rover attempted to route its pipeline adjacent to previously
disturbed areas and outside of forested areas where possible. However, impacts on the
interior forest habitat and on migratory birds and other wildlife that use this habitat still
account for about 1,315.7 acres of the total Rover Pipeline Project land impacts.188
Consequently, the final EIS concluded these impacts on forested lands would be
significant.’89

 192. As discussed in the final EIS, Rover developed a draft Migratory Bird
Conservation Plan that includes avoidance, minimization, and mitigation measures
regarding migratory birds and their habitat, per the intent of the Migratory Bird Treaty




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Act.19° Rover has consulted with FWS to develop measures for its plan. In addition to
the conservation measures described throughout the final EIS, FWS requested that Rover
provide compensatory mitigation to offset the removal of forested habitat. FWS utilized
a habitat equivalency analysis to identify a level of mitigation it deemçd appropriate to
the project’s impacts. Rover ultimately disagreed with FWS’s conclusion and committed
to providing an alternate, but lesser amount of compensatory mitigation. In response,
FWS requested that the Commission not consider Rover’s Migratory Bird Conservation

      787
                                                                                                Page 79 of 140
            Final EIS at 4-101 through 4-102.
      188
            Final EIS at 4-106.
      189
            Final EIS at 4-107.
      190
            Final EIS at 4-107.
Docket No. CP15-93-000, etal.                                                 -69-

Plan as complete until it committed to provide FWS’s full requested amount of
compensatory mitigation.’9’ Alternatively, FWS argues that if the Commission does not
require the full amount of compensatory mitigation, the Commission should reassess the
final EIS’s determination that the proposed projects would not have a significant adverse
effect on wildlife. EPA and Sierra Club192 recommend that the final Migratory Bird
Conservation Plan be reviewed and agreed to by FWS prior to issuance of this order.’93




                                                                                            USCA Case #18-1032
 193. Rover and FWS collaborated and continue to collaborate to develop a final
Migratory Bird Conservation Plan that includes avoidance, minimization, and mitigation
measures to reduce the potential population-level effects on migratory birds and their
habitat. However, Rover and FWS have apparently reached an impasse on the specifics
of compensatory mitigation. The Commission typically does not require or encourage
applicants to participate in compensatory mitigation to groups, governments, or agencies.
Mitigation measures proposed or recommended in the final EIS’s analysis target specific
natural resources. In order to further reduce impacts on migratory birds, staff




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recommended that Rover restrict clearing to avoid the known migratory bird nesting
period. This clearing restriction, combined with other minimization measures such as
restricting mowing of the right-of-way between April 15 and August 1 and narrowing of
the right-of-way through forested wetlands, would provide satisfactory minimization of
the project’s impacts. We believe this is sufficient and in compliance with the Migratory
Bird Treaty Act. Therefore, Environmental Condition 24 requires that Rover finalize this
plan, including any additional measures developed in its consultation with FWS.194

194. We also disagree with Sierra Club’s and EPA’s request to finalize the Migratory
Bird Conservation Plan prior to issuance of this order. As stated above, Environmental




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       191
         Similarly, Ms. Sherry Miller believes the amount of compensatory mitigation
proposed by Rover is inappropriate or insufficient for loss of habitat.
       192
          Sierra Club’s comments were also filed on behalf of the Ohio and Michigan
Chapters of the Sierra Club.
       193
          Sierra Club also argues that Rover wrongly asserted that FWS’s letter on the
                                                                                            Page 80 of 140
draft Migratory Bird Conservation Plan constitutes final agency action that could be
challenged in court. The Commission has no jurisdiction to determine what action by
another agency constitutes a final agency action under the Administrative Procedure Act.
       194
          The Daniel Trust states that Rover’s Migratory Bird Conservation Plan is
inadequate, claiming that Rover was requesting unrestricted clearing windows and only
voluntary wetland mitigation terms. However, as discussed, Rover has not finalized the
Migratory Bird Conservation Plan; nor are its clearing windows unrestricted.
Docket No. CP15-93-000, etal.                                                  -70-

Condition 24 requires that Rover file its final Migratory Bird Conservation Plan prior to
the start of construction, including documentation of its consultation with FWS. Thus,
Rover will be unable to begin construction until it files its final Migratory Bird
Conservation Plan.

195. Last, Mr. Ronald Kardos and Ms. Marjorie Bringharn-Kardos argue that the




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Commission should not take responsibility for altering the Migratory Bird Conservation
Plan. Rather, they assert that the Commission must assume that the decisions made by
FWS are valid. The commenters further state that the Memorandum of Understanding
between the Commission and FWS provides that FWS may make recommendations to
the Commission and the Commission must evaluate the information and consider the
recommendations provided. As discussed above, the Commission finds that the
mitigation measures submitted by Rover and recommended by staff adequately protect
migratory birds and are in compliance with the Migratory Bird Treaty Act.

196. Based on the avoidance and minimization measures developed by Rover, as well




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as the requirements in Environmental Condition 24, we agree with the final EIS’s
conclusion that impacts on interior forests and migratory birds will be effectively
minimized or mitigated to a reasonable extent of practicability.’95

                        g.     Invasive Species

197. EPA and the Daniel Trust filed comments concerning Rover’s draft Invasive
Species Plan. The Daniel Trust requests that the Commission require Rover to consult
with the Michigan Department of Natural Resources and FW$ regarding minimizing the
spread of oak wilt virus. EPA concurs with the recommendation in the final EIS for




                                                                                              Filed: 01/29/2018
Rover to update its Invasive Species Plan; however, EPA requests that the updated plan
be issued as a part of this order.

 198. As discussed in section 4.5.4 of the final EIS, Rover would control the spread of
oak wilt through adherence to federal and state regulations.’96 Rover includes these
measures in its Invasive Species Plan, and Environmental Condition 23 requires Rover to
revise its plan in consultation with federal, state, and local agencies, to include updated
mitigation measures during construction to minimize the spread of invasive species.
With the measures proposed by Rover, and our condition, impacts from invasive species,        Page 81 of 140
and diseases such as oak wilt, would be appropriately minimized. With respect to the
timing of the finalized plan, since Rover will be unable to begin construction until the

       195
             Final EIS at 5-6 through 5-7.
       196
             Final EIS at 4-107 through 4-108.
Docket No. CP15-93-000, etaL                                                     -71   -




Director of the Office of Energy Proj ects approves Rover’s updated Invasive Species
Plan, we conclude that the Environmental Condition 23 is sufficient to minimize the
impact or spread of invasive species.

                          h.      Federal- and State-Listed Species




                                                                                               USCA Case #18-1032
199. The final EIS includes an analysis of the projects’ impact on 16 federally listed
threatened or endangered species.197 Due to the amount of tree clearing that will be
needed for the Rover Pipeline Project, FWS raised concerns about the Rover Pipeline
Project’s effect on federally listed bat species, including the Indiana bat, northern long-
eared bat, and the Virginia big-eared bat.

200. Rover conducted mist net surveys for the Indiana bat, northern long-eared bat, and
Virginia big-eared bat in West Virginia, Pennsylvania, Ohio, and Michigan, from May 19
to July 30, 2015. During the same tirnefrarne, Rover conducted potential roost tree
surveys and habitat plot assessments to further qualify and quantify the suitability of




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summer roosting by bats in the project area. Rover also conducted surveys in 2015 to
identify cave and portal openings to address the potential for bat presence within these
habitats located within proposed workspaces. Rover conducted additional surveys in
June 2016 and filed the final survey results in July 2016.

201. A total of 1,510 bats were captured during 2015 mist net surveys at 435 sites in the
project area. No Indiana bats or Virginia big-eared bats were captured; however, 91
northern long-eared bats were captured. Of the 91 captured northern long-eared bats,
56 bats were fitted with transmitters and tracked to roosting locations. Radio telemetry
tracking of the bats identified eight roost trees that were adjacent to or within project




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workspaces. Cave portal surveys did not identify any suitable winter hibernacula for
Indiana bats, northern long-eared bats, or Virginia big-eared bats. Rover has stated that it
would avoid all roost trees through changes in the route or workspace. Prior to the start
of construction, once Rover files its Implementation Plan, Commission staff will verify
that all roost trees have been avoided based on final project alignment sheets.

202. In order to minimize impacts on federally listed bat species, FW$ recommended
that tree clearing only occur during certain seasons of the year. Environmental Condition
25 restricts clearing activities to between October 1 and March 31 in Michigan, Ohio, and      Page 82 of 140
Pennsylvania, and between November 15 and March 31 in West Virginia.’98


       197
             Final EIS   § 4.7.
       198
             FWS concurred with these tree clearing windows.
Docket No. CP15-93-000, etal.                                                    -72-

203. On October 3, 2016, FWS concurred with Commission staffs finding in the final
EIS that the Rover Pipeline Project is not likely to adversely affect any of the federally
listed species except for the Indiana bat. Rover subsequently filed an updated Indiana
Bat Conservation Plan with the FWS West Virginia Field Office on November 2, 2016.
As a result of the revisions, which included several new conservation measures, FWS
indicated by letter dated November 14, 2016, that the projects are not likely to adversely




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affect Indiana bats in Michigan, Ohio, Pennsylvania, or West Virginia, and no further
consultation under the Endangered Species Act (ESA) is required. These measures
included the girdling of 75 trees to create snags, erecting 33 artificial roosting structures
and monitoring them for three years, and replanting 91.4 acres of temporary workspace
with trees suitable for Indiana bats.

204. Commission staff also recommended in the final EIS that Rover restrict
construction activities to between October 31 and March 15 in areas of potential eastern
massasauga rattlesnake habitat. As identified by Rover, these areas were from




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mileposts $3.9 to $4.0 and from mileposts $5.2 to $7.9 on the Market Segment. Rover
conducted surveys in these areas during April, May, and July 2016. No eastern
massasauga rattlesnakes were observed. Based on the results of the surveys, we have
removed this requirement.

205. The final EIS recommended that Rover not begin construction until all mitigation
plans have been approved and any necessary section 7 consultation, whether formal or
informal, has been completed between the Commission and FWS. Because consultation
is considered complete, this requirement is no longer necessary. However, because
Rover has not filed it revised Indiana Bat Conservation Plan with the Commission or
affirmed its commitment to the plan’s measures, we will require this as Environmental




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Condition 26.

206. The Daniel Trust submitted a comment criticizing Rover’s bat conservation plans
as well as Rover’s route selection, particularly its selection without consideration of bat
species habitat. As discussed above, Rover conducted surveys in 2015 and 2016 for
Virginia big-eared bats, Indiana bat, and northern long-eared bats and has made several
adjustments to its route based on identified roost trees. Further, we note above that staff
has concluded its consultations with FWS under section 7 of the ESA regarding bat
species. As a result, we have required Environmental Condition 26 which states that             Page 83 of 140
Rover shall not begin construction until it submits its final Indiana Bat Conservation
Plan. Additionally, Environmental Condition 25 requires Rover to adhere to the FWS
recommended clearing windows.

207. Last, the Ohio Department of Natural Resources (OHDNR) identified the barn owl
as a state-listed threatened species. Given that construction of the Rover Pipeline Project
will require the removal of several structures that represent potential barn owl habitat, the
final EIS recommended that prior to removing barns and structures that represent
potential barn owl habitat, Rover shall evaluate and assess each barn or similar structure
Docket No. CP15-93-000, etal.                                                  -73-

for the presence of barn owls. In July 2016, Rover conducted a survey of the seven barns
that would be removed during construction of the Rover Pipeline Project. The survey
found no evidence that barn owls were currently inhabiting the barns nor evidence that
they had inhabited or nested in the barns in the recent past. Rover provided results of the
survey to the OHDNR. On August 3, 2016, the OHDNR concurred that impacts on the
barn owl are not likely and stated that no further coordination between Rover and




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OHDNR regarding the barn owl was required. We have reviewed the survey report and
the correspondence between Rover and OHDNR and conclude that the requirements of
the recommendation have been met. Therefore, we have removed the recommendation.

                       i.      Agricultural Land

20$. Throughout scoping and NEPA review, commenters expressed concerns about
impacts on agricultural lands, particularly to drainage tile systems and productivity of the
land once construction is complete. Construction of the Rover Pipeline Project will affect
5,328.1 acres of agricultural land.’99 During operation of the project, the permanent




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pipeline right-of-way and aboveground facilities will affect 1,999.8 acres of agricultural
land.20°

209. The final ElS acknowledges that construction activities such as clearing, grading,
trenching, stripping, and backfihling could impact agricultural lands by causing soil
erosion, by damaging surface or subsurface irrigation or drainage systems, and by
degrading fertile soils through mixing and compaction.201 These impacts could result in
direct loss of crops or pasture, as well as reduced crop productivity in future planting
seasons.




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210. In order to minimize these impacts, Rover will adhere to the mitigation measures
outlined in its state-specific Agricultural Impact Mitigation Plans for Ohio and Michigan
and its Upland Erosion Control, Revegetation, and Maintenance Plan for agricultural
land crossed in Pennsylvania and West Virginia. Typical mitigation measures include
topsoil segregation, decompaction, and repair/replacement of irrigation and drainage
structures. We received comments on the draft EIS from the Ohio Department of
Agriculture regarding differences between Rover’s Agricultural impact Mitigation Plan
for Ohio and the Department’s standard specifications for pipeline construction.202 Thus,
                                                                                               Page 84 of 140
            Final EIS at 4-16 1.
      200
            Final ElS at 4-16 1.
      201
            Final EIS at 4-225.
      202
            Final EIS at 4-177.
Docket No. CP15-93-000, et at’.                                               -   74   -




the final EIS recommended and Environmental Condition 31 in Appendix B to this order
requires Rover to consult with the Ohio Department of Agriculture regarding Rover’s
Agricultural Impact Mitigation Plan for Ohio to ensure the plan includes measures
consistent (and not in conflict) with normal standards required by the state.

211. Although Rover has developed the state-specific Agricultural Impact Mitigation




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Plans, landowners continued to raise concerns about the long-term impacts of
construction on crop productivity. In order to address landowner concerns,
Environmental Condition 30 requires Rover to develop a 5-year post-construction
monitoring program to evaluate crop productivity in areas impacted by project
construction.

212. Sean McGovern and Carolyn Stanley each filed comments requesting that the
Commission ensure that organic farms are adequately protected during construction of
the project. As discussed in section 4.8.5 of the final EIS, only one organic farm was
identified as being crossed by the Rover Pipeline Project.203 However, Rover did not




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identify any specific mitigation measures it would employ to ensure the farm does not
lose any organic certification it may have. Environmental Condition 35 requires Rover to
develop, in consultation with the landowner, an impact avoidance, minimization, or
mitigation plan for the only organic farm (which is not owned by either commenter)
crossed by the Rover Pipeline Project. As such, the final EIS concludes, and we agree,
that the organic farm will not be significantly impacted.

213. To mitigate impacts on drain tile systems, Rover has retained a consultant with
knowledge and expertise in drain tile systems in the project area to meet with individual
landowners and develop site-specific plans for mitigation and restoration of agricultural




                                                                                            Filed: 01/29/2018
lands (Drain Tile Relocation and Reclamation Plans). However, landowners have
submitted comments raising concerns about the review and approval process for these
plans. In order to ensure that landowners are involved in the development of these plans,
Environmental Condition 32 requires that Rover file these site-specific plans, including
documentation of consultation with the landowner, with the Commission. Additionally,
Environmental Condition 33 requires that Rover commit to hire local drain tile
contractors to install/repair drain tiles damaged during construction, and Environmental
Condition 34 requires that Rover provide information on encountered, severed, or
damaged drain tile lines to the landowner and local county Soil and Water Conservation      Page 85 of 140
District.




      203
            Final EIS at 4-180.
Docket No. CP15-93-000, etal.                                                   -75-

214. G&B Landowners state that drain tile remediation must occur during a specific
time of year204 and assert that Rover has improperly imposed an unworkable deadline for
the completion of drain tile rernediation on parcels where Rover has already negotiated
an easement. Likewise, E&W Landowners request that Rover develop site-specific plans
to address individual drain tile concerns. As discussed above, Environmental Condition
32 requires Rover to develop site-specific plans for drain tile rernediation in consultation




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with landowners and to file the resulting plans with the Commission. This condition will
ensure that appropriate planning measures will be taken prior to conducting drain tile
remediation on all impacted parcels to protect individual landowner resources and
minimize short- or long-term impacts of construction.

215. Based on Rover’s proposed measures, as well as on the additional measures
imposed as environmental conditions in Appendix B to this order, we conclude that
impacts on agricultural land will be adequately minimized.

216. G&B Landowners contend that Rover’s refusal to perform pre-construction drain-




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tile remediation prior to negotiation of a final easement compels landowners to surrender
their right to an eminent domain trial, in violation of the Fifth Amendment of the United
States Constitution and Articles I and XIII of the Ohio Constitution. In support of this
position, G&B Landowners state that entities exercising public authority may not impose
conditions that compel individuals to surrender constitutional rights,205 nor may they
suspend an individual’s rights or withhold benefits conditioned upon that individual’s
surrender of constitutional rights.206 G&B Landowners also argue that conditions
imposed when conferring some benefit to an individual must bear an “essential nexus” to
and serve the same governmental purpose underlying the grantor’s exercise of public
authority •207




                                                                                               Filed: 01/29/2018
       204 Mr. Kyle Cohrs also notes that drain tile repair can only be completed during
certain times of the year.
       205
          G&B Landowners April 11, 2016 Protest at 7 (citing Frost & frost Trucking
Co. v. Railroad Comm ‘n. of Cal., 271 U.S. 583, 593 (1926) (Frost & Frost)).

                                                                                               Page 86 of 140
      206
          G&B Landowners April 11, 2016 Protest at 7-8 (citing Sherbert v. Verner, 374
U.S. 398, 404-05 (1963) (Sherbert); Elrod v. Burns, 427 U.S. 347, 361 (1976) (Elrod);
NationalAmusements, Inc. v. Town ofDedham, 43 F.3d 731, 747 (1st Cir. 1995)
(National Amusements)).
      207
         G&B Landowners April 11, 2016 Protest at $ (citing Nollan v. Cal’fornia
Coastal Comm’n., 483 U.S. 825, 837 (1987) (Nollan); Dolan v. City of Tigard, 512 U.S.
374 (1994) (Dolan)).
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217. In its answer, Rover emphasizes that the NGA expressly authorizes the use of
eminent domain when pipeline companies are unable to acquire the necessary property
rights through negotiation. Rover distinguishes the cases cited by G&B Landowners for
the proposition that entities exercising public authority may not impose conditions,208 nor
suspend rights or withhold benefits,209 in order to compel an individual to surrender
constitutional rights. Here, Rover states that it is not a government entity attempting to




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achieve a goal by withholding or dispensing a public benefit. Rather, it is a private entity
that is attempting to negotiate easements with landowners, and has taken the position that
that it cannot acquiesce to all of the landowners’ demands for drain-tile remediation prior
to the Commission’s grant of certificate authority. If negotiations fail, however, after
certificate authority has been issued, landowners have the right to seek just compensation
in an eminent domain proceeding.

218. Rover also asserts that G&B Landowners’ reliance on Nollan v. California
Coastal Comm ‘n. and Dolan v. City of Tigard is unavailing, as the Court in both




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decisions found that a government entity commits a taking by imposing a condition that
encumbers a permit applicant’s use of property that is unrelated (or lacks a “nexus”) to
the purpose of the permit itself. Rover argues that it is not a government that is
conditioning the issuance of a permit on the permittee’s agreement to provide an
unrelated property right without compensation. Instead, Rover is a private party
negotiating contracts that are directly connected to its effort to construct a pipeline.
Rover further notes that whether the landowners settle or receive compensation in the
eminent domain proceeding, the landowners are compensated for the use of their
property.

219. G&B Landowners attempt to rely on the doctrine of unconstitutional conditions to




                                                                                               Filed: 01/29/2018
argue that Rover cannot refuse to perform pre-construction drain tile rernediation prior to
finalizing easement agreements. Each case cited by G&B Landowners examined the
constitutionality of state, county, or local government action that limited or interfered

       208
           Unlike the circumstances at issue in Frost & Frost, Rover states that there is no
unavoidable legislative mandate that leaves the landowners with no option but to
renounce a constitutional right. Furthermore, Rover continues, there is no constitutional
                                                                                               Page 87 of 140
right to have drain-tile remediation on the landowners’ terms. To the extent G&B
Landowners claim they are deprived of a use of their property, Rover states that they will
have the right to seek just compensation in an eminent domain proceeding.
       209
           Rover explains that Sherbert, Elrod, and National Amusements are similarly
inapposite as the cases narrowly address instances in which the government predicated
the receipt of public benefits on the renunciation or abstention from the exercise of First
Amendment rights.
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with an individual’s exercise of constitutional rights.210 G&B Landowners’ argument
appears to hinge on the premise that Rover is either a government entity, or is acting with
public authority. G&B Landowners assert that Rover has engaged in the exercise of
public authority by entering upon private lands and conducting physical surveys pursuant
to Ohio Revised Code section 163, and by expressing intent to use eminent domain
authority to acquire the necessary property rights upon receipt of certificate authority.




                                                                                              USCA Case #18-1032
We disagree. Rover is a private entity attempting to acquire land rights through
negotiations with landowners. Until issuance of this certificate, Rover had no right to
obtain property through eminent domain under section 7(h) of the NGA and was not
acting on behalf of any government in obtaining whatever rights it has acquired thus far.
In any event, G&B Landowners have not demonstrated an established right to pre
construction drain-tile remediation,2 and they will be compensated for the use of their
property regardless of whether they settle or participate in an eminent domain
proceeding.




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                     j.     Homeowners’ Insurance and Property Values

220. Throughout the NEPA review process, commenters expressed concerns about the
Rover Pipeline Project’s potential to have negative impacts on their individual
homeowner’s insurance policies, such as increases in premiums, reductions in coverage,
or outright termination of a policy. There is no peer-reviewed literature available
regarding the potential effect of pipeline proximity on property insurance, nor was


       210
           frost & Frost, 271 U.S. 583 (holding that State of California could not
condition use of public highways on a private carrier becoming a common carrier);




                                                                                              Filed: 01/29/2018
Sherbert, 374 U.S. 392 (holding that state of South Carolina could not withhold
unemployment benefits where an individual refused to accept a job that conflicted with
her free exercise of religion); Elrod, 427 U.S. 347 (holding that Cook County sheriff and
democratic organizations could not condition public employment on affiliation with a
particular political party); NationalAmusements, 43 f.3d 731 (holding that while Town
of Dedham’s ban on licensed entertainment during certain hours may constitute a
condition on a license, it was not an unconstitutional condition); Nollan, 423 U.S. 825

                                                                                              Page 88 of 140
(holding that California Coastal Committee could not condition approval of development
permit on applicant’s grant of a public easement across beachfront property); Dolan, 512
U.s. 374 (holding that City of Tigard could not condition approval of development
permit on applicant’s grant of a floodplain easement).
       211
           As stated in Rover’s answer, to the extent that landowners were asserting a
right to use their property, the landowners continue to have the right to receive just
compensation through an eminent domain proceeding.
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Commission staff able to confirm the validity of these claims through independent
research and interviews with regional and local experts.212 Even with the existing
thousands of miles of interstate natural gas pipelines present within the United States,
staff has not identified any instances where these pipelines have resulted in changes in
coverage; thus, we do not find cause to believe this project would be any different.
However, to further address this issue and ensure that no undue changes to an
individual’s insurance policy occurs as a result of the project, Environmental Condition
39 requires that Rover report the nature of any documented insurance complaints. Rover
must describe how it has mitigated the impact in its weekly status reports filed during
construction and in quarterly reports for a two-year period following the in-service date
of the project.

221. Both during the pre-fihing and scoping periods, commenters also expressed
concerns about the project’s impacts on property values. Specific issues included
devaluation of property if encumbered by a pipeline easement; responsibility among
parties for property taxes within a pipeline easement; and negative economic effects
resulting from changes in land use (e.g., loss of timber production within the permanent
right-of-way). We agree with the final EIS’s conclusion that a significant loss of
property value due to construction of a pipeline is not supported by Commission staffs
research and available data.213 Moreover, any loss of productivity associated with an
easement, including the loss of timber production, is more appropriately addressed
through compensation negotiations or eminent domain proceedings.

                        k.       Air Quality

222. The Rover Pipeline Project consists of several aboveground facilities including:
10 compressor stations, 17 meter stations, 77 mainline valves, 6 tie-ins, and 11 pig
launchers/receivers. The majority of new emissions from the Rover Pipeline Project
would result from operation of the 10 new compressor stations. The Panhandle and
Trunkline Backhaul Projects would not significantly contribute to negative impacts on air
emissions.

 223. Construction of the projects will result in temporary and localized increases of
 tailpipe emissions from mobile diesel- and gas-fueled equipment. In addition, temporary
 increases in fugitive dust emissions would occur due to surface disturbance caused by
 construction activities, construction vehicle travel on unpaved roads, and open burning of
 downed trees and brush. Rover identified several mitigation measures it would

        212
              See Final EIS   § 4.9.6.
        213
              Final EIS at 4-204 to 4-206.
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 implement to reduce construction emissions and fugitive dust. However, the final EIS
 concluded that the mitigation measures outlined in Rover’s Fugitive Dust Control Plan
 were insufficient.214 Therefore, Environmental Condition 20 requires Rover to update its
 Fugitive Dust Control Plan with additional measures to minimize fugitive dust emissions,
 including measures that identify speed limits for construction equipment, how Rover will
 determine appropriate dust abatement measures, track-out devices215 that construction
 traffic will cross, and the maintenance procedures for construction equipment that Rover
 will use to reduce dust.

 224. As part of the air-permit applications for compressor stations, Rover utilized the
 EPA-approved SCREEN3 air screening model216 to identify impacts associated with each
 compressor station for nitrogen dioxide and particulate matter with a diameter of 2.5
 microns or less. Results demonstrate that the Rover Pipeline Project compressor stations
 would not exceed the National Ambient Air Quality Standards, and the project areas
 would continue to remain protective of human health and public welfare for all listed
 pollutants. Accordingly, any emissions resulting from operation of Rover’s compressor
 stations would not have significant impacts on local or regional air quality.

 225. Sherry Miller and Carl Miller filed comments expressing their concerns regarding
 the emissions and safety of Mainline Compressor Station 1 due to its proximity to
 Conotton Valley High School, which is located one mile away from the compressor
 station. As discussed in section 4.11.1 of the final EIS, modeled air emissions from
 Rover’s compressor stations were all below applicable air quality standards.217 As stated
 above, based on the modeled impacts, any emissions resulting from operation of Rover’s
 compressor stations would not have a significant impact on local or regional air quality,
 including at the high school located one mile from the compressor station.

 226. EPA recommends that Rover implement several advanced pollution controls to
 limit air impacts during construction. As discussed in section 4.11.1.3 of the final EIS,
 Rover will implement several mitigation measures to reduce construction emissions,
 including maintaining engines in accordance with manufacturer recommendations,

        214
              Final EIS at 4-23 9.
        215
          Track-out devices are rock-based construction entrances that minimize tracking
 mud or dirt onto a roadway and are used where the right-of-way intersects a road.
        216
         While AERSCREEN is the current EPA-preferred screening tool, SCREEN3 is
 an EPA-approved screen tool that generally overestimates impacts.
        217
              Final EIS at 4-240.
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ensuring mobile sources have combustion engines that meet manufacturing requirements
for control of emissions, and reducing fugitive dust by following its Fugitive Dust
Control Plan.218 The final EIS concludes, and we agree, that these measures sufficiently
reduce air emissions during construction of the proj ects and the additional advanced
pollution controls are not necessary.

227. EPA has also recommended that Rover follow the measures outlined by EPA to
avoid, minimize, and mitigate methane emissions during operation of the Rover Pipeline
Project. However, as discussed in section 4.11.1.3 of the final EIS, no state or regional.
greenhouse gas emission reduction initiatives were identified or are applicable to any of
the project’s activities.219 Rover has committed to minimizing venting of natural gas
during start-up, shut-down, and malfunctions using preventative maintenance and
standard operating procedures. Given the mitigation measures identified by Rover, the
final EIS concludes, and we agree, that no additional measures are needed.

 228. EPA also recommends the use of trees and vegetation around compressor stations
 as a method of pollution reduction. Staff has in fact recommended that Rover plant
 vegetation at compressor stations to provide visual screening which can also serve to
 absorb pollutants emitted at compressor stations as requested by EPA.

                         1.     Noise Impacts

 229. Noise Sensitive Areas near the construction areas may experience an increase in
 perceptible noise, but the effect would be temporary and local. Noise mitigation
 measures that will be employed during construction include the use of sound-muffling
 devices on engines and the installation of barriers between construction activity and
 Noise Sensitive Areas. Generally, nighttime noise will not increase during construction
 with the exception of HDD activity. Rover’s proposed mitigation would attempt to
 reduce day-night sound levels (Ldn) from HDD activity to below 55 decibels on the A-
 weighted scale (dBA). Environmental Condition 42 requires Rover to include HDD
 noise measurements in its construction status reports to verify that noise levels do not
 exceed 55 Ldn. Based on modeled noise levels, mitigation measures proposed as well as
 those recommended by staff, and the temporary nature of construction, the final EIS
 concludes that the projects would not result in significant noise impacts on residents and
 the surrounding communities during construction.220


        218 Final EIS §4.11.1.3.
        219
              Final EIS at 4-243.
        220
              Final EIS at 4-25 2.
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 230. The new compressor stations would generate noise on a continuous basis once
 operating. Rover completed an analysis to identify the estimated noise impacts at the
 nearest Noise Sensitive Areas from the compressor stations and found that noise levels
 from each facility are projected to be below the Commission criterion of 55 dBA Ldn, and
 noise level increases would be undetectable at Noise Sensitive Areas for all compressor
 stations, except the Clarington Compressor Station.221 To ensure that the actual noise
 levels produced at the compressor stations do not result in significant impacts,
 Environmental Condition 43 in Appendix B to this order requires Rover to submit noise
 surveys once the compressor stations are placed in service and, if necessary, add noise
 mitigation until noise levels are below our acceptable thresholds. Based on the analyses
 conducted, mitigation measures proposed, and the required noise surveys, we agree with
 the final ElS’s conclusion that operation of the Rover Pipeline Project would not result in
 significant noise impacts on residents and the surrounding communities.222

231. Karl Klement disagrees with the conclusion in the final EIS that turbines at
compressor stations would not cause low frequency sound waves. Mr. Kiement states
that no research data were provided in the final EIS to support this claim. As discussed in
section 4.11 of the final EIS, through the Commission’s dispute resolution service
helpline, we are aware that induced vibration, or a low frequency sound from pipelines,
has occurred at a limited number of natural gas facilities in the over 300,000 miles of
transmission pipeline in the United States.223 However, we are unaware of wide-scale
cases of low frequency noise from natural gas transmission pipelines. With hundreds of
thousands of residents near natural gas pipelines, we have seen no system-wide evidence
that natural gas pipelines are inducing noise effects on local residences. This appears to
be an isolated issue that we will continue to address when it arises through the dispute
resolution service and landowner helpline. While we acknowledge Mr. Kiement’s
concerns, he has provided no evidence to support that there are effects from low
frequency vibrations or that the Rover Pipeline Project is of particular concern.

                        m.     Cumulative Impacts

232. The Council on Environmental Quality (CEQ) regulations define cumulative
impacts as “the impact on the environment that results from the incremental impact of the


       221
          Although the noise level increase at the Clarington Compressor Station would
be perceptible, the station noise would be below 55 dBA Lug.
       222
             Final EIS at 4-257.
       223
             final EIS at 4-25 6.
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action when added to other past, present, and reasonably foreseeable future actions.”224
A cumulative impacts analysis may require an analysis of actions unrelated to a proposed
project if they occur in the project area or region of influence of the project being
analyzed.225 CEQ states that “it is not practical to analyze the cumulative effects of an
action on the universe; the list of environmental effects must focus on those that are truly
meaningful.”226 An agency is only required to include “such information as appears to be
reasonably necessary under the circumstances for evaluation of the project rather than to
be so all-encompassing in scope that the task of preparing it would become either
fruitless or well-nigh impossible.”227 The geographic scope of a pipeline project’s
impacts varies depending on the resource being discussed. In establishing the geographic
scope of impacts for these projects, the final ElS included minor projects (e.g., residential
or small commercial development projects) within 0.25 mile of the proposed area for the
jurisdictional projects; major projects (e.g., large commercial, industrial, and energy
development, including natural gas well permitting projects) within 10 miles of the
project area; major projects within watersheds crossed by the projects; and projects with
potential to result in longer term impacts on air quality (e.g., natural gas pipeline
compressor stations) located within an Air Quality Control Region crossed by the
projects under consideration.228

 233. Throughout the environmental review process, we received comments on the
 cumulative impacts associated with development of natural gas reserves in the Marcellus
 and Utica Shales. Production and gathering activities are overseen by the affected
 region’s state and local agencies with jurisdiction over the management and extraction of
 the Marcellus and Utica Shale gas resources. Development of these shale resources is
 expected to continue in proximity to and during construction and operation of portions of
 the Rover Pipeline Project in West Virginia, Pennsylvania, and Ohio. Although the final
 EIS does not examine the impacts of Marcellus and Utica Shale upstream facilities to the
 same extent as the proposed projects, the final EIS considered the general development of

       22440    C.F.R.   § 1508.7 (2016).
       225
            CEQ, Considering Cumulative Effects Under the National Environmental
 Policy Act at 8 (January 1997) (1997 CEQ Guidance),
 http ://energy.gov/sites/prod/files/nepapub/nepa_documents/RedDont/G-CEQ
 ConsidCumulEffects.pdf.

       2261d at8.
       227
             Natural Res. Def Council v. Calloway, 524 F. 2d 79, 88 (2d. Cir. 1975).
       228
             Final ElS at 4-273
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 the Marcellus and Utica Shale in proximity to the projects within the context of
 cumulative impacts 229

234. As discussed in the final EIS, most (but not all) cumulative impacts would be
temporary and minor when considered in combination with past, present, and reasonably
foreseeable activities.230 Some long-term cumulative impacts would occur on wetland
and upland forested vegetation and associated wildlife habitats. In particular, the final
EIS identified that some short-term cumulative impacts would occur primarily in Monroe
County, Ohio, where the Rover Pipeline Project and Columbia Gas Transmission, LLC’s
(Columbia) Leach XPress Project would construct two pipelines in the same non-
exclusive easement.231 Adverse cumulative effects related to these two projects may
occur on wetlands, water resources, vegetation, and soils, particularly if construction
occurs concurrently or immediately preceding one another. The final ElS acknowledges
that both pipeline operators have committed to minimizing impacts through coordination
of construction, but the final ElS was unable to assess the specifics of how these
commitments would manifest into reduced impacts on the environment.232 Therefore,
Environmental Condition 44 requires Rover to file a construction coordination plan that
identifies measures that Rover and Columbia have agreed to implement during the
construction of the parallel portions of their respective projects.

235. The Switzerland Township submitted a letter on July 14, 2016, detailing the level
of oil and gas infrastructure projects that already exist in the township and county. The
Township stated that previous infrastructure and development projects have resulted in
destruction of historical buildings, increased traffic on small county roads, and damage to
roads. The Township does not challenge the final EIS’s direct, indirect or cumulative
impacts analysis. Rather, the Township generally requests compensation. As noted
above, the Commission typically does not require or encourage applicants to participate
in compensatory mitigation to groups, governments, or agencies.233 Mitigation measures

       229
             final EIS   § 4.13.1.
       230
             Final EIS at 4-293.
       231
          Rover provided additional information in response to Environmental
Recommendation 12 of the final ElS, which requires Rover to file as part of its
Implementation Plan confirmation of the locations along the Seneca Lateral that would
be collocated with Columbia’s Leach XPress Project.
       232
             final EIS at 4-294.
       233
             See supra P 192.
Docket No. CP15-93-000, etal.                                                 -   84-

proposed or recommended in the final EIS’s analysis target specific natural resources. As
discussed in section 4.9 of the final EIS, Rover has developed several mitigation
measures, as outlined in its Residential and Traffic Mitigation Plan, to minimize impacts
on roadways and local traffic.234 This would include restoration of all roadways damaged
by construction or construction equipment/traffic to pre-construction conditions or better
once construction is complete. Section 4.10 of the final EIS also provides a discussion of




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cultural resources identified in the area of the project and any necessary mitigation
measures.

                       n.     Property Access

236. Mr. John Klotzle filed comments concerning Rover’s ability to access his property
as a result of the right-of-way easement. Mr. Klotzle is specifically concerned with the
subsequent loss of recreation and the impact on his privacy. While Rover personnel will
need to access the right-of-way during operation to assess the condition of the right-of-
way and pipeline, and to conduct routine maintenance and as-needed repairs, Rover




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would contact the landowner at least 24 hours in advance to inform him that Rover
personnel would be accessing the property. Additionally, as discussed in section 4.8.5 of
the final EIS, recreational activities would not be impacted during operation of the
project.235 While certain activities may be prohibited on the right-of-way during
construction, such as hunting and hiking, these activities will be allowed to resume once
construction on the parcel is complete.

                       o.     Pipeline Safety

237. Several commenters raised issues regarding the safety of the proposed projects.




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Ms. Sherry Miller cited increased pipeline safety incidents over the last decade and
requested that the Commission take Energy Transfer’s236 safety history into account
during its decision. Mr. Terrance Lahr expressed concern that pipe for the Rover Pipeline
Project is currently being stored at a stock yard, outside and uncovered.

238. As discussed in the final EIS, the pipeline and aboveground facilities associated
with the projects would be designed, constructed, operated, and maintained in accordance
with or to exceed the U.S. Department of Transportation’s Minimum Federal Safety
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      234
            Final EIS at 4-203.
      235
            Final EIS at 4-179.
      236
          As noted above, ET Rover, the majority interest owner, developer, and operator
of the Rover Pipeline Project, is an affiliate of Energy Transfer.
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Standards.237 These regulations, which are intended to protect the public and to prevent
natural gas facility accidents and failures, include specifications for material selection and
qualification; minimum design requirements; and protection of the pipeline from internal,
external, and atmospheric corrosion. With respect to the comment regarding Energy
Transfer’s (Rover’s parent company) safety record, neither Ms. Miller nor any of the
other commenters provide any evidence of safety violations by any of Energy Transfer’s




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Commission-jurisdictional pipeline subsidiaries. If there were any violations, they would
be addressed by the U.S. Department of Transportation or its state agency partners.238
The final ElS discloses aggregate pipeline accident data, including those in states crossed
by the Rover Pipeline Project, finding that the minimal number of incidents distributed
over more than 300,000 miles of natural gas transmission pipelines indicates a low risk
for an incident at any given location.239

239. EPA requests that the emergency response plan be filed as part of this order.
However, as discussed in the final EIS, Rover would prepare an emergency response plan
pursuant to the U.S. Department of Transportation’s regulations.240 The Commission




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does not review the plan or consider it as part of its decision making. To view the plan,
the public should contact the U.S. Department of Transportation.

240. EPA also recommends that the project proponents contact the EPA Remedial
Project Manager regarding any updated information concerning the Reilly Tar Superfund
site, which is in close proximity to the Dover Contractor Yard. Commission staff has
contacted EPA staff for an update, and no new information has been received to date
regarding this site.

241. Last, Ms. Miller raised concerns about the proximity of the Rover Pipeline Project




                                                                                                 Filed: 01/29/2018
to the Countrywide Landfill and Bolivar Dam near Mainline A and B milepost 39,
particularly in regards to safety in the event of a pipeline incident. While the pipeline
does cross within the boundaries of the Countrywide Landfill parcel, it would not cross
the landfill itself. No known sites of contaminated soil or hazardous materials were
identified in the Rover Pipeline Project area near the site. As discussed in section 4.2.2.7
of the final ElS, if contaminated soil is encountered during construction, Rover will stop
work, vacate the area, and notify its Chief Inspector to inform regulatory agencies, as

       23749                                                                                     Page 96 of 140
                C.F.R. pt. 192 (2016).
       238
             Final EIS at 4-258.
      239
             Final ElS at 4-271.
      240
             Final EIS at ES-lO.
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appropriate.24’ With respect to the Bolivar Dam, it is located 1.3 miles from the project.
In the event of a pipeline incident, damage to the dam would be unlikely given the
distance from the Rover Pipeline Project area.

                       p.        Cultural Resources




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242. As discussed in the final EIS, Rover conducted cultural resources field surveys for
both archaeological and architectural resources. At the time of the issuance of the final
EIS, archaeological surveys in West Virginia, Ohio, and Michigan, as well as
architectural surveys in Ohio were still ongoing. The final EIS noted that once cultural
resources surveys and eligibility evaluations were complete, a treatment plan would be
prepared for any historic properties adversely affected by the project. Rover has
submitted additional cultural resources survey reports since the issuance of the final ETS.
Because staff review of these reports is still ongoing, Rover must satisfy Environmental
Condition 40 in Appendix B to this order, which requires that Rover not begin
construction until staff has determined that all reports have been submitted, reviewed the




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eligibility of resources, and resolved any adverse effects.

243. Ms. Sherry Miller states that she is concerned that Rover would construct its
pipeline through a cemetery that is located on nearby property. Ms. Miller made similar
statements regarding the neighboring parcel during the draft EIS comment period. As
discussed in appendix I of the final EIS, Rover has stated that the Rover Pipeline Project
would not impact or cross the cemetery identified by the Ms. Miller. We note here that
this order approves the pipeline route as proposed by Rover in its application and
supplements, except for locations where we have dictated specific changes. Rover must
adhere to these requirements and may not modify its route without first seeking




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additional approval from the Commission. Additionally, if human remains are
discovered during construction of the Rover Pipeline Project, Rover would follow the
measures outlined in its Procedures Guiding the Discovery of Unantic;pated Cultural
Resources and Human Remains. These procedures state that “Rover will treat any human
remains encountered during the Rover Pipeline Project in a manner guided by the
[Advisory Council on Historic Preservation’s] Policy Statement Regarding Treatment of
Burial Sites, Human Remains, and Funerary Objects (2007) and by the relevant state laws
and guidelines.”
                                                                                              Page 97 of 140
244. After the issuance of the final EIS, Commission staff became aware that Rover,
acting independently, purchased and knowingly demolished an 1843 historic federal
house known as the Stonernan House. The Stoneman House, as discussed in the final
EIS, was located in Dennison, Ohio, across the street from Rover’s proposed mainline

      241
            Final EIS at 4-45.
Docket No. CP15-93-000, etal.                                                    -   87-

Compressor Station 1. Early-on during the pre-fihing process, the house was identified as
eligible for listing in the National Register of Historic Places and within the visual area of
potential effects of the project. Accordingly, staff recommended that Rover mitigate the
adverse effects of the compressor station and Rover committed to developing a solution
that would avoid the adverse effect on this structure.




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245. Section 110(k) of the National Historic Preservation Act (NHPA) states that
“[e]ach Federal agency shall ensure that the agency will not grant a loan, loan guarantee,
permit, license, or other assistance to an applicant that, with intent to avoid the
requirements of section [106 of the NHPAJ, has intentionally significantly adversely
affected a historic property to which the grant would relate, or having legal power to
prevent it, has allowed the significant adverse effect to occur, unless the agency, after
consultation with the [Advisory] Council, determines that circumstances justify granting
the assistance despite the adverse effect created or permitted by the applicant.”242

246. Because the house was demolished with no forewarning to the Commission, staff




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determined that Rover had intentionally and adversely affected the historic property.
Pursuant to section 110(k) of the NHPA and the Advisory Council on Historic
Preservation’s (ACHP) implementing regulations,243 on November 16 and December 5,
2016, Commission staff notified the ACHP and requested its opinion on the matter. On
December 16, 2016, the ACHP responded stating that it did not object to the
Commission’s continued review of Rover’s project under section 110(k) of the NHPA.
In continuing our review of this project, the ACHP urged the Commission to consider the
appropriateness of making a determination of adverse effect for the undertaking,
recognizing the damage to the Stonernan House. We agree that the effects on the
Stoneman House were adverse.




                                                                                                 Filed: 01/29/2018
247. Under the regulations implementing section 106 of the NHPA,244 Commission
staff must consult with the State Historic Preservation Officer (SHPO) and other
consulting parties to resolve the adverse effect to the Stoneman House prior to any
construction activity. Staff will continue to consult with the Ohio SHPO, Rover, and the
ACHP (as appropriate) to complete the section 106 process, and determine if additional
mitigation measures to offset the adverse effect are appropriate. This consultation may
conclude in the execution of an agreement document among the Commission, the Ohio
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      24254
             U.S.C. 306113 (2012), Pub. L. No. 113-287, 128 Stat. 3188 (2014). The
National Historic Preservation Act was recodified in Title 54 in December 2014.
      243
            36 C.F.R.   §   800.9(c)(2) (2016).
      244
            36 C.F.R.   §   800.6.
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SHPO, Rover, and the ACHP (if participating). We will defer to ongoing consultations
by Commission staff to develop any appropriate mitigation measures. Because the
adverse effects to the Stoneman House requires additional consultation by Commission
staff, we have also added Environmental Condition 41, which states that construction of
project facilities may not begin until staff concludes its resolution of adverse effects as
they relate to the Stoneman House.




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24$. While we acknowledge Rover’s independent efforts to offset the impacts to the
Stonernan House,245 we do not take lightly our consideration of this issue. Rover’s
commitments made as part of an application or supplements such as environmental
mitigation and minimization measures are the basis for determining the degree to which
the applicant has taken real and meaningful steps to offset its project impacts. This is the
most basic application of our established policy under the Certificate Policy Statement.

249. Our review of the record for this project shows that Commission staff identified
the Stonernan House as an issue of concern early-on during the pre-fihing process.




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Seemingly acknowledging this, Rover committed to developing a solution that would
avoid the adverse effect on this structure.246 Nonetheless, despite staffs concern, Rover’s
commitment, and staffs recommendations in the final EIS, Rover demolished the
structure with no prior notice or forewarning.247 Therefore, in addition to the continued
consultation required under the NHPA, we have referred this matter to the Office of
Enforcement, for further investigation and action, as appropriate.

250. Commenters have also raised a variety of additional concerns as related to the
Stonernan House. The Daniel Trust, Ms. Sherry Miller, and Ms. Shirley Robinson cite
ongoing activities related to the Dakota Access Pipeline, a project by Rover’s parent.




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The commenters generally allege that the controversy surrounding the Dakota Access
Pipeline demonstrates Rover’s wrongdoing here. Ms. Miller also requests the


       245
          Rover has independently agreed to provide the Ohio SHPO with compensatory
mitigation funding to support activities agreed upon by the Ohio SHPO and Rover. On
December 12, 2016, the Ohio SHPO acknowledged that it had received funding provided
                                                                                               Page 99 of 140
by Rover and committed to use the funds for activities with a “visible and tangible public
benefit.”
       246
             final EIS at 4-2 1$.
       247
          Rover did not even notify the Commission of its purchase of the Stoneman
House; in fact, subsequent to the purchase, Rover filed a landowner list which listed the
Stoneman House’s prior owners.
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Commission hold additional public hearings to solicit comments and argues that the
Commission should deny Rover’s certificate because of this action.

251. The Commission is not involved with the siting of the Dakota Access Pipeline and
does not consider the affiliated company’s engagement in other projects as part of our
decision-making process. With respect to additional hearings, in addition to the ongoing




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investigative efforts of our Office of Enforcement, Commission staff will conduct
additional consultations with relevant parties to conclude our consultation under Section
106 of the NHPA. Moreover, because the scope of Rover’s project has not changed,
additional public comment meetings are not required.

252. Although section 110(k) permits the denial of a certificate, denial is not required if
the Commission determines, after consultation with the ACHP, that circumstances justify
granting the certificate despite the adverse effect. In our December 5, 2016 letter,
Commission staff explained that the purpose and need for the project the construction
                                                                        —




of facilities that would allow the transportation of up to 3.25 billion cubic feet of natural




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gas from points in Pennsylvania, West Virginia, and Ohio to the interstate pipeline grid
and to markets in the Gulf Coast, Midwest, and Canada, providing gas consumers with
access to readily-available, stable, and competitively-priced gas supplies—justified
continuing review, to allow the Commission to address the public interest issues raised by
the proposed project. As we have explained above, the record demonstrates that the
Rover Pipeline Project would provide benefits throughout the natural gas sector and that
the project is needed. Under these circumstances, we find that granting Rover a
certificate for its project is justified despite the adverse impact on the Stoneman House.

253. As part of its application, Rover has requested a Part 157, Subpart F blanket




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certificate. Such a certificate allows a natural gas company to undertake an extensive
array of routine activities without the need to obtain a case-specific certificate for each
individual undertaking. While the blanket certificate program provides an
administratively efficient means to enable a company to construct, modify, acquire,
operate, and abandon certain natural gas facilities, the program operates to protect the
public interest only because each activity undertaken pursuant thereto is required to
comply with constraints on costs and environmental impacts set forth in the

                                                                                                Page 100 of 140
Commission’s regulations. Because this program allows natural gas companies to
undertake certain construction activities, in some cases without even prior notice to the
Commission, it depends on the Commission’s confidence that a natural gas company will
not act contrary to the Commission’s regulations and other environmental statutes.

254. Rover’s intentional demolition of the Stoneman House raises the question of
whether Rover would fully comply with our environmental regulations in future
construction activities under a blanket certificate. Therefore, we deny Rover’s request for
a blanket certificate. In consequence, Commission staff will be able to fully analyze the
environmental impacts of Rover’s construction that would otherwise occur pursuant to a
blanket certificate, prior to the company’s being authorized to proceed, thus ensuring that
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all construction activities by Rover comply with our environmental regulations. Rover
may reapply for a blanket certificate after 1$ months of full commercial operation. If
Rover files such an application, the Commission will consider Rover’s history of
environmental compliance, including compliance with the Environmental Conditions in
this order, in determining whether to grant its request.




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                          q.      Indirect Impacts

255. Several commenters request that the Commission analyze the environmental
impacts associated with the upstream production and downstream combustion of the
natural gas to be transported by the projects. EPA cites CEQ’s Final Guidance for
Federal Departments and Agencies on Consideration of Greenhouse Gas Emissions and
the Effects of Climate Change in National Environmental Policy Act Reviews issued on
August 1, 2016 (2016 GHG Guidance),242 noting that the final guidance document states
that agencies should consider reasonably foreseeable direct and indirect emissions when




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analyzing a proposed action. CEQ’s final guidance was issued after issuance of the final
EIS. CEQ’s final guidance recognizes this potential issue, recommending that the final
guidance apply “to all new proposed agency actions when a NEPA review is initiated”
and that “[aJgencies should exercise judgment when considering whether to apply this
guidance to the extent practicable to an on-going NEPA process.”249 CEQ’s final
guidance document also emphasizes that “this guidance is not a rule or regulation, and
the recommendations it contains may not apply to a particular situation based upon the
individual facts and circumstances,” and “agencies should provide the public and
decision makers with explanations of the basis for agency determinations.”250

256. CEQ’s regulations direct federal agencies to examine the indirect impacts of




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proposed actions.25’ Indirect impacts are defined as those “which are caused by the
action and are later in time or farther removed in distance, but are still reasonably
foreseeable.”252 Indirect effects may include growth-inducing effects and other effects
related to induced changes in the pattern of land use, population density or growth rate,


       248
             2016 GHG Guidance.
       249                                                                                  Page 101 of 140
             Id. at 33.

       2501d at 1-2.
       251
             See 40 C.F.R.     § 1508.25(c) (2016).
      2521d      § 1508.8(b).
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and related effects on air and water and other natural systems, including ecosystems.”253
Accordingly, to determine whether an impact should be studied as an indirect impact, the
Commission must determine whether it: (1) is caused by the proposed action; and (2)is
reasonably foreseeable.

257. With respect to causation, “NEPA requires ‘a reasonably close causal relationship’




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between the environmental effect and the alleged cause”254 in order “to make an agency
responsible for a particular effect under NEPA.”255 As the Supreme Court explained, “a
‘but for’ causal relationship is insufficient [to establish cause for purposes of NEPAl.”256
Thus, ‘[sJome effects that are ‘caused by’ a change in the physical environment in the
sense of ‘but for’ causation,” will not fall within NEPA if the causal chain is too
attenuated.257 Further, the Court has stated that “where an agency has no ability to
prevent a certain effect due to its limited statutory authority over the relevant actions, the
agency cannot be considered a legally relevant ‘cause’ of the effect.”258

252. An effect is “reasonably foreseeable” if it is “sufficiently likely to occur that a




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person of ordinary prudence would take it into account in reaching a decision.”259 NEPA

       253
             Id
       254
         Dep ‘t of Transp. v. Pub. Citizen, 541 U.S. 752 at 767 (2004) (quoting Metro.
Edison Co. v. People Against Nuclear Energy, 460 U.S. 766, 774 (1983)).
       255
             Id




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       256
           Id.; see also Sierra Club v. fERC, 827 F.3d 36, 46 (D.C. Cir. 2016) (Freeport
LNG) (FERC need not examine everything that could conceivably be a but-for cause of
the project at issue); Sierra Club v. FERC, 827 F.3d 59, 68 (D.C. Cir. 2016) (Sabine Pass
LNG) (FERC order authorizing construction of liquefied natural gas export facilities “are
not the legally relevant cause” of increased production of natural gas).
       257
             Metro. Edison Co., 460 U.S. at 774.


                                                                                                 Page 102 of 140
       258
          Pub. Citizen, 541 U.S. at 770; see also Freeport LNG, 827 F.3d at 47 (affirming
that Public Citizen is explicit that FERC, in authorizing liquefied natural gas facilities,
need not consider effects, including induced production, that could only occur after
intervening action by the Department of Energy); Sabine Pass LNG, 827 F.3d at 68
(same); EarthReports, Inc. v. FERC, 828 F.3d 949, 956 (D.C. Cir. 2016) (same).
       259
         Sierra Club v. Marsh, 976 F.2d 763, 767 (1st Cir. 1992). See also City of
Shoreacres v. Waterworth, 420 F.3d 440, 453 (5th Cir. 2005).
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requires “reasonable forecasting,” but an agency is not required “to engage in speculative
analysis” or “to do the impractical, if not enough information is available to permit
meaningful consideration.”26°

259. The Commission does not have jurisdiction over natural gas production. The
potential impacts of natural gas production, with the exception of greenhouse gas




                                                                                                 USCA Case #18-1032
emissions and climate change, would be on a local and regional level. Each locale
includes unique conditions and environmental resources. Production activities are thus
regulated at a state and local level. In addition, certain activities are subject to federal
regulation. For example, deep underground injection and disposal of wastewaters and
liquids are subject to regulation by the EPA under the Safe Drinking Water Act. The
EPA also regulates air emissions under the Clean Air Act. On public lands, federal
agencies are responsible for the enforcement of regulations that apply to natural gas
wells.




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260. We have previously concluded in natural gas infrastructure proceedings, based on
the specifics of the project being proposed in each proceeding, that the environmental
effects resulting from natural gas production are generally neither sufficiently causally
related to specific natural gas infrastructure projects nor are the potential impacts from
gas production reasonably foreseeable such that the Commission could undertake a
meaningful analysis that would aid our determination.26’ A causal relationship sufficient
to warrant Commission analysis of the upstream production activity as an indirect impact
would only exist if a proposed pipeline or Commission-jurisdictional infrastructure
project would transport new production from a specified production area and such
production would not occur in the absence of the proposed project facilities (i.e., there
will be no other way to move the gas).262 To date, the Commission has not been




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       260
           N. Plains Res. Council, Inc. v. Surface Transp. Bi, 668 f.3d 1067, 1078
(9th Cir. 2011).
       261
          See, e.g., Central New York Oil and Gas Co., LLC, 137 FERC ¶61,121, at PP
81-101 (2011), order on reh ‘g, 138 FERC ¶ 61,104, at PP 33-49 (2012),petition for

                                                                                                 Page 103 of 140
review dismissed sub nom., Coal. for Responsible Growth v. FERC, 485 Fed. Appx. 472,
474-75 (2012) (unpublished opinion).
       262
           Cf Sylvester v. U.S. Army Corps ofEng ‘rs, 884 F.2d 394, 400 (9th Cir. 1989)
(upholding the environmental review of a golf course that excluded the impacts of an
adjoining resort complex project). See also Morongo Band ofMission Indians v. FAA,
161 F.3d 569, 580 (9th Cir. 1998) (concluding that increased air traffic resulting from
airport plan was not an indirect, “growth-inducing” impact); City of Carmel-by-the-Sea v.
U.S. Dep ‘t of Transp., 123 F.3d 1142, 1162 (9th Cir. 1997) (acknowledging that existing

                                                                                (continued...)
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presented with a proposed pipeline project that the record shows will cause the
predictable development of gas reserves. In fact, the opposite causal relationship is more
likely, i.e., once production begins in an area, shippers or end users will support the
development of a pipeline to move the proposed gas.

261. Even accepting, arguendo, that a specific pipeline project will cause natural gas




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production, to date, we have found that the potential environmental impacts resulting
from such production are not reasonably foreseeable. As we have explained, generally
there is not sufficient information available to determine the origin of the gas that will be
transported. It is the states, rather than the Commission, that have jurisdiction over the
production of natural gas and thus would be most likely to have the information
necessary to reasonably foresee future production. We are aware of no such forecasts by
the states or other entities, rendering the Commission unable to rneaningffifly predict
production-related impacts, many of which are highly localized. Thus, even if the
Commission knows the general source area of gas likely to be transported on a given




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pipeline, a meaningful analysis of production impacts would require more detailed
information regarding the number, location, and timing of wells, roads, gathering lines,
and other appurtenant facilities, as well as details about production methods, which can
vary per producer and depending on the applicable regulations in the various states.
Accordingly, to date, the impacts of natural gas production are not reasonably foreseeable
because they are “so nebulous” that we “cannot forecast [theirJ likely effects” in the
context of an environmental analysis of the impacts related to construction and
modification of natural gas pipeline facilities.263

262. Nonetheless, we note that, although not required by NEPA, a number of federal
agencies have examined the potential environmental issues associated with




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unconventional natural gas production in order to provide the public with a more
complete understanding of the potential impacts. DOE has concluded that such
production, when conforming to regulatory requirements, implementing best
management practices, and administering pollution prevention concepts, may have
temporary, minor impacts to water resources.264 EPA has concluded that hydraulic

development led to planned freeway, rather than the reverse, notwithstanding the
                                                                                                Page 104 of 140
project’s potential to induce additional development).
      263
         Habitat Educ. Ctr. v. US. forest Serv., 609 F.3d 897, 902 (7th Cir. 2010)
(agency need not discuss projects too speculative for meaningful discussion).
      264
         U.S. Department of Energy, Addendum to Environmental Review Documents
Concerning Exports ofNatural Gas from The United States (Aug. 2014) (DOE
Addendum), http ://energy.gov/sites/prod/files/20 14/0 8/fl 8/Addendum.pdf.
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fracturing can impact drinking water resources under some circumstances and identified
conditions under which impacts from hydraulic fracturing activities can be more frequent
or severe.265 With respect to air quality, DOE found that natural gas development leads
to both short- and long-term increases in local and regional air emissions.266 It also found
that such emissions may contribute to climate change.267 But to the extent that natural
gas production replaces the use of other carbon-based energy sources, DOE found that




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there may be a net positive impact in terms of climate change.268

                            1.     Causation

263. The record in this proceeding does not demonstrate the requisite reasonably close
causal relationship between the Rover Pipeline Project and Trunkline and Panhandle
Backhaul Projects and the impacts of future natural gas production to necessitate further
analysis. The fact that natural gas production and transportation facilities are all
componçnts of the general supply chain required to bring domestic natural gas to market




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is not in dispute. This does not mean, however, that the Commission’s approval of these
particular pipeline projects will cause or induce the effect of additional or further shale
gas production. The proposed projects are responding to the need for transportation, not
creating it.

264. furthermore, arguments raised by commenters about the Rover Pipeline Project
inducing natural gas production are similar to the arguments that were raised and rejected
by both the Commission and Second Circuit Court of Appeals in Central New York Oil

       265
            See U.S. EPA, Hydraulic Fracturingfor Oil and Gas: Impacts from the




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Hydraulic Fracturing Water Cycle on Drinking Water Resources in the United States, at
ES3-4 (Dec. 2016) (final report),
http ://oftnpub.epa.gov/eims/eimscomm.getfile?p_download_id=5 29930 (finding
significant data gaps and uncertainties in the available data prevented EPA from
calculating or estimating the national frequency of impacts on drinking water resources
from activities in the hydraulic fracturing water cycle). See also Oil and Gas,’ Hydraulic
Fracturing on Federal and Indian Lands, 20 fed. Reg. 16,128, 16,130 (Mar. 26, 2015)
(BLM promulgated regulations for hydraulic fracturing on federal and Indian lands to
“provide significant benefits to all Americans by avoiding potential damages to water          Page 105 of 140
quality, the environment, and public health”).
       266
             DOE Addendum at 32.
       267
             Id at 44.
      268
             Id.
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and Gas Co., LLC.269 In that case, the Commission concluded, and the Second Circuit
agreed, that under NEPA, Marcellus shale development activities are not sufficiently
causally-related to the project to warrant in-depth consideration of the gas production
impacts because, in part, Marcellus shale development activities were not “an essential
predicate” for the project.27°




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265. Similarly here, the Commission has not found any evidence that future gas
development is an essential predicate for the projects. Moreover, whether or how
much induced gas will travel through the projects cannot be known given that a
significant amount of unconventional natural gas production currently
exists.271 Commenters fail to identify any new production specifically associated with the
proposed projects.

266. As we have explained in other proceedings, a number of factors, such as domestic
natural gas prices and production costs drive new drilling.272 If the proposed projects




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       269
           Central New York Oil and Gas Co., LLC, 137 FERC ¶ 61,121(2011), order on
reh ‘g, 138 FERC ¶ 61,104 (2012), pet. for review dismissed sub norn. Coal. for
Responsible Growth v. FERC, 485 Fed. App’x 472 (2d Cir. 2012).
       270
           Cent. N. Y. Oil & Gas Co., LLC, 137 FERC ¶ 61,121 at P 91; Coal. for
Responsible Growth, 425 F. App’x at 474 (“FERC reasonably concluded that the impacts
of that [shale gas] development are not sufficiently causally-related to the project to
warrant a more in-depth [NEPAl analysis”).
       271
          For example, in 2014, unconventional natural gas production in Pennsylvania




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was approximately 11.15 Bcf per day. Penn. Dep’t of Envtl. Prot., 2014 Oil and Gas
Annual Report at 7 fig. (July 2015),
http ://www.portal. state .pa.us/portal/server.pt/community/annual_report/2 1786 (aggregate
2014 unconventional production divided by 365 days yields 11.15 billion cubic feet per
day).
       272
            See e.g., Rockies Express Pipeline LLC, 150 FERC ¶ 61,161, at P 39 (2015)

                                                                                              Page 106 of 140
(Rockies Express). See also Sierra Club v. Clinton, 746 F. Supp. 2d 1025, 1045 (D.
Minn. 2010) (holding that the U.S. Department of State, in its environmental analysis for
an oil pipeline permit, properly decided not to assess the transboundary impacts
associated with oil production because, among other things, oil production is driven by
oil prices, concerns surrounding the global supply of oil, market potential, and cost of
production); Florida Wildflfe Fed’n v. Goldschmidt, 506 F. Supp. 350, 375 (S.D. Fla.
1921) (ruling that an agency properly considered indirect impacts when market demand,
not a highway, would induce development).
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were not constructed, it is reasonable to assume that any new production spurred by such
factors would reach intended markets through alternate pipelines or other modes of
transportation.273 Again, any such production would take place pursuant to the regulatory
authority of state and local governments.

                             ii.   Reasonable Foreseeability




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267. In addition, even if a causal relationship between our action here and additional
production were presumed, the scope of the impacts from any such induced production in
this case is not reasonably foreseeable. Knowing the identity of the producer of gas to be
shipped on a pipeline, and the general area where that producer’s existing wells are
located, does not alter the fact that the number of and precise location of any additional
wells cannot be identified in this proceeding. As we have explained previously, factors
such as market prices and production costs, among others, drive new drilling.274 These
factors, combined with the immense size of the Marcellus and Utica shale formations and




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the highly localized impacts of production would result in general estimates. Thus, a
broad analysis, based on generalized assumptions will not meaningfully assist the
Commission in its decision making, e.g. evaluating potential alternatives. Thus, unless
the Commission can ascertain specific factual infonriation regarding the nature of the
induced production, such induced production is not reasonably foreseeable.

26$. We acknowledge that CEQ’s final guidance includes the end use combustion of
coal as an example of an indirect emission from coal production. However, that example
also notes that the indirect effects of an action would vary with the circumstances of the
proposed action. The final EIS explains that the upstream production and downstream
combustion of gas is not causally connected because the production and end-use would




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occur with or without these specific projects. Therefore, the circumstances in this case do
not warrant the inclusion of production or end-use as an indirect effect of the projects.
Although EPA disagrees with this justification, this explanation does meet CEQ’s final
guidance in considering specific project circumstances and explaining the basis for the
analysis that was performed. Further, beyond a generic recommendation that we include
upstream and end-use emission in our NEPA document, EPA provides no information to
refute our justification that these emissions are not causally connected.

269. Sierra Club argues that Rover’s statement that “producer-shippers have made              Page 107 of 140
major capital investments and have committed to production and delivery schedules on


       273
             Rockies Express, 150 FERC   ¶ 61,161   at P 39.
       274
             Dominion Transmission, Inc., 153 FERC     ¶ 61,284 (2015).
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the basis of Rover’s projected in-service dates”275 demonstrates that production impacts
are both caused by the project and reasonably foreseeable. We disagree. Rather than
implying that the Rover project induced additional production of natural gas, this
statement merely acknowledges that Rover’s shippers have committed to provide natural
gas to markets through its use of the Rover proj ect. It does not distinguish between
existing production that may be currently shut-in and new production. Further, it does




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not support a conclusion that if Rover’s project were not available, the producers would
not seek alternative projects and transportation options to ensure that their production
reaches the market.

270. As noted above, upstream and downstream impacts of the type described by
commenters do not meet the CEQ definition of indirect impacts. Therefore, they are not
mandated as part of the Commission’s NEPA review. However, to provide the public
additional information and to inform our public convenience and necessity determination
under section 7(c) of the NGA,276 Commission staff, after reviewing publicly-available




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DOE and EPA methodologies, has prepared the following analyses regarding the
potential impacts associated with unconventional gas production and downstream
combustion of natural gas. As summarized below, these analyses provide only an upper-
bound estimate of upstream and downstream effects. In addition, these estimates are
generic in nature because no specific end uses have been identified and reflect a
significant amount of uncertainty.

271. With respect to upstream impacts, Commission staff estimated the impacts
associated with the production wells that would be required to provide 100 percent of the
volume of natural gas to be transported by the projects, on an annual basis for greenhouse
gases (GHG), and for the life of the project for land-use and water use within the




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Marcellus shale basin.277 According to a 2016 study by DOE and National Energy
Technology Laboratory (NETL), approximately 1.4$ acres of land is required for each
natural gas well pad and associated infrastructure (road infrastructure, water
impoundments, and pipelines).278 Based upon the project capacity and the expected


      275
            Rover December 16, 2016 Request for Immediate Commission Action.
      276                                                                                    Page 108 of 140
            15 U.S.C.   § 717f(c) (2012).
      277
            Staff assumed a 30-year life for the project.
      278
         Dep’t of Energy and Nat’l Energy Tech. Laboratory, Life Cycle Analysis of
Natural Gas Extraction and Power Generation, DOE/NETL-2015/1714, at 22, Table 3-6
(August 30, 2016) (2016 DOEiNETL Study).
Docket No. CPY5-93-000, etal.                                                  -98-

estimated ultimate recovery of Marcellus shale wells,279 between 4,656 and 9,125 wells
would be required to provide the gas over the estimated 30-year lifespan of the project.
Therefore, on a normalized basis over the life of the project,28° these assumptions lead us
to estimate an upper bound between 230 and 450 additional acres per year may be
impacted for well drilling.28’ This estimate of the number of wells is imprecise and
subject to a significant amount of uncertainty.




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272. We also estimated the amount of water required for the drilling and development
of these wells over the 30-year period using the same assumptions. The 2014
DOE/NETL Study finds that an average Marcellus shale well requires between 3.8$ and
5.69 million gallons of water for drilling and well development, depending on whether
the producer uses a recycling process in the well development.282 Therefore, the
production of wells required to supply the project could require as much as 602 million to
1.7 billion gallons of water per year on a normalized basis over the 30 year life of the
project.




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273. With respect to impacts from GHGs, the final EIS discusses the direct GHG
impacts from construction and operation of the projects and other projects that were
considered in the Cumulative Impacts analysis, the climate change impacts in the region,
and the regulatory structure for GHGs under the Clean Air Act. The final EIS also
quantifies GHG emissions from the projects construction (369,790 metric tons, C02-
equivalent [metric tpy C02eJ) and operation ($07,092 metric tpy C02e).283 The final EIS
does not include upstream emissions; however, we have conservatively estimated the

       279
          U.S. Energy Info. Admin., The Growth of U Natural Gas: An Uncertain




                                                                                              Filed: 01/29/2018
Outlookfor US. and World Supply (June 15, 2015),
http ://www.eia.gov/conference/20 1 5/pdf/presentations/staub .pdf; Dep ‘t of Energy and
Nat’! Energy Tech. Laboratory, Environmental Impacts of Unconventional Natural Gas
Development and Production, DOE/NETL-2014/1651, (May 29, 2014) (2014
DOE/NETL Study).
       280
            Normalized yearly impacts are estimated based on the overall impacts for the
life of the project averaged on a per year basis.
       281                                                                                    Page 109 of 140
          The 2016 DOE/NETL Study estimates the land-use fractions of the
Appalachian Shale region to be 72.3 percent forested lands, 22.4 percent agricultural
land, and 5.3 percent grass or open lands. 2016 DOE/NETL Study at 24, Table 3-8.
      282
             2014 DOE/NETL Study at 76, Exhibit 4-1.
      283
             Final ElS at 4-238 and 4-227 to 4-231.
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upstream GHG emissions have an upper bound of: 2.7 million metric tpy CO2e from
extraction, 5.1 million metric tpy C02e from processing, and 1.6 million metric tpy C02e
from the non-project upstream pipelines.284 Again, this is an upper-bound estimate that
involves a significant amount of uncertainty.

274. With respect to downstream GHG emissions, Commission staff used an EPA-




                                                                                              USCA Case #18-1032
developed methodology to estimate the downstream GHG emissions from a project,
assuming all of the gas to be transported is eventually combusted. The Rover Pipeline
Project is designed to deliver up to 3.25 billion cubic feet per day of overall volumes,
which can produce approximately 69,400,000 metric tpy C02e from end-use
combustion.285 We note that this estimate represents an upper bound for the amount of
end-use combustion that could result from the gas transported by this project. This is
because some of the gas may displace other fuels, which could actually lower total CO2e
emissions. It may also displace gas that otherwise would be transported via different
means, resulting in no change in C02e emissions. This estimate also assumes the




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maximum capacity is transported 365 days per year, which is rarely the case because
many projects are designed for peak use. Therefore, it is unlikely that this total amount
of GHG emissions would occur, and emissions are likely to be significantly lower than
the above estimate.

275. On August 8, 2016, Oil Change International286 filed comments, consisting of one
paragraph and an attached 32-page report, in 11 pipeline certificate proceedings,

       284
           The upstream GHG emissions were estimated using the methodology in a 2014
study conducted by DOE and NETL. Dep’t of Energy and Nat’l Energy Tech.
Laboratory, Life Cycle Analysis ofNatural Gas Extraction and Power Generation,




                                                                                              Filed: 01/29/2018
DOE/NETL-2014/1646, (May 29, 2014). Generally, the average leak and emission rates
identified in the analysis for each segment of extraction, processing, and transport were
used. The method is outlined in Section 2 of the DOE/NETL Study, and the background
data used for the model is outlined in Section 3.1. GHG emission estimates were based
on the results identified in Tables 4.3, 4.4, and 4.5. New NSPS Oil & Gas rules or other
GHG mitigation was not accounted for. Additionally, the lehgth of non-project pipeline
prior to the gas reaching project components was conservatively estimated.
      285
          Estimated using EPA’s GHG Equivalencies Calculator Calculations and
                                                                  -
                                                                                              Page 110 of 140
References available at https ://www.epa.gov/energy/ghg-equivalencies-calculator
calculations-and-references.
      286
          Oil Change International filed comments on behalf of the Sierra Club,
Earthworks, Appalachian Voices, Chesapeake Climate Action, 350.org, Bold Alliance,
Environmental Action, Blue Ridge Environmental Defense League, Protect Our Water,
Heritage and Rights (Virginia & West Virginia), Friends of Water, Mountain Lakes

                                                                             (continued...)
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including this proceeding. Oil Change International asserts that there should be a climate
test for all natural gas infrastructure, that, in light of CEQ’s 2016 GHG Guidance, “the
alignment of natural gas infrastructure permitting with national climate goals and plans
should become a priority for FERC and other federal government agencies,” and that the
Commission should “conduct full Greenhouse Gas impact analysis as part of the NEPA
process for all listed projects.”287 The report asserts generally that increased U.S. natural




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gas production in the Appalachian Basin is not consistent with safe climate goals, and
that proposed pipeline projects will increase takeaway capacity from the basin and
provide financial incentives for increased production.

276. The comments and the report provide no specific information about the Rover
Pipeline Project (or any of the other listed projects). Accordingly, this material does not
assist us in our analysis of the projects. As discussed above, we indeed do analyze the
greenhouse gas impacts of proposed projects as part of our NEPA and NGA review.




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277. As to the more global issues raised by Oil Change International, while the
Commission does not utilize a specific “climate test,” we do examine the impacts of the
projects before us, including impacts on climate change. Under NEPA, we are required
to take a “hard look” at the environmental impacts of the proposed project and we have
done so. To the extent that Oil Change International suggests an alignment of project
permitting with national climate change goals, we note that it is for Congress, the
Executive Branch, and agencies with jurisdiction over broad environmental issues to
establish such goals; our role under the NGA is considerably more limited, and we have
no authority to establish national environmental policy.

                      r.     Climate Change




                                                                                                Filed: 01/29/2018
278. EPA requests that we remove the comparison, as a frame of reference, of the
projects’ GHG emissions with state-wide GHG emission levels. EPA argues that
although this type of comparison was included in the CEQ’s draft guidance document,288
it has been removed from the CEQ’s final guidance document.289 Although this

Preservation Alliance, Sierra Club West Virginia, and Sierra Club Virginia.
      287
            Oil Change International August 8, 2016 comments at 1.                              Page 111 of 140

      288
         CEQ, Revised Draft Guidance for Federal Departments and Agencies on
Consideration of Greenhouse Gas Emissions and the Effects of Climate Change in NEFA
Reviews (December 2014).
      289
         CEQ, Final Guidance for Federal Departments and Agencies on Consideration
of Greenhouse Gas Emissions and the Effects of Climate Change in National

                                                                               (continued...)
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comparison was removed as a recommendation in the CEQ final guidance document, that
guidance does not indicate that an EIS cannot include such information. We find that
providing this frame of reference helps to better understand the magnitude of GHG
emissions. Further, the final EIS includes a discussion of climate change impacts in
section 4.13.6.10, identifies that the projects will contribute GHG emissions and the
climate change impacts occurring in the projects’ region, and notes the projects’




                                                                                             USCA Case #18-1032
consistency with climate goals in the Midwest.29°

                 3.     Environmental Analysis Conclusion

279. We have reviewed the information and analysis contained in the final EIS
regarding potential environmental effects of the Rover Pipeline, Panhandle Backhaul, and
Trunkline Backhaul Projects. Based on our consideration of this information and the
discussion above, we agree with the conclusions presented in the final EIS and find that
the projects, if constructed and operated as described in the final EIS, are




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environmentally acceptable actions. We are accepting the environmental
recommendations in the final EIS as modified herein, and are including them as
conditions in Appendix B to this order.

280. Any state or local permits issued with respect to the jurisdictional facilities
authorized herein must be consistent with the conditions of this order. The Commission
encourages cooperation between interstate pipelines and local authorities. However, this
does not mean that state and local agencies, through application of state or local laws,
may prohibit or unreasonably delay the construction or operation of facilities approved by
this Commission.291




                                                                                             Filed: 01/29/2018
Environmental Policy Act Reviews (August 1, 2016) (2016 GHG Guidance).
       290
             final EIS at 4-29 1 through 4-292.


                                                                                             Page 112 of 140
       291
          See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
authority over the transportation of natural gas is preempted) and Dominion
Transmission, Inc. v. Summers, 723 F .3 d 238, 245 (D.C. Cir. 2013) (noting that state and
local regulation is preempted by the NGA to the extent it conflicts with federal
regulation, or would delay the construction and operation of facilities approved by the
Commission).
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281. The Commission on its own motion received and made a part of the record in this
proceeding all evidence, including the applications, and exhibits thereto, and all
comments and upon consideration of the record,

The Commission orders:




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        (A) A certificate of public convenience and necessity is issued authorizing
Rover to construct and operate the Rover Pipeline Project, as described in this order and
in the application in Docket Nos. CP15-93-000 and CP15-93-001.
        (B)    Rover’s request for a blanket construction certificate under Subpart F of
Part 157 of the Commission’s regulations is denied.

       (C)    A blanket transportation certificate is issued to Rover under Subpart G of
Part 284 of the Commission’s regulations.




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       (D)    A certificate of public convenience and necessity is issued authorizing
Panhandle to construct and operate the Panhandle Bacithaul Project, as described in this
order and in the application in Docket No. CP1 5-94-000.

       (E)    A certificate of public convenience and necessity is issued authorizing
Trunkline to construct and operate the Trunkline Backhaul Project, described in this order
and in the application in Docket No. CP15-96-000.

       (F)    The certificate authority issued in Ordering Paragraphs (A), (D), and (E)
shall be conditioned on the following:




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              (1) Applicants’ completion of the authorized construction of the proposed
              facilities and making them available for service within three years from the
              date of this order, pursuant to section 157.20(b) of the Commission’s
              regulations;

              (2) Applicants’ compliance with all applicable Commission regulations
              under the NGA including, but not limited to, Parts 154 and 284, and
                                                                                              Page 113 of 140
              paragraphs (a), (c), (e), and (f) of section 157.20 of the regulations;

              (3) Applicants’ compliance with the environmental conditions listed in
              Appendix B to this order.

       (G)     Rover, Panhandle, and Trunkline must execute firm contracts equal to the
level of service and in accordance with the terms of service represented in their precedent
agreements prior to commencement of construction.
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         (H)   Rover’s initial rates and tariff are approved, as conditioned and modified
above.

         (I)   Rover is required to file actual tariff records reflecting the initial rates and
tariff that comply with the requirements contained in the body of this order not less than
30 days and not more than 60 days prior to the commencement of interstate service




                                                                                                  USCA Case #18-1032
consistent with Part 154 of the Commission’s regulations.


         (J)   As described in this order, not less than 30 days and not more than 60 days
prior to commencement of service of the proposed facilities, Rover must file an executed
copy of the non-conforming agreements reflecting the non-conforming language and a
tariff record identifying these agreements as non-confonriing agreements consistent with
section 154.112 of the Commission’s regulations.




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       (K)     Within three years after its in-service date, as discussed herein, Rover must
make a filing to justify its existing cost-based firm and interruptible recourse rates.
Rover’s cost and revenue study should be filed through the eTariff portal using a Type of
Filing Code 580. In addition, Rover is advised to include as part of the efiling
description, a reference to Docket Nos. CP15-93-000 and CP15-93-001 and the cost and
revenue study.

        (L)    Panhandle’s and Trunkline’s existing system rates are approved as initial
rates for the certificated incremental capacity attributable to the proposed Panhandle
Backhaul Project and Trunkline Backhaul Project, respectively.




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        (M) Panhandle’s and Trunkline’s requests for a predetermination supporting
rolled-in rate treatment of project costs attributable to the proposed Panhandle Backhaul
Project and Trunkline Backhaul Project, respectively, in their next NGA general section 4
rate proceedings are granted, absent a significant change in material circumstances, as
discussed in the body of this order.

        (N) Rover, Panhandle, and Trunkline shall notify the Commission’s
environmental staff by telephone or facsimile of any environmental noncompliance                  Page 114 of 140
identified by other federal, state, or local agencies on the same day that such agency
notifies Rover, Panhandle, or Trunkline. The Applicants shall file written confirmation
of such notification with the Secretary of the Commission within 24 hours.

      (0) The timely, opposed motions to intervene filed by the G&B Landowners
and Ohio Farm Bureau Federation, Inc. are granted.
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       (P)    The late, unopposed motions to intervene filed before issuance of this order
in each respective docket are granted pursuant to Rule 2 14(d) of the Commission’s Rules
of Practice and Procedure.

       (Q)    The late, opposed motion to intervene filed by Sierra Club is granted.




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       (R)    The request for a full evidentiary, trial-type hearing is denied.

By the Commission.

(SEAL)



                                               Nathaniel J. Davis, Sr.,




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                                                 Deputy Secretary.




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                                    Appendix A
                                  Intervenor List

Intervenors in CP15-93-000:




                                                                                     USCA Case #18-1032
   •   Allegheny Defense Project
   •   American Energy Utica, LLC
                        -




   •   Mark Arnicone
   •   Antero Resources Corporation
   •   Dave J. Baumberger
   •   Lawrence E. Bound, Jr.
   •   Michael J. Boyce
   •   Esther M. Boyce




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   •   Columbia Gas Transmission, LLC
   •   CONSOL Mining Company LLC
   •   Consumers Energy Company
   •   David A. Daniel
   •   E&W Landowners
   •   EQT Energy, LLC
   •   FirstEnergy Service Company
   •   FreshWater Accountability Project
   •   G&B Landowners
   •   Marijan E. Grogoza




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   •   Janet Grogoza
   •   Jeff Grogoza
   •   Heartwood
   •   Larry H. Helmick
   •   Holzworth
   •   Gary A. Hummel
   •   Independent Oil & Gas Association of West Virginia, Inc.

                                                                                     Page 116 of 140
   •   International Transmission Company d/b/a ITC Transmission and Michigan
       Electric Transmission Company, LLC
   •   J.D. Stiliwater, Ann Stiliwater and Barbara Dewey
   •   Catherine Jarrell and Denise Bing
   •   Judy A. Kaylor
   •   Terrance Lahr
   •   Gary A. Lehman
   •   Marshall Land LLC
   •   John J. McCarron
   •   Paul Melanko, Jr. and Joseph Munjas
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   •   Michigan Public Service Commission
   •   David Morton
   •   Frank Munsell
   •   Murray Energy Corporation, American Energy Corporation, Ohio Valley
       Resources, The Ohio Valley Coal Company, The Oklahoma Coal Company,




                                                                                     USCA Case #18-1032
       Murray American Energy Inc., Consolidation Coal Company, and The Ohio
       County Coal Company
   •   NJR Energy Services Company
   •   Ohio Farm Bureau federation, Inc.
   •   Ohio Valley Environmental Coalition
   •   Putnam Township, Michigan
   •   Range Resources-Appalachia, LLC
   •   Rice Energy Marketing LLC
   •   Kurt and Heidi Roy-Borland




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   •   Sequent Energy Management, LP.
   •   Sierra Club
   •   STC Holdings, LLC; Stark Truss Company, Inc.; Yoder Florida, LLC; and V K S
       Farms, L.L.C.
   •   SWN Energy Services Company, LLC
   •   The East Ohio Gas Company d/b/a Dominion East Ohio
   •   Douglas Utz
   •   Vector Pipeline L.P.
   •   Wood/Hancock County Landowners Against Rover




                                                                                     Filed: 01/29/2018
Intervcnors in CP15-94-000:

   •   Allegheny Defense Project
   •   American Energy Utica, LLC
                        -




   •   Anadarko Energy Services Company
   •   Lawrence E. Bound, Jr.

                                                                                     Page 117 of 140
   •   Chevron U.S.A. Inc.
   •   Columbia Gas of Ohio, Inc.
   •   ConocoPhillips Company
   •   Consumers Energy Company
   •   DTE Gas Company
   •   EQT Energy, LLC
   •   Exelon Corporation
   •   FirstEnergy Service Company
   •   Fresh Water Accountability Project
   •   Heartwood
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                                                                           -




    •   Indiana Gas Company, Inc. d/b/a Vectren Energy Delivery of Indiana, Inc.
    •   Laclede Gas Company
    •   Michigan Gas Utilities Corporation
    •   Michigan Public Service Commission
    •   Missouri Public Service Commission
    •   NJR Energy Services Company
    •   Ohio Valley Environmental Coalition
    •   Range Resources-Appalachia, LLC
    •   Sequent Energy Management, L.P.
    •   Sierra Club
    •   SWN Energy Services Company, LLC
    •   The East Ohio Gas Company d/b/a Dominion East Ohio
    •   VectorPipelineLP.
    •   Vectren Energy Delivery of Ohio, Inc.

 Intervenors in CP15-96-000:

    •   Allegheny Defense Project
    •   Lawrence E. Bound, Jr.
    •   Chevron U.S.A. Inc.
    •   Columbia Gas of Ohio, Inc.
    •   Consumers Energy Company
    •   DTE Gas Company
    •   EQT Energy, LLC
    •   Exelon Corporation
    •   FirstEnergy Service Company
    •   FreshWater Accountability Project
    •   Heartwood
    •   Laclede Gas Company
    •   Michigan Public Service Commission
    •   Missouri Public Service Commission
    •   NJR Energy Services Company
    •   Ohio Valley Environmental Coalition
    •   Range Resources-Appalachia, LLC
    •   Sequent Energy Management, L.P.
    •   Sierra Club
    •   SWN Energy Services Company, LLC
    •   Tennessee Valley Authority
    •   The East Ohio Gas Company d/b/a Dominion East Ohio
    •   The Peoples Gas Light and Coke Company
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       Vector Pipeline L. P.
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                                     Appendix B
                               Environmental Conditions

As recommended in the final environmental impact statement (ElS) and otherwise
amended herein, this authorization includes the following conditions. The section
number in parentheses at the end of a condition corresponds to the section number in




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which the measure and related resource impact analysis appears in the final EIS.

1.    Each applicant shall follow the construction procedures and mitigation measures
      described in its application and supplements, including responses to staff data
      requests and as identified in the EIS, unless modified by the order. Each applicant
      must:

      a.     request any modification to these procedures, measures, or conditions in a
             filing with the Secretary of the Commission (Secretary);




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      b.     justify each modification relative to site-specific conditions;
      c.     explain how that modification provides an equal or greater level of
             environmental protection than the original measure; and
      d.     receive approval in writing from the Director of the Office of Energy
             Projects (OEP) before using that modification.

2.    The Director of OEP has delegated authority to take whatever steps are necessary
      to ensure the protection of all environmental resources during construction and
      operation of the projects. This authority shall allow:




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      a.     the modification of conditions of the order; and
      b.     the design and implementation of any additional measures deemed
             necessary (including stop-work authority) to ensure continued compliance
             with the intent of the environmental conditions as well as the avoidance or
             mitigation of adverse environmental impact resulting from construction and
             operation of the projects.

3.    Prior to any construction, each applicant shall file an affirmative statement with    Page 120 of 140
      the Secretary, certified by a senior company official, that all company personnel,
      environmental inspectors (El), and contractor personnel will be informed of the
      Els’ authority and have been or will be trained on the implementation of the
      environmental mitigation measures appropriate to their jobs before becoming
      involved with construction and restoration activities.

4.    The authorized facility locations shall be as shown in the EIS, as supplemented by
      filed alignment sheets. As soon as they are available, and before the start of
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      construction, the applicants shall file any revised detailed survey alignment
      maps/sheets at a scale not smaller than 1:6,000 with station positions for all
      facilities approved by the order. All requests for modifications of environmental
      conditions of the order or site-specific clearances must be written and must
      reference locations designated on these alignment maps/sheets.




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      Rover’s exercise of eminent domain authority granted under Natural Gas Act
      (NGA) Section 7(h) in any condemnation proceedings related to the order must be
      consistent with these authorized facilities and locations. Rover’s right of eminent
      domain granted under NGA Section 7(h) does not authorize it to increase the size
      of its natural gas pipeline to accommodate future needs or to acquire a right-of-
      way for a pipeline to transport a commodity other than natural gas.

5.    Each applicant shall file detailed alignment maps/sheets and aerial photographs at
      a scale not smaller than 1:6,000 identifying all route realignments or facility




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      relocations, and staging areas, contractor yards, new access roads, and other areas
      that would be used or disturbed and have not been previously identified in filings
      with the Secretary. Approval for each of these areas must be explicitly requested
      in writing. F or each area, the request must include a description of the existing
      land use/cover type, and documentation of landowner approval, whether any
      cultural resources or federally listed threatened or endangered species would be
      affected, and whether any other environmentally sensitive areas are within or
      abutting the area. All areas shall be clearly identified on the maps/sheets/aerial
      photographs. Each area must be approved in writing by the Director of OEP
      before construction in or near that area.




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      This requirement does not apply to extra workspace allowed by Rover’s Plans
      and/or minor field realignments per landowner needs and requirements which do
      not affect other landowners or sensitive environmental areas such as wetlands.

      Examples of alterations requiring approval include all route realignments and
      facility location changes resulting from:


                                                                                            Page 121 of 140
      a.     implementation of cultural resources mitigation measures;
      b.     implementation of endangered, threatened, or special concern species
             mitigation measures;
      c.     recommendations by state regulatory authorities; and
      d.     agreements with individual landowners that affect other landowners or
             could affect sensitive environmental areas.

6.    Within 60 days of the acceptance of the Certificate and before construction
      begins, each applicant shall file its respective Implementation Plan for review and
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      written approval by the Director of OEP. Each applicant must file revisions to its
      plan as schedules change. The plans must identify:

      a.    how the applicants will implement the construction procedures and
            mitigation measures described in its application and supplements (including
            responses to staff data requests), identified in the ElS, and required by the




                                                                                             USCA Case #18-1032
            order;
      b.    how the applicants will incorporate these requirements into the contract bid
            documents, construction contracts (especially penalty clauses and
            specifications), and construction drawings so that the mitigation required at
            each site is clear to onsite construction and inspection personnel;
      c.    the number of Els assigned, and how the company will ensure that
            sufficient personnel are available to implement the environmental
            mitigation;




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      d.    company personnel, including Els and contractors, who will receive copies
            of the appropriate material;
      e.    the location and dates of the environmental compliance training and
            instructions the applicants will give to all personnel involved with
            construction and restoration (initial and refresher training as the proj ects
            progress and personnel change) with the opportunity for OEP staff to
            participate in the training sessions;
      f.    the company personnel (if known) and specific portion of the applicant’s
            organization having responsibility for compliance;




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      g.    the procedures (including use of contract penalties) the applicants will
            follow if noncompliance occurs; and
     h.     for each discrete facility, a Gantt or PERT chart (or similar project
            scheduling diagram), and dates for:
            (1)    the   completion of all required surveys and reports;
            (2)    the   environmental compliance training of onsite personnel;
            (3)    the   start of construction; and
            (4)    the   start and completion of restoration.                                Page 122 of 140

7.   Rover shall employ at least one El per construction spread. Panhandle and
     Trunkline shall employ at least one El per project. The Els shall be:

     a.     responsible for monitoring and ensuring compliance with all mitigation
            measures required by the order and other grants, permits, certificates, or
            other authorizing documents;
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      b.     responsible for evaluating the construction contractor’s implementation of
             the environmental mitigation measures required in the contract (see
             condition 6 above) and any other authorizing document;
      c.     empowered to order correction of acts that violate the environmental
             conditions of the order, and any other authorizing document;




                                                                                                USCA Case #18-1032
      d.     a full-time position, separate from all other activity inspectors;
      e.    responsible for documenting compliance with the environmental conditions
            of the order, as well as any environmental conditions/permit requirements
            imposed by other federal, state, or local agencies; and
      f.    responsible for maintaining status reports.

8.    Beginning with the filing of its Implementation Plan, Rover shall file updated
      status reports with the Secretary on a weekly basis until all construction and




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      restoration activities are complete. Beginning with the filing of their respective
      Implementation Plans, Panhandle and Trunkline shall file updated status reports
      with the Secretary on a monthly basis until construction and restoration
      activities are complete. On request, these status reports will also be provided to
      other federal and state agencies with permitting responsibilities. Status reports
      shall include:

      a.    an update on the applicant’s efforts to obtain the necessary federal
            authorizations;
      b.    the construction status of the their respective project facilities, work




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            planned for the following reporting period, and any schedule changes for
            stream crossings or work in other environmentally sensitive areas;
      c.    a listing of all problems encountered and each instance of noncompliance
            observed by the Els during the reporting period (both for the conditions
            imposed by the Commission and any environmental conditions/permit
            requirements imposed by other federal, state, or local agencies);
      d.    a description of corrective actions implemented in response to all instances
                                                                                                Page 123 of 140
            of noncompliance, and their cost;
      e.    the effectiveness of all corrective actions implemented;
      f.    a description of any landowner/resident complaints that may relate to
            compliance with the requirements of the order, and the measures taken to
            satisfy their concerns; and
      g.    copies of any correspondence received by the applicants from other federal,
            state, or local permitting agencies concerning instances of noncompliance,
            and the applicant’s response.
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9.    Prior to receiving written authorization from the Director of OEP to commence
      construction of their respective project facilities, each applicant shall file
      documentation that it has received all applicable authorizations required under
      federal law (or evidence of waiver thereof).

10.   Each applicant must receive written authorization from the Director of OEP




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      before placing its respective project into service. Such authorization will only
      be granted following a determination that rehabilitation and restoration of areas
      affected by the project are proceeding satisfactorily.

11.   Within 30 days of placing the authorized facilities in service, each applicant
      shall file an affirmative statement with the Secretary, certified by a senior
      company official:

      a.     that the facilities have been constructed in compliance with all applicable




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             conditions, and that continuing activities will be consistent with all
             applicable conditions; or
      b.     identifying which of the Certificate conditions the applicant has complied
             or will comply with. This statement shall also identify any areas affected
             by their respective projects where compliance measures were not properly
             implemented, if not previously identified in filed status reports, and the
             reason for noncompliance.

12.   As part of its Implementation Plan, Rover shall confirm the location of the
      Seneca Lateral within its non-exclusive easement and identify any locations where




                                                                                           Filed: 01/29/2018
      the lateral would deviate from the non-exclusive easement in accordance with
      condition 5.

13.   Prior to construction, Rover shall adopt workspace modifications for MPs SEL
      22.7, or file with the Secretary written documentation that Rover and the
      landowner have reached an alternative agreement. Additionally, Rover shall file
      with the Secretary revised alignment sheets for the Seneca Lateral that
      incorporates the modification into the Rover Pipeline Project.
                                                                                           Page 124 of 140
14.   Prior to construction, Rover shall adopt the minor route variations for mileposts
      (MP) MJL 13.5 and MS 65.0 (as specified in table 3.4.3-3 and depicted in
      appendix 12 of the final EIS) and adopt the additional mitigation measures for MP
      BGL 1.0 (see table 3.4.3-3 of the final EIS). Rover shall file with the Secretary
      updated alignment sheets incorporating these minor route variations.

15.   Prior to construction, Rover shall hire a professional geologist to monitor
      construction of the project in the five areas that were identified in the January
      2016 Field Reconnaissance of Karst Prone Areas Report.
Docket No. CP15-93-000, etal.                                                  -   114-

16.   Prior to construction, Rover shall file with the Secretary clarification that it has
      adopted the mitigation measures outlined in its October 2015 Geohazard
      Evaluation Report.

17.   Prior to construction, Rover shall file information identifying the type of all
      public water wells located within 150 feet of the project area without an identified




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      well type and documentation of consultation with appropriate resource agencies
      for all public water supplies within 150 feet of the project area.

1$.   Rover shall provide affected landowners with copies of applicable pre- and post-
      construction evaluation reports for all wells within 150 feet of the proposed
      construction work area (and within 2,000 feet of horizontal directional drill [HDD]
      locations in areas of karst terrain). Post-construction evaluations shall be
      performed as soon as practicable following the completion of construction in the
      area of applicable well(s).




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19.   Prior to construction, Rover shall confirm that it will use dry-ditch crossing
      methods for all waterbodies designated as coldwater fisheries or exceptional
      warmwater habitat, except those already proposed as an HDD crossing.

20.   Prior to construction, Rover shall file with the Secretary, for the review and
      written approval by the Director of OEP, a revised Fugitive Dust Control Plan that
      identifies the following:

      a.     the name and approximate intake location (if applicable) of each water
             source that will be used to obtain water for dust suppression activities;




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      b.     how Rover will determine that dust abatement is necessary;
      c.     the specific maximum speed limit for construction equipment and
             procedure for posting and enforcing this speed limit;
      d.     the site and/or construction activity conditions requiring the installation of
             gravel pads;
      e.     the track-out control devices that construction traffic will cross;
      f.     the maintenance procedures that Rover will use for construction equipment        Page 125 of 140
             to reduce dust; and
      g.     how and under what circumstances Rover will cover open-bodied haul
             trucks, as appropriate.

21.   During construction of its project, Rover shall not clear any trees between the
      workspaces for HDD entry and exit sites. Rover may conduct minor brush
      clearing, less than 3 feet wide, using hand tools only, to facilitate the use of the
      HDD tracking system or acquisition of water for the makeup of the HDD slurry.
Docket No. CP15-93-000, etal.                                                -   115-

      During operation, Rover shall not conduct any routine vegetation maintenance
      along the HDD segments.

22.   Prior to construction, Rover shall file revised alignment sheets that limit its
      construction right-of-way width in areas of dual pipeline to 95 feet and in areas of
      single pipeline to 75 feet in all wetlands (excluding the wetland at MP $6.7 on the




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      Market Segment).

23.   Prior to construction, Rover shall revise the Invasive Species Plan, in
      consultation with the appropriate federal, state, and local agencies, to include
      mitigation measures that would be taken during construction to prevent the spread
      of invasive species. Mitigation may include, but is not limited to: training of
      workers in the recognition of invasive species and to be familiar with locations
      where invasive species were identified during surveys, cleaning of equipment
      prior to entering the right-of-way, or setting up wash stations to remove invasive




                                                                                             Document #1715763
      species from vehicles, equipment, and materials in areas identified as having an
      invasive species present. Rover shall file the revised plan with the Secretary, for
      review and written approval of the Director of OEP.

24.   Prior to construction, Rover shall file with the Secretary its final Migratory Bird
      Conservation Plan that includes documentation of its consultation with the U.S.
      Fish and Wildlife Service (FWS) regarding avoidance, minimization, and
      mitigation measures.

25.   During construction of its project, Rover shalladhere to the FWS tree clearing
      window and shall restrict tree clearing activities to between October 1 and




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      March 31 in Michigan, Ohio, and Pennsylvania and to between November 15
      and March 31 in West Virginia.

26.   Rover shall not begin construction of the Rover Pipeline Project until it files with
      the Secretary its Indiana Bat Conservation Plan and has received written
      notification from the Director of OEP that construction and/or use of mitigation
      may begin.

27.   Prior to construction, Rover shall confirm that it will incorporate into its           Page 126 of 140
      construction plans requirements that worksites be maintained in a neat and orderly
      manner, with all personal trash items disposed of properly; and that construction
      debris be removed from all work areas in a timely manner, and disposed of in a
      state-approved off site location by the end of each work day.

2$.   Prior to construction, Rover shall continue to consult with applicable state
      agencies to identifv any additional mitigation measures for state-protected species
      and the need for additional surveys for Ohio, Michigan, West Virginia, and
Docket No. CP15-93-000, etal.                                                 -   116-

      Pennsylvania. The results of such consultations and any outstanding surveys shall
      be filed with the Secretary.

29.   Prior to construction, Rover shall file with the Secretary, for the review and
      written approval of the Director of OEP, evidence of landowner concurrence with
      the site-specific residential construction plans for all locations where construction




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      work areas would be within 10 feet of a residence (including residences within the
      construction workspace).

30.   Prior to construction, Rover shall file with the Secretary a 5-year post-U
      construction monitoring program to evaluate crop productivity in areas impacted
      by the construction of the project. Rover shall include in the program a
      commitment to file with the Secretary quarterly reports for a period of 5 years
      following construction documenting any crop-related problems, including soil
      heating near compressor stations identified by the company or landowner, and




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      describing any corrective action taken to remedy those problems. The program
      shall stipulate that if any landowner agrees that revegetation and crop productivity
      are successful prior to the 5-year requirement, Rover shall provide documentation
      in its quarterly reports, indicating which landowners have agreed that monitoring
      is no longer necessary. This documentation shall include the landowner name,
      tract number, and the date of agreement.

31.   Prior to construction, Rover shall consult with the Ohio Department of
      Agriculture (OHDA) on construction procedures to be used in agricultural land in
      Ohio, and Rover shall file with the Secretary any updates to the Ohio Agriculture




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      Impact Mitigation Plan (AIMP) that result from coordination with the OHDA.
      Any comments received from the ORDA on Rover’s Ohio AIMP shall also be
      filed with the Secretary.

32.   Prior to construction in agricultural lands, Rover shall file with the Secretary
      its final Drain Tile Relocation and Reclamation Plans, including documentation of
      landowner consultation with the plans.


                                                                                              Page 127 of 140
33.   Prior to construction, Rover shall commit to hire local drain tile contractors to
      install/repair drain tiles that are damaged or need to be rerouted due to
      construction activities.

34.   Upon completion of construction, Rover shall provide information on
      encountered, severed, and/or damaged drain tile lines to the landowner, the local
      county Soil and Water Conservation District, and the information shall be kept in
      the company’s landowner records for future reference.

35.   Prior to construction, Rover shall file with the Secretary, for review and written
      approval of the Director of OEP, an impact avoidance, minimization, or mitigation
Docket No. CP15-93-000, etal.                                                  -   117-

      plan for the organic farm at MP MAB 57.8. Rover shall include documentation
      that the plan was developed in consultation with the landowner.

36.   Prior to construction, Rover shall file with the Secretary, for review and written
      approval of the Director of OEP, a complete list of all Conservation Reserve
      Program (CRP) enrolled lands that would be crossed by the project by milepost.




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      In addition, Rover shall file with the Secretary any revised impact mitigation
      measures or conservation plans that will be necessary in order to maintain CRP
      compliance along with confirmation from the U.S. Department of Agriculture’s
      farm Service Agency that parcels will remain eligible for the program if the
      specified mitigation is implemented. If parcels will no longer be eligible for
      enrollment, Rover shall identify how it will compensate landowners for the lost
      program benefits.

37.   Prior to construction, Rover shall file with the Secretary, for review and written




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      approval of the Director of OEP, an impact avoidance, minimization, or mitigation
      plan for the trails located in the Pinckney Recreation Area. Rover shall include
      documentation that the plan was developed in consultation with the Michigan
      Department of Natural Resources.

38.   Prior to construction of Mainline Compressor Stations 1 and 3, Rover shall
      file with the Secretary revised visual screening plans for these compressor stations
      that incorporate a second row of Colorado blue spruce and adopt a spacing of 20
      feet or less between the trees in each row.

39.   Rover shall file with the Secretary reports describing any documented complaints




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      from affected landowners that a homeowner’s insurance policy was either
      cancelled or voided due directly to the grant of the pipeline right-of-way or
      installation of the pipeline and/or that the premium for the homeowner’s insurance
      increased materially and directly as a result of the grant of the pipeline right-of-
      way or installation of the pipeline. The reports shall also identify how Rover has
      mitigated the impact. These reports shall be included in Rover’s weekly
      construction status reports and in its quarterly reports for a 2-year period
                                                                                               Page 128 of 140
      following in-service of the project.

40.   Rover shall not begin implementation of any treatment plans/measures (including
      archaeological data recovery); construction of facilities; or use of staging, storage,
      or temporary work areas and new or to-be-improved access roads until:

      a.     Rover files with the Secretary:
             (1)    the Ohio State Historic Preservation Office’s (SHPO) comments on
                    Ohio archaeological and architectural survey reports;
Docket No. CP15-93-000, etal.                                                -   118-

             (2)    the Michigan SHPO’s comments on the Michigan final report,
                    addendum 1 and 2 reports, and avoidance plan for 11 sites;
             (3)    the West Virginia SHPO’s comments on the revised West Virginia
                    survey report;
             (4)    the Pennsylvania SHPO’s comments on the additional architectural




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                    information requested in its April 13, 2015 letter;
             (5)    all outstanding cultural resources survey/testing reports and any
                    required evaluation reports, and the SHPOs’ comments on the
                    reports;
             (6)    any necessary treatment plans or site-specific protection plans, and
                    the appropriate SHPO’s comments on the plans;
      b.     the Advisory Council on Historic Preservation is provided an opportunity to
             comment if historic properties would be adversely affected; and




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      c.     the FERC staff reviews and the Director of OEP approves all cultural
             resources survey reports and plans, and notifies Rover in writing that
             treatment plans/mitigation measures may be implemented or construction
             may proceed.

      All material filed with the Secretary containing location, character, and
      ownership information about cultural resources must have the cover and any
      relevant pages therein clearly labeled in bold lettering: “CONTAINS
      PRIVILEGED INFORMATION DO NOT RELEASE.”
                                          -




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41.   Rover shall not begin construction of project facilities until FERC staff
      concludes its resolution of adverse effects as they relate to the Stoneman House, in
      compliance with section 106 of the National Historic Preservation Act.

42.   Rover shall file in the weekly construction status reports the following
      for each HDD entry and exit site:
      a.     the noise measurements from the nearest noise-sensitive area (NSA) for

                                                                                             Page 129 of 140
             each drill entry/exit site, obtained at the start of drilling operations;
      b.     the noise mitigation that Rover implemented at the start of drilling
             operations; and
      c.     any additional mitigation measures that Rover would implement if the
             initial noise measurements exceeded an day-night sound level (Ldn) of 55
             decibels on the A-weighted scale (dBA) at the nearest NSA and/or
             increased noise is over ambient conditions greater than 10 decibels.

43.   Rover shall file a noise survey with the Secretary no later than 60 days after
      placing each of the Rover Pipeline Project compressor stations in service. If a full
Docket No. CP15-93-000, etal.                                                 -   119-

      load condition noise survey of the entire station is not possible, Rover shall instead
      file an interim survey at the maximum possible horsepower load and file the full
      load survey within 6 months. If the noise attributable to the operation of all of
      the equipment at any compressor station under interim or full horsepower load
      conditions exceeds 55 dBA Ld at any nearby NSAs, Rover shall file a report on
      what changes are needed and shall install the additional noise controls to meet the




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      level within 1 year of the in-service date. Rover shall confirm compliance with
      the 55 dBA Ld requirement by filing a second noise survey with the Secretary no
      later than 60 days after it installs the additional noise controls.

44.   Prior to construction, Rover shall file with the Secretary, for the review and
      written approval of the Director of OEP, a construction coordination plan that
      identifies the specific construction measures (such as retention of the same
      contractor, re-use of equipment bridges, coordinated installation of erosion control
      devices, or restoration commitments) that Rover and Columbia Gas Transmission




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      System, LLC have agreed to implement in the construction of the parallel portions
      of their respective projects in the non-exclusive easement.

45.   Prior to construction, Rover shall revise the route alignment on tract OH-SI
      024.000 (Terrance Lahr property) as shown on page 3 of Mr. Lahr’s October 5,
      2016 filing;     develop, in coordination with Mr. Lahr, a mutually agreeable site
      specific parcel access plan that accommodates temporary and permanent vehicular
      access to the Lahr property.




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                              161 FERC ¶ 61,244
                         UNITED STATES OF AMERICA
                  FEDERAL ENERGY REGULATORY COMMISSION

Before Commissioners: Neil Chatterjee, Chairman;
                      Cheryl A. Lafleur and Robert F. Powelson.




                                                                                              USCA Case #18-1032
Rover Pipeline LLC                                              Docket Nos. CP15-93-002

Panhandle Eastern Pipe Line Company, LP                                    CP15-94-001

Trunkline Gas Company, LLC                                                 CP15-96-001




                                                                                              Document #1715763
             ORDER ON CLARIFICATION AND DENYING REHEARING


                                   (Issued November 30, 2017)


 1.     On February 2, 2017, the Commission issued an order under section 7(c) of the
Natural Gas Act (NGA)1 authorizing Rover Pipeline LLC (Rover) to construct and




                                                                                              Filed: 01/29/2018
operate approximately 510.7 miles of new interstate pipeline and related facilities
extending from the Appalachian supply area to an interconnection with Vector Pipeline,
LP in Livingston County, Michigan (Rover Pipeline Project).2 In doing so, the
Commission denied Rover’s request for a blanket certificate under Part 157, Subpart F of
the Commission’s regulations to perform certain routine construction activities and
operations in light of Rover’s intentional demolition of a house identified as eligible for
listing in the National Register of Historic Places and within the visual area of potential
effects of the project.
                                                                                              Page 131 of 140




      115   U.S.C.   §   717f(c) (2012).
      2
          Rover Fipeline LLC, 158 FERC     ¶ 61,109 (2017) (February 2 Order).
Docket Nos. CP15-93-002, etal.                                                   -2-

2.     On March 6, 2017, Rover sought rehearing.3 For the reasons discussed below, this
request is denied.

3.      No other requests for rehearing were filed. However, on February 27, 2017, the
Freshwater Accountability Project and Sierra Club (jointly Sierra Club) filed an objection
to the mitigation commitments and implementation reflected in the February 2 Order.4




                                                                                               USCA Case #18-1032
Sierra Club’s filing points out a misstatement in the February 2 Order which we will
clarify below.

I.     Blanket Certificate Authority

       A.       Background and Rehearing Request

4.      During the certificate proceeding, the Commission learned that Rover had
demolished the Stonernan House, an 1843 historic federal house that was eligible for
listing in the National Register of Historic Places and within the area of potential effects




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of the project. In the February 2 Order, the Commission found that Rover’s demolition
of the Stoneman House indicated that Rover could not be relied upon to comply with the
environmental regulations required for all blanket certificate projects. Accordingly, the
Commission denied Rover’s request for a Part 157, Subpart F blanket certificate of public
convenience and necessity.5 On rehearing, Rover argues that this decision was arbitrary
and capricious because the Commission did not find that Rover “intended” to circumvent
the requirements of section 106 of the National Historic Preservation Act (NHPA).
Rover maintains that such a finding is a necessary prerequisite to a denial of Rover’s
blanket certificate request and that no evidence in the record showed that Rover had such
intent. We disagree with each point.




                                                                                               Filed: 01/29/2018
        On March 2 2017, ECOV-Vrindaban, Inc., d/b/a ECOV and ECO Village and
ISKCON New Vrindaban, Inc., known as Krishna Consciousness, also filed a request for
rehearing, but subsequently withdrew its request. See March 28, 2017 Letter to the
Commission from Thomas Butz, Counsel for Krishna Consciousness.
                                                                                               Page 132 of 140
       ‘
         Rule 713(c)(2) of the Commission’s Rules of Practice and Procedure requires
that a rehearing request include a separate section entitled “Statement of Issues” listing
each issue presented to the Commission in a separately enumerated paragraph. Any issue
not so listed will be deemed waived. 18 C.F.R. § 385.7 13(c)(2) (2017). Sierra Club’s
objection does not satisfy these requirements and thus will not be treated as a request for
rehearing.

           February 2 Order, 158 FERC   ¶ 61,109 at PP 25 3-54.
Docket Nos. CP15-93-002, et al.                                                  -   3   -




5.      Section 106 of the NHPA requires the Commission to take into account the effect
of a proposed project on any historic property.6 A “historic property” is any property that
is “in, or eligible for inclusion in,” the National Register of Historic Places.7 The
Commission must consult with the relevant State Historic Preservation Officer (SHPO) to
identify those properties, identify any adverse effects that a proposed project might have
on them, and then evaluate modifications to the project that would avoid, minimize, or




                                                                                               USCA Case #18-1032
mitigate those adverse effects, subject to agreement by the SHPO.8 If adverse effects
cannot be avoided, the Commission may only grant a Certificate after notifying the
Advisory Council on Historic Preservation (Advisory Council).9

6.      Section 110(k) of the NHPA directs federal agencies to withhold federal
assistance, including licenses or permits, when “an applicant who, with intent to avoid the
requirements of [section 106], has intentionally significantly adversely affected a historic
property,” unless the agency, after consultation with the Advisory Council, determines
that “circumstances justify granting such assistance.”10




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7.      During the pre-filing process, Rover identified the Stoneman House, located
across the street from Rover’s proposed mainline Compressor Station 1, as potentially
eligible for listing in the National Register of Historic Places.” To mitigate any potential
project effects, Rover committed to developing a solution that would avoid adverse
effects on the structure. 12 In the draft and final Environmental Impact Statement (EIS),
staff recommended that Rover develop a visual screening plan for Compressor




                                                                                               Filed: 01/29/2018
       6
            54 U.S.C.   § 306108 (2012).
       7jd. §300308.
       8
            See 36 C.F.R.   § 800.3—800.6 (2017).
            54 U.S.C.   § 306108, 36 C.F.R. § 800.6.
                                                                                               Page 133 of 140
       10
            54 U.S.C.   § 306113 (2012).
         On February 4 and 5, 2015, staff met with representatives from Rover and
expressed concern about the proposed compressor station’s potential visual impacts on
the Stonernan House.
       12
         Rover, Application of Rover Pipeline LLC for a Certificate of Public
Convenience and Necessity, Docket No. CP15-93-000, at Volume IIA, Resource
Report 4 at 4-1 1 (filed February 20, 2015).
Docket Nos. CP15-93-002, etal.                                                      -4-

Station 113 Instead, Rover, without notice to the Commission, demolished the $toneman
House.’4

8.     Rover claims that it bought the property on May 11, 2015, in part, for use as office
space and only demolished it after learning that the home was not suitable for such use.
But e-mail correspondence between Rover employees and its contractors shows that




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Rover contemplated demolishing the Stoneman House before purchasing the property. In
March 2015, immediately before buying the property, Rover asked its contractors
whether tearing down the historic house was permitted.15

9.      In response, Rover’s contractor explained that the proposed screening may not
fully mitigate likely visual and auditory adverse effects on the eligible property.’6 The
contractor acknowledged that no one could stop Rover from demolishing the house and
by doing so the project “would no longer be causing an adverse effect to an eligible
property in the [area of potential effects],” but also warned that demolition was a




                                                                                               Document #1715763
“politically risky strategy.” “ To address the project-caused adverse effect on the eligible
property, the contractor suggested that Rover consider alternative sites for the house free
of adverse effects, while acknowledging that such alternative sites could involve “cost
differences” and “may be physically difficult [J.?*18 Otherwise, if the compressor station
could not feasibly be relocated, the contractor explained that Rover would need to work
with the SHPO to mitigate the adverse effect.’9 Rather than pursuing either suggestion,

        13
             Staff issued the draft EIS on February 19, 2016, and the final EIS on July 29,
2016.




                                                                                               Filed: 01/29/2018
        14
         While Rover and its contractors had notified the Ohio SHPO of its plans to
demolish the Stoneman House by April of 2016, it did not disclose this information to the
Commission. See September 26, 2016 Rover Response to FERC Environmental
Information Request, at 3.
        15
         Id. at Attachment 2, March 3, 2015 e-mail from Rover, 2-3. Rover subsequently
released a public version with names redacted on November 2, 2016.

                                                                                               Page 134 of 140
        16
          Id at Attachment 2, March 3, 2015 e-mail from Rover’s contractor, 1 (noting
that the proposed vegetative screening “may not be totally effective for visual in this
situation and may not be effective at all for audial.”).

        l7jj




        I9 Jd
Docket Nos. CP15-93-002, et al.                                                     -   5   -




Rover demolished the house. Based on this evidence, the Commission concluded that
Rover both understood the requirements of section 106 and demolished the house with
the intent to avoid the section 106 process.

10.     In November 2016, after learning that Rover demolished the Stoneman House,
Commission staff commenced consultations with the Advisory Council under




                                                                                                  USCA Case #18-1032
section 110(k), which, as discussed, applies when federal applicants have intentionally
significantly adversely affected a historic property with intent to avoid the requirements
of section 106 of the NHPA.2° During the course of those consultations, Commission
staff explained that “Rover was aware” that the Stoneman House was subject to
section 106 of the NHPA and that Rover’s actions adversely affected the property.21
Accordingly, the Commission concluded that “section 110(k) of the NHPA applies to the
demolition of the house.”22 To the extent the February 2 Order left any ambiguity, we
agree with staffs conclusions regarding Rover’s conduct.




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11.    In any event, the denial of the blanket certificate was not based on a violation of
section 110(k) of the NHPA. It was Rover’s conduct in connection with the demolition
of the Stoneman House that the led the Commission to conclude that it could not be
confident that “Rover would fully comply with our environmental regulations in future
construction activities under a blanket certificate.”23

12.     Rover argues that the public convenience and necessity standard for blanket
certificates does not factor the Commission’s confidence in the applicant’s future
compliance with environmental regulations. According to Rover, the Commission has
stated in other orders that the public convenience and necessity standard involves
“relatively little scrutiny” because the blanket certificate only authorizes routine activities




                                                                                                  Filed: 01/29/2018
or relatively modest investments.24


       20
            54 U.S.C.   §   306113.
       21
          December 5, 2016, Letter Re: Notification Pursuant to Title 36 of the Code of
Federal Regulations Part 800.9(c)(2), from Ann F. Miles, Director, Office of Energy
Projects, Federal Energy Regulatory Commission, to Reid Nelson, Director, Office of               Page 135 of 140
Federal Agency Programs, Advisory Council on Historic Preservation, at 2.
       22
            Id
       23
            february 2 Order, 158 FERC   ¶ 61,109 at P 254.
       24
         March 6, 2017 Request for Rehearing by Rover, at 12 (Rover Rehearing
Request).
Docket Nos. CP15-93-002, et al.                                                   -   6   -




 13.    This argument conflates our rationale for the type of project eligible under a
blanket certificate with whether issuing a blanket certificate is in the public convenience
and necessity. The Commission has explained that blanket certificate procedures, which
include environmental requirements, are appropriate for “routine pipeline operations and
investments which. are so well understood as an established industry practice that
                       .   .




relatively little scrutiny is required to determine their compatibility with the public




                                                                                              USCA Case #18-1032
convenience and necessity.”25 However, authorizing a company to utilize the self-
implementing blanket procedures is only appropriate to the extent the Commission has a
reasonable basis to expect that the program’s requirements will be adhered to for each
individual project. Hence, the Commission’s confidence that a pipeline company will
indeed comply with all the requirements of the blanket certificate program, including the
environmental requirements, is critical. Rover’s failure to comply in this project-specific
proceeding with our requirements with respect to the Stonernan House26 provides a
reasonable basis for the Commission to conclude that it cannot be trusted at this time to
do so in future cases where there would be no direct Commission scrutiny.27




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14.    Rover next argues that its failure to proactively inform the Commission of its
plans for the Stoneman House is neither evidence of intent to evade the section 106
process nor is it required by any law or regulation. Rover argues that it had no
obligation, as a private landowner, to notify the Commission of its intent to demolish its
property. It points to regulations stating that even the listing of a property on the
National Register of Historic Places does not restrict the owner from taking any action it
wishes to its property.28 Rover also suggests that it is the Commission’s responsibility,
not Rover’s, to investigate any changes on property acquired by a pipeline. Rover points




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       25
            Distrigas ofMassachusetts Corp., 60 fERC        61,274 at 61,930—31 (1992).

       26See, e.g., infraP 15.                                                                Page 136 of 140
       27
          We noted in the February 2 Order that Rover could reapply for a blanket
certificate after 1$ months of full commercial operation. At that time, in evaluating such
request, the Commission would consider all of Rover’s activities with respect to the
construction and operation of the pipeline, including those activities related to the
inadvertent release of drilling mud that occurred during the completion of the horizontal
directional drilling activity at the Tuscarawas River.
       28
            Rover Rehearing Request at 5 (citing 5 C.F.R.   § 60.2).
Docket Nos. CP15-93-002, etal.                                                  -7-

to an instance where the Commission noted in a separate project’s Final EIS that
residential noise limits no longer applied to a property purchased by a project sponsor.29

15.     Because the Commission’s denial of Rover’s blanket certificate request was not
based upon its conclusions regarding Rover’s intent to evade section 106, these
arguments are beside the point. Nonetheless, we note that Rover mischaracterizes its role




                                                                                              USCA Case #18-1032
in the certificate proceeding. The project sponsor, as a non-Federal party, assists the
Commission in meeting its obligations under the NHPA and NEPA during the
section 7(c) certificate process. Project sponsors are required to show documentation of
required consultation with the appropriate SHPO.3° The project sponsor is also under an
ongoing obligation to supplement its application with relevant information, namely any
known changes to the proposed project’s effects, during the NEPA process.31 Rover did
neither. Rover failed to provide documentation of ongoing consultation with the Ohio
SHPO or notify the Commission of the demolition.




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 16.    Rover disputes the Commission’s claim that we consider such notification when
deciding whether a blanket certificate is in the public convenience and necessity. Rover
cites a case in which Columbia Gas Transmission Corporation (Columbia) violated a
condition of its certificate order when it conducted archaeological testing to determine if
a property was eligible for listing on the National Register of Historic Places.32
Columbia performed data recovery archaeological excavations, which prevented the
Commission and the Advisory Council from determining if an eligible property had been
adversely affected. Rover contends that circumstantial evidence suggested that Columbia
intended to evade the section 106 process because Columbia failed to provide the
Commission with an internal report suggesting the site may be eligible for listing. Rover




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argues, notwithstanding this evidence, the Commission failed to invoke section 110(k)
even though it reached the opposite conclusion with respect to Rover.

17.     The two cases are not analogous. Columbia was not requesting a blanket
certificate; Columbia had been in operation for years and had a long history of complying
with Commission regulations. Unlike Rover, Columbia had not immediately violated
Commission regulations in its first proceeding. And the Commission did not invoke


                                                                                              Page 137 of 140
      29
       Id. at 5 & n.16 (citing the Cameron Liquefaction Project Final EIS,
CP13-25-000, CP13-27-000).
      30
       The Commission’s regulations also state that project sponsors may contact the
Commission at any time for assistance. 1$ C.F.R. § 380.14(a).
      31
           See 18 C.F.R.   § 380.3.
      32
           Rover Rehearing Request at 7.
Docket Nos. CP15-93-002, etal.                                                    -   $   -




section 110(k) because Columbia made a good faith effort to notify the Commission.
Information in the record showed that the Pennsylvania SHPO reviewed and approved
the treatment plan in a letter and had also indicated that it had sent the report on cultural
resources to the Commission, even though the SHPO did not in fact share this
infonnation.    There was no indication that Rover intended to alert the Commission.34
And while Columbia may have had an adverse effect on the site, those effects were




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mitigated by the fact that a data recovery report would document what was found through
the excavations.35 Such mitigation was not possible here because Rover completely
destroyed the Stoneman House.

1$.      finally, Rover argues that the Stoneman House’s demolition was not material
since Rover continued to engage in the section 106 process and agreed to mitigation.
Specifically, Rover agreed to provide visual screening for its compressor station and
provide $1.5 million to the Ohio History Connection Foundation.36 But this mitigation
does not undo the Rover-caused adverse effect on the Stonernan House or reverse the




                                                                                                Document #1715763
Commission’s determination under section 110(k) that Rover intentionally caused such
an adverse effect. Most importantly, Rover’s subsequent actions on mitigation have done
little to convince the Commission that it can be relied upon to comply with the
Commission’s blanket certificate requirements with respect to any future construction
project.

II.    Noise Mitigation

19.    Sierra Club’s objection to the February 2 Order arises from a discrepancy in two
descriptions of the project compressor units. The February 2 Order stated that Rover




                                                                                                Filed: 01/29/2018
        May 19, 2003 Letter from Robert K. Arvedlund, Chief, Gas Branch 1, Office of
Energy Projects, FERC, to Laura Dean, Advisory Council on Historic Preservation,
Docket No. CPO2-142-000.
      N
          Rover notified the Ohio SHPO via a courtesy phone call and email on April 5,
2016, and, after it demolished the Stoneman House, on June 15, 2016, sent a letter
restating its intent to remove the house. September 26, 2016 Rover Response to FERC
Environmental Information Request, at 3.                                                        Page 138 of 140

        May 19, 2003 Letter from Robert K. Arvedlund, Chief, Gas Branch 1, Office of
Energy Projects, FERC, to Laura Dean, Advisory Council on Historic Preservation,
Docket No. CPO2-142-000.
      36
        June 16, 2017, Amendment to Memorandum of Agreement Among FERC, the
Advisory Council, the Ohio State Historic Preservation Office, and Rover Regarding the
Rover Pipeline Project.
Docket Nos. CP15-93-002, etal.                                                           -9-

would install reciprocating units at the compressor stations,37 whereas the final EIS stated
that project compression would not induce low frequency sound in adjacent pipelines
because this effect is associated with reciprocating engines, while turbine units would be
installed at the project.38 Sierra Club contends that the EIS treated the turbine units as a
noise mitigation measure, and thus the Commission violated the National Environmental
Policy Act by failing to explain why it rejected the turbine units in the February 2 Order.




                                                                                                     USCA Case #18-1032
20.    Sierra Club is correct that the EIS stated that turbine units would be installed in the
project’s compressor stations.39 In response to commentators’ concerns regarding low
frequency noise and vibration from compressor stations, the EIS acknowledged that
induced vibration along pipelines can be caused by reciprocating engines and mitigation
measures exist during the design of these facilities to avoid such impact. The ElS then
erred by stating that this problem is absent at the project because Rover would install
turbines and then, in response to commenters’ specific turbine-related concerns, went on
to address other low frequency sound related to specific turbine compressor units.4°




                                                                                                     Document #1715763
21.     But neither the EIS nor the February 2 Order treat turbines as a mitigation
measure. In its application, Rover proposed using reciprocating engines,4’ and the EIS
assessed project noise impacts based on the use of reciprocating engines.42 For example,
the analysis of operational noise impacts upon noise-sensitive areas within one mile of
the compressor stations was premised upon the use of reciprocating engines at those
stations.43 The noise mitigation measures discussed in the February 2 Order and EI$
include, but are not limited to, the use of acoustically-treated building materials, use of




                                                                                                     Filed: 01/29/2018
          See February 2 Order, 158 FERC           ¶ 61,109 at P   10 (noting use of “natural gas-
fired reciprocating compressor units”).
       38
          EIS at 4-253 (“the proposed compressor units at all compressor stations are
turbines. Therefore, the effect commenters are concerned about would not occur.”)

       391d. at 4-252—53.

       4OJj    at4-252—53,4-256--57.                                                                 Page 139 of 140
       41
         February 23, 2015, Rover Pipeline Project Application, Resource Report 1:
General Project Description, at 1-53.
       42
         The EJS also uses the term “engines” throughout, which is associated with
reciprocating engines. See, e.g., EIS at 4-227, 4-232, 4-245, 4-25 3.
      ‘‘
            See Id. at 4-253   —   55 (Table 4.11.2-5).
Docket Nos. CP15-93-002, etal.                                                  -   10-

silencers, and piping insulation.44 Further, the final EIS explained that Commission
regulations require that compressor stations cannot result in a perceptible increase
in vibration at nearby receptors.45 Therefore, the final EIS recommended, and the
February 2 Order included, a condition requiring Rover to perform post-construction
noise surveys to ensure that operation noise levels at the compressor stations meet the
Commission’s criterion. Based on this assessment, no further mitigation was deemed




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necessary. Based on the foregoing, we reject Sierra Club’s claim that the Commission’s
noise analysis treated turbine units as a mitigation measure and that the Commission
subsequently rejected that measure without explanation.

The Commission orders:

       (A)     The request for clarification filed February 27, 2017 by Sierra Club is
denied.




                                                                                          Document #1715763
       (B)     The request for rehearing filed March 6, 2017 by Rover is denied.

By the Commission. Commissioner Glick is not participating.

(SEAL)




                                               Nathaniel J. Davis, Sr.,
                                                 Deputy Secretary.




                                                                                          Filed: 01/29/2018
                                                                                          Page 140 of 140

       ‘‘
          See February 2 Order, 158 FERC ¶ 61,109 at PP 229-30 (discussing
construction noise mitigation measures and noting the possibility of future operational
noise mitigation measures); EIS at 4-247 to 4-252 (discussing construction noise
mitigation); Id. at 4-253 (discussing acoustically-treated building materials); Id.
at 4-25 5 —57 (discussing operational noise surveys and potential mitigation).

       45jd   at 4-257.
